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 7                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8

 9   LUMMI TRIBE OF THE LUMMI
     RESERVATION,
10                                                No. 2:18-cv-01065
                                    Plaintiff,
11
             v.                                   COMPLAINT
12
     PURDUE PHARMA, L.P.; PURDUE                  DEMAND FOR JURY TRIAL
13   PHARMA, INC.; THE PURDUE FREDERICK
14   COMPANY, INC.; ENDO HEALTH
     SOLUTIONS INC.; ENDO
15   PHARMACEUTICALS, INC.; JANSSEN
     PHARMACEUTICALS, INC.; JOHNSON &
16   JOHNSON; TEVA PHARMACEUTICALS
     INDUSTRIES, LTD.; TEVA
17
     PHARMACEUTICALS USA, INC.;
18   CEPHALON, INC.; ALLERGAN PLC f/k/a
     ACTAVIS PLC; ALLERGAN FINANCE, LLC
19   f/k/a ACTAVIS, INC. f/k/a WATSON
     PHARMACEUTICALS, INC.; WATSON
20   LABORATORIES, INC.; ACTAVIS LLC;
     ACTAVIS PHARMA, INC. f/k/a WATSON
21
     PHARMA, INC; MALLINCKRODT PLC;
22   MALLINCKRODT, LLC; CARDINAL
     HEALTH, INC.; MCKESSON
23   CORPORATION; AMERISOURCEBERGEN
     DRUG CORPORATION; and JOHN AND
24   JANE DOES 1 THROUGH 100, INCLUSIVE,
25                                Defendants.
26


     COMPLAINT                                              KELLER ROHRBACK L.L.P.
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 1                                           I.      INTRODUCTION

 2           1.        The United States is experiencing the worst human-caused epidemic in modern

 3   medical history—the misuse, abuse, and over-prescription of opioids.

 4           2.        Since 2000, more than 300,000 Americans have lost their lives to an opioid

 5   overdose, more than five times as many American lives as were lost in the entire Vietnam War.

 6   On any given day, 145 people will die from opioid overdoses in the United States. Drug

 7   overdoses are now the leading cause of death for Americans under age fifty.

 8           3.        While the opioid epidemic is generally perceived as a crisis that is

 9   “overwhelmingly white,”1 the opioid overdose death rate for Native Americans has for years

10   been the same or higher than that for whites. According to data from the Centers for Disease

11   Control and Prevention (“CDC”), in 2014, Native Americans had the highest death rate from

12   prescription opioid overdoses of any ethnic group in the United States.2

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21           4.        Similarly, from 1999 to 2009, the incidence rate ratio of prescription opioid
22   deaths was higher for Native Americans than any other ethnic group—slightly higher (0.86) than
23
     1
       Why Is The Opioid Epidemic Overwhelmingly White?, All Things Considered, NPR (Nov. 4, 2017, 5:43pm),
24     https://www.npr.org/2017/11/04/562137082/why-is-the-opioid-epidemic-overwhelmingly-white; see also, e.g.,
       German Lopez, When a drug epidemic’s victims are white, Vox (Apr. 4, 2107, 8:00am),
25     https://www.vox.com/identities/2017/4/4/15098746/opioid-heroin-epidemic-race.
     2
       Dan Nolan and Chris Amico, How Bad is the Opioid Epidemic?, Frontline (Feb. 23, 2016),
26     https://www.pbs.org/wgbh/frontline/article/how-bad-is-the-opioid-epidemic/ (headings revised for clarity).


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 1   for non-Hispanic whites, 7.5 times higher than for African Americans, and 13 times higher than

 2   for Asian American/Pacific Islanders.3

 3              5.      But overdoses are not the whole story, as the opioid epidemic has had a

 4   devastating effect on Native families and communities in other ways. An entire generation of

 5   Native Americans is growing up in the shadow of the opioid epidemic, with far-reaching

 6   consequences compounded by the historical trauma that Native communities have endured.

 7   Children whose parents are addicted to opioids—including babies born with opioid dependencies

 8   as a result of their mothers’ opioid use during pregnancy—often must be removed from their

 9   homes.

10              6.      Each life lost to a tribe because of the opioid epidemic, each child taken away

11   from a tribal home, and each young tribal member who never learns of his or her culture harms

12   not only individual families, but also the ability of the tribe to maintain its cultural sovereignty

13   for generations to come.

14              7.      The Lummi Tribe of the Lummi Reservation, also known as the Lummi Nation, is

15   the third-largest tribe in Washington State, serving over 5,000 members, and a nationally

16   recognized leader in tribal self-governance and education. To protect the Lummi Nation’s

17   welfare and continued sovereignty, the Lummi Nation has dedicated substantial resources to

18   confronting the opioid epidemic. The Lummi Nation has worked to meet the consequences of the

19   epidemic head-on ever since the accidental overdose in 2002 of a Lummi toddler who found and

20   consumed an OxyContin pill, a tragedy that shook the tribal community. Around that time, an

21   estimated 500 tribal members were addicted to painkillers or heroin.

22              8.      But despite the Lummi Nation’s efforts, the opioid epidemic has only grown over

23   the years—a direct result of Defendants’ continued aggressive promotion and excessive

24   distribution of opioids, conduct which they concealed, as described below.

25
     3
         Susan Calcaterra, Jason Glanz, and Ingrid A. Binswanger, National Trends in Pharmaceutical Opioid Related
26       Overdose Deaths Compared to other Substance Related Overdose Deaths: 1999-2009, 131(3) Drug Alcohol
         Depend., 263-70 (Aug. 1, 2013), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3935414/.

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 1            9.       Opioids have reshaped daily reality for the Lummi Nation in numerous ways,

 2   including increased drug-related offenses affecting the criminal justice system as a whole;

 3   additional resources spent on community and social programs; loss of workplace productivity

 4   due to opioid addiction among employees; and prevalent opioid abuse throughout the

 5   Reservation. In response, the Lummi Nation allocates resources to mitigation and treatment

 6   programs, social services, and criminal justice services such as its Healing to Wellness Court.

 7            10.      But while the Lummi Nation has committed considerable resources to fight the

 8   opioid crisis, fully addressing the crisis also requires that those responsible for it pay for their

 9   conduct and abate the nuisance and harms they have inflicted on the Lummi Nation. The opioid

10   epidemic is no accident. On the contrary, it is the foreseeable consequence of Defendants’

11   reckless promotion and distribution of potent opioids for chronic pain while deliberately

12   downplaying the significant risks of addiction and overdose.

13            11.      Defendant Purdue set the stage for the opioid epidemic, through the production

14   and promotion of its blockbuster drug, OxyContin. Purdue introduced a drug with a narcotic

15   payload many times higher than that of previous prescription painkillers, while executing a

16   sophisticated, multi-pronged marketing campaign to change prescribers’ perception of the risk of

17   opioid addiction and to portray opioids as effective treatment for chronic pain. Purdue pushed its

18   message of opioids as a low-risk panacea on doctors and the public through every available

19   avenue, including through direct marketing, front groups, key opinion leaders, unbranded

20   advertising, and hundreds of sales representatives who visited doctors and clinics on a regular

21   basis.

22            12.      As sales of OxyContin and Purdue’s profits surged, Defendants Endo, Janssen,

23   Cephalon, Actavis, and Mallinckrodt—as explained in further detail below—added additional

24   prescription opioids, aggressive sales tactics, and dubious marketing claims of their own to the

25   deepening crisis. They paid hundreds of millions of dollars to market and promote the drugs,

26   notwithstanding their dangers, and pushed bought-and-paid-for “science” supporting the safety

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 1   and efficacy of opioids that lacked any basis in fact or reality. Obscured from the marketing was

 2   the fact that prescription opioids are not much different than heroin—indeed on a molecular

 3   level, they are virtually indistinguishable.

 4           13.       The opioid epidemic simply could not have become the crisis it is today without

 5   an enormous supply of pills. Defendants McKesson, Cardinal Health, and AmerisourceBergen

 6   raked in huge profits from the distribution of opioids around the United States. These companies

 7   knew precisely the quantities of potent narcotics they were delivering to communities across the

 8   country, including to the Reservation and surrounding areas. Yet not only did they intentionally

 9   disregard their monitoring and reporting obligations under federal law, they also actively sought

10   to evade restrictions and obtain higher quotas to enable the distribution of even larger shipments

11   of opioids.

12           14.       Defendants’ efforts were remarkably successful: since the mid-1990s, opioids

13   have become the most prescribed class of drugs in America. Between 1991 and 2011, opioid

14   prescriptions in the United States tripled from 76 million to 219 million per year.4 In 2013, health

15   care providers wrote more than 249 million prescriptions for opioid pain medication, enough for

16   every adult in the United States to have more than one bottle of pills.5 In terms of annual sales,

17   the increase has been ten-fold; before the FDA approved OxyContin in 1995, annual opioid sales

18   hovered around $1 billion. By 2015, they increased to almost $10 billion. By 2020, revenues are

19   projected to grow to $18 billion.6

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23   4
       Nora D. Volkow, MD, America’s Addiction to Opioids: Heroin and Prescription Drug Abuse, Appearing before
       the Senate Caucus on International Narcotics Control, NIH Nat’l Inst. on Drug Abuse (May 14, 2014),
24     https://www.drugabuse.gov/about-nida/legislative-activities/testimony-to-congress/2016/americas-addiction-to-
       opioids-heroin-prescription-drug-abuse.
25   5
       CDC Guideline for Prescribing Opioids for Chronic Pain, Ctrs. for Disease Control and Prevention,
        https://www.cdc.gov/drugoverdose/pdf/guidelines_at-a-glance-a.pdf (last visited July 16, 2018).
26   6
       Report: Opioid pain sales to hit $18.4B in the U.S. by 2020, CenterWatch (July 17, 2017),
       https://www.centerwatch.com/news-online/2017/07/17/report-opioid-pain-sales-hit-18-4b-u-s-2020/#more-31534.

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 1           15.       But Defendants’ profits have come at a steep price. Opioids are now the leading

 2   cause of accidental death in the United States, surpassing deaths caused by car accidents. Opioid

 3   overdose deaths (which include prescription opioids as well as heroin) have risen steadily every

 4   year, from approximately 8,048 in 1999, to 20,422 in 2009, to over 33,091 in 2015. In 2016, that

 5   toll climbed to 42,249.7 As shown in the graph below, the recent surge in opioid-related deaths

 6   involves prescription opioids, heroin, and other synthetic opioids. Nearly half of all opioid

 7   overdose deaths involve a prescription opioid like those manufactured by Defendants,8 and the

 8   increase in overdoses from non-prescription opioids is directly attributable to Defendants’

 9   success in expanding the market for opioids of any kind.

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21           16.       To put these numbers in perspective: in 1970, when a heroin epidemic swept the

22   United States, there were fewer than 3,000 heroin overdose deaths. And in 1988, around the

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     7
       Overdose Death Rates, NIH Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-topics/trends-
25     statistics/overdose-death-rates (revised Sept. 2017); Drug Overdose Death Data, Ctrs. for Disease Control and
       Prevention, https://www.cdc.gov/drugoverdose/data/statedeaths.html (last updated December 19, 2017).
26   8
       Understanding the Epidemic, Ctrs. for Disease Control and Prevention,
       https://www.cdc.gov/drugoverdose/epidemic/index.html (last updated Aug. 30, 2017).

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 1   height of the crack epidemic, there were fewer than 5,000 crack overdose deaths recorded. In

 2   2005, at its peak, methamphetamine was involved in approximately 4,500 deaths.

 3           17.       Beyond the human cost, the CDC recently estimated that the total economic

 4   burden of prescription opioid abuse costs the United States $78.5 billion per year, which includes

 5   increased costs for health care and addiction treatment, increased strains on human services and

 6   criminal justice systems, and substantial losses in workforce productivity.9

 7           18.       But even the available estimates of the economic burden of the opioid epidemic

 8   are conservative. The Council of Economic Advisers—the primary advisor to the Executive

 9   Office of the President—recently issued a report estimating that “in 2015, the economic cost of

10   the opioid crisis was $504.0 billion, or 2.8% of GDP that year. This is over six times larger than

11   the most recently estimated economic cost of the epidemic.”10 Whatever the final tally, there is

12   no doubt that this crisis has had a profound economic impact.

13           19.       For the Lummi Nation, one of the most keenly felt consequences of the opioid

14   crisis is the responsibility and expense of caring for children who have been affected by the

15   opioid epidemic. When tribal children are at risk—either because their parents have died from an

16   opioid overdose or are addicted to opioids—the Lummi Nation must step in and take custody of

17   the children, placing them in temporary or permanent out-of-home care. Addiction is the primary

18   or secondary safety issue for approximately 95% of the Lummi Nation’s child welfare cases.

19           20.       The extremely high prevalence of opioid dependency among pregnant Native

20   American women means that many of the Lummi Nation’s youngest members are born suffering

21   from opioid withdrawal, a condition known as neonatal abstinence syndrome (“NAS”). Infants

22   suffering from NAS must be given intensive medical treatment upon birth, and may suffer

23   ongoing disabilities or developmental delays that require additional support from the Lummi

24
     9
       CDC Foundation’s New Business Pulse Focuses on Opioid Overdose Epidemic, Ctrs. for Disease Control and
25      Prevention (Mar. 15, 2017), https://www.cdc.gov/media/releases/2017/a0315-business-pulse-opioids.html.
     10
        The Underestimated Cost of the Opioid Crisis, The Council of Econ. Advisers (Nov. 2017),
26      https://static.politico.com/1d/33/4822776641cfbac67f9bc7dbd9c8/the-underestimated-cost-of-the-opioid-crisis-
        embargoed.pdf.

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 1   Nation. Of the eighty-four babies known to be born in the community in 2017, eleven suffered

 2   from NAS.

 3           21.       The Lummi Nation has undertaken great efforts to stem the damage the opioid

 4   epidemic has wrought on the community. The Lummi Nation offers medication-assisted

 5   treatment (“MAT”), including buprenorphine, Suboxone, and Vivitrol, for tribal members. The

 6   Lummi Nation also funds separate adult and youth outpatient programs for tribal members

 7   fighting substance abuse. And through its safe syringe program, the Lummi Nation has

 8   distributed over 37,000 syringes, in addition to sharps containers and other supplies.

 9           22.       Although the Lummi Nation has dedicated significant resources to confronting the

10   opioid epidemic’s damage to the community, it cannot come close to providing all the services

11   that its members need now and will continue to need for the foreseeable future. For example, the

12   Lummi Nation has an increased need for sober housing facilities for adults, meaning that tribal

13   members who complete treatment for opioid addiction off the Reservation may have to return

14   immediately to the environment in which they were abusing opioids.

15           23.       Because of the persistent nature of drug addiction, these services must be

16   provided on a long-term basis. Even if all opioid prescribing ceased tomorrow, this crisis, and the

17   burdens it imposes on the Lummi Nation, would remain. Defendants—who made billions of

18   dollars in profits as a result of excessively promoting and distributing opioids—should be held

19   accountable for the damage they caused and provide the Lummi Nation with resources it needs

20   to fully address the ongoing consequences of the epidemic.

21           24.       Defendants orchestrated this crisis. Despite knowing the true hazards of their

22   products, Defendants misleadingly advertised their opioids as safe and effective for treating

23   chronic pain and pushed hundreds of millions of pills into the marketplace for consumption.

24   Through sophisticated and well-orchestrated marketing campaigns, Defendants exaggerated the

25   benefits of opioids to treat pain and downplayed the risk of addiction. Moreover, even as the

26   deadly toll of prescription opioid use became apparent to Defendants in years following

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 1   OxyContin’s launch, Defendants persisted in aggressively selling and distributing prescription

 2   opioids, while evading their monitoring and reporting obligations, so that massive quantities of

 3   addictive opioids continued to pour into the Lummi Nation and other communities around the

 4   United States.

 5           25.       Defendants consistently, deliberately, and recklessly made and continue to make

 6   false and misleading statements regarding, among other things, the low risk of addiction to

 7   opioids, opioids’ efficacy for chronic pain and ability to improve patients’ quality of life with

 8   long-term use, the lack of risk associated with higher dosages of opioids, the need to prescribe

 9   more opioids to treat withdrawal symptoms, and that risk-mitigation strategies and abuse-

10   deterrent technologies allow doctors to safely prescribe opioids.

11           26.       Because of Defendants’ misconduct, the Lummi Nation is experiencing a severe

12   public health crisis and has suffered significant economic damages, including but not limited to

13   increased costs related to public health, opioid-related crimes and emergencies, health care,

14   criminal justice, social services, child welfare, and public safety. The Lummi Nation has incurred

15   substantial costs in responding to the crisis and will continue to do so in the future.

16           27.       Accordingly, the Lummi Nation brings this action to hold Defendants liable for

17   their misrepresentations regarding the benefits and risks of opioids, as well as for their failure to

18   monitor, detect, investigate, and report suspicious orders of prescription opioids. This conduct (i)

19   violates the Washington Consumer Protection Act, RCW 19.86 et seq., (ii) constitutes a public

20   nuisance under Washington law, (iii) constitutes negligence and gross negligence under

21   Washington law, (iv) has unjustly enriched Defendants, (v) violates the Racketeer Influenced and

22   Corrupt Organizations Act (“RICO”), 18 U.S.C. §1961, et seq, and (vi) violates the Lanham Act,

23   15 U.S.C. § 1125(a)(1)(B).

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 1                                             II.    PARTIES

 2           The Lummi Tribe of the Lummi Reservation

 3           28.       The Lummi Nation is a federally recognized sovereign Indian nation whose

 4   Reservation is situated in northwest Washington State. The Lummi Nation is the political

 5   successor in interest to certain tribes and bands that were parties to the 1855 Treaty of Point

 6   Elliott, 12 Stat. 927. United States v. Washington, 384 F.Supp. 312, 360 (W.D. Wash. 1974).

 7           29.       Pursuant to the Constitution and Bylaws of the Lummi Tribe of the Lummi

 8   Reservation, Washington, as amended, the governing body of the Lummi Nation is the Lummi

 9   Indian Business Council (“LIBC”). The LIBC entered in to a Compact with the United States of

10   America to carry out Self-Governance Programs under the Indian Self Determination and

11   Education Assistance Act, 25 U.S.C. § 450 et. seq.

12           30.       The Reservation occupies 12,500 acres of land on two peninsulas, in addition to

13   8,000 acres of Puget Sound tidelands. The Reservation, located in Whatcom County,

14   Washington, is eight miles from Bellingham, 20 miles south of the Canadian border, and about

15   90 miles north of Seattle.

16           31.       As of 2017, there are 5,229 enrolled tribal members, including members who live

17   on the Reservation or elsewhere within Whatcom County. Approximately 3,822 people live on

18   the Reservation.

19           32.       The Lummi Nation provides government services including a court system, law

20   enforcement, a housing authority, a child welfare system, and additional social services. The

21   Lummi Nation also offers health services, including substance abuse and mental health

22   programs. Many tribal members rely on the Lummi Nation for services. The Lummi Nation

23   currently has 446 governmental employees.

24           33.       The Lummi Nation owns the Lummi Commercial Company (“LCC”), which

25   operates mini marts and the Lummi Dock. The LCC has 44 employees.

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 1           34.       The Lummi Nation also owns the Lummi Tribal Gaming Agency (“LTGA”),

 2   which runs the Silver Reef Casino. The Silver Reef Casino has 457 employees.

 3           35.       The Lummi Nation provides self-insured health benefits for tribal employees and

 4   employees of the LCC and the LTGA.

 5           36.       As a sovereign Indian nation, the Lummi Nation possesses inherent authority over

 6   its members and territory.

 7           37.       By deceptively marketing, promoting, and distributing highly addictive opioids in

 8   and around the Reservation, Defendants have harmed and continue to harm the Lummi Nation

 9   by forcing the Lummi Nation to incur costs including for public health care, criminal justice, and

10   lost productivity.

11           Purdue

12           38.       Defendant Purdue Pharma, L.P. is a limited partnership organized under the laws

13   of Delaware. Defendant Purdue Pharma, Inc. is a New York corporation with its principal place

14   of business in Stamford, Connecticut. Defendant The Purdue Frederick Company is a Delaware

15   corporation with its principal place of business in Stamford, Connecticut. Collectively, these

16   entities are referred to as “Purdue.”

17           39.       Each Purdue entity acted in concert with one another and acted as agents and/or

18   principals of one another in connection with the conduct described herein.

19           40.       Purdue manufactures, promotes, sells, markets, and distributes opioids such as

20   OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the

21   United States, including in the Reservation.

22           41.       Purdue generates substantial sales revenue from its opioids. For example,

23   OxyContin is Purdue’s best-selling opioid, and since 2009, Purdue has generated between $2 and

24   $3 billion annually in sales of OxyContin alone.

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 1           Endo

 2           42.       Defendant Endo Pharmaceuticals, Inc. is a wholly owned subsidiary of Defendant

 3   Endo Health Solutions Inc. Both are Delaware corporations with their principal place of business

 4   in Malvern, Pennsylvania. Collectively, these entities are referred to as “Endo.”

 5           43.       Each Endo entity acted in concert with one another and acted as agents and/or

 6   principals of one another in connection with the conduct described herein.

 7           44.       Endo manufactures, promotes, sells, markets, and distributes opioids such as

 8   Percocet, Opana, and Opana ER in the United States, including in the Reservation.

 9           45.       Endo generates substantial sales from its opioids. For example, opioids accounted

10   for more than $400 million of Endo’s overall revenues of $3 billion in 2012, and Opana ER

11   generated more than $1 billion in revenue for Endo in 2010 and 2013.

12           Janssen and Johnson & Johnson

13           46.       Defendant Janssen Pharmaceuticals, Inc. is a Pennsylvania corporation with its

14   principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

15   Defendant Johnson & Johnson, a New Jersey corporation with its principal place of business in

16   New Brunswick, New Jersey. Collectively, these entities are referred to as “Janssen.”

17           47.       Both entities above acted in concert with one another and acted as agents and/or

18   principals of one another in connection with the conduct described herein.

19           48.       Johnson & Johnson is the only company that owns more than 10% of Janssen

20   Pharmaceuticals, Inc., and corresponds with the FDA regarding the drugs manufactured by

21   Janssen Pharmaceuticals, Inc. Johnson & Johnson also paid prescribers to speak about opioids

22   manufactured by Janssen Pharmaceuticals, Inc. In short, Johnson & Johnson controls the sale and

23   development of the drugs manufactured by Janssen Pharmaceuticals, Inc.

24           49.       Janssen manufactures, promotes, sells, markets, and distributes opioids such as

25   Duragesic, Nucynta, and Nucynta ER in the United States, including on the Reservation. Janssen

26   stopped manufacturing Nucynta and Nucynta ER in 2015.

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 1              50.      Janssen generates substantial sales revenue from its opioids. For example,

 2   Duragesic accounted for more than $1 billion in sales in 2009, and Nucynta and Nucynta ER

 3   accounted for $172 million in sales in 2014.

 4              Cephalon and Teva

 5              51.      Defendant Cephalon, Inc. (“Cephalon”) is a Delaware corporation with its

 6   principal place of business in Frazer, Pennsylvania. Defendant Teva Pharmaceutical Industries,

 7   Ltd. (“Teva Ltd.”) is an Israeli corporation with its principal place of business in Petah Tikva,

 8   Israel. In 2011, Teva Ltd. acquired Cephalon. Defendant Teva Pharmaceuticals USA, Inc. (“Teva

 9   USA”) is a Delaware corporation and a wholly owned subsidiary of Teva Ltd. in Pennsylvania.

10   Teva USA acquired Cephalon in October 2011.

11              52.      Cephalon manufactures, promotes, sells, and distributes opioids, including Actiq

12   and Fentora, in the United States.

13              53.      Teva Ltd., Teva USA, and Cephalon work together closely to market and sell

14   Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

15   Cephalon in the United States through Teva USA and has done so since its October 2011

16   acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

17   to the public. Teva USA sells all former Cephalon-branded products through its “specialty

18   medicines” division. The FDA-approved prescribing information and medication guide, which

19   are distributed with Cephalon opioids, disclose that the guide was submitted by Teva USA, and

20   directs physicians to contact Teva USA to report adverse events.

21              54.      All of Cephalon’s promotional websites, including those for Actiq and Fentora,

22   display Teva Ltd.’s logo.11 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

23   its own, and its year-end report for 2012—the year following the Cephalon acquisition in

24   October 2011—attributed a 22% increase in its specialty medicine sales to “the inclusion of a

25
     11
26        Actiq, http://www.actiq.com/ (last visited July 16, 2018).


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 1   full year of Cephalon’s specialty sales,” including sales of Fentora.12 Through interrelated

 2   operations like these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

 3   and Teva USA. The United States is the largest of Teva Ltd.’s global markets, representing 53%

 4   of its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Teva

 5   Ltd. would conduct those companies’ business in the United States itself.

 6           55.       Upon information and belief, Teva Ltd. directs the business practices of Cephalon

 7   and Teva USA, and their profits inure to the benefit of Teva Ltd. as controlling shareholder.

 8   Collectively, these entities are referred to as “Cephalon.”

 9           Allergan, Actavis, and Watson

10           56.       Defendant Allergan plc is a public limited company incorporated in Ireland with

11   its principal place of business in Dublin, Ireland. Actavis plc acquired Allergan, Inc. in March

12   2015, and the combined company changed its name to Allergan plc in June 2015. Actavis plc

13   (formerly known as Actavis Limited) was incorporated in Ireland in May 2013 for the merger

14   between Actavis, Inc. and Warner Chilcott plc.

15           57.       Defendant Watson Pharmaceuticals, Inc. acquired Actavis Group in October 2012

16   and changed its name to Actavis, Inc. as of January 2013.

17           58.       Defendant Allergan Finance, LLC (formerly known as Actavis, Inc.) is based in

18   Parsippany, New Jersey. It operates as a subsidiary of Allergan plc.

19           59.       Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

20   place of business in Corona, California, and is a wholly owned subsidiary of Allergan plc (f/k/a

21   Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.).

22           60.       Defendant Actavis Pharma, Inc. is registered to do business with the Washington

23   Secretary of State as a Delaware corporation with its principal place of business in New Jersey

24   and was formerly known as Watson Pharma, Inc.

25

26   12
       Teva Pharm. Indus. Ltd. Form 20-F, U.S. Sec. and Exchange Commission (Feb. 12, 2013),
     http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.

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 1           61.       Defendant Actavis LLC is a Delaware limited liability company with its principal

 2   place of business in Parsippany, New Jersey.

 3           62.       Each of these defendants and entities is owned by Defendant Allergan plc, which

 4   uses them to market and sell its drugs in the United States. Upon information and belief,

 5   Defendant Allergan plc exercises control over these marketing and sales efforts and profits from

 6   the sale of Allergan/Actavis/Watson products ultimately inure to its benefit. Collectively, these

 7   defendants and entities are referred to as “Actavis.”

 8           63.       Actavis manufactures, promotes, sells, and distributes opioids, including the

 9   branded drugs Kadian and Norco and generic versions of Kadian, Duragesic, and Opana in the

10   United States. Actavis acquired the rights to Kadian from King Pharmaceuticals, Inc. on

11   December 30, 2008, and began marketing Kadian in 2009.

12           Mallinckrodt

13           64.       Defendant Mallinckrodt plc is an Irish public limited company headquartered in

14   Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

15   Mallinckrodt plc was incorporated in January 2013 for the purpose of holding the

16   pharmaceuticals business of Covidien plc, which was fully transferred to Mallinckrodt in June of

17   that year. Mallinckrodt began as a U.S.-based company, with the founding of Mallinckrodt &

18   Co. in 1867; Tyco International Ltd. acquired the company in 2000. In 2008, Tyco Healthcare

19   Group separated from Tyco International and renamed itself Covidien.

20           65.       Defendant Mallinckrodt, LLC is a limited liability company organized and

21   existing under the laws of the State of Delaware and licensed to do business in Washington.

22   Mallinckrodt, LLC is a wholly owned subsidiary of Mallinckrodt plc. Mallinckrodt plc and

23   Mallinckrodt, LLC are referred to as “Mallinckrodt.”

24           66.       Mallinckrodt manufactures, markets, and sells drugs in the United States. As of

25   2012, it was the largest U.S. supplier of opioid pain medications. In particular, it is one of the

26   largest manufacturers of oxycodone in the U.S.

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 1           67.       Mallinckrodt currently manufactures and markets two branded opioids: Exalgo,

 2   which is extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and

 3   Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths. In addition,

 4   Mallinckrodt previously developed, promoted, and sold the following branded opioid products:

 5   Magnacet, TussiCaps, and Xartemis XR.

 6           68.       While it has sought to develop its branded opioid products, Mallinckrodt has long

 7   been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received

 8   approximately 25% of the U.S. Drug Enforcement Administration’s (“DEA”) entire annual quota

 9   for controlled substances that it manufactures. Mallinckrodt also estimated, based on IMS Health

10   data for the same period, that its generics claimed an approximately 23% market share of DEA

11   Schedules II and III opioid and oral solid dose medications.

12           69.       Mallinckrodt operates a vertically integrated business in the United States: (1)

13   importing raw opioid materials, (2) manufacturing generic opioid products, primarily at its

14   facility in Hobart, New York, and (3) marketing and selling its products to drug distributors,

15   specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers

16   that have mail-order pharmacies, and hospital buying groups.

17           70.       In 2017, Mallinckrodt agreed to settle for $35 million the Department of Justice’s

18   allegations regarding excessive sales of oxycodone in Florida. The Department of Justice alleged

19   that even though Mallinckrodt knew that its oxycodone was being diverted to illicit use, it

20   nonetheless continued to incentivize and supply these suspicious sales, and it failed to notify the

21   DEA of the suspicious orders in violation of its obligations as a registrant under the Controlled

22   Substances Act, 21 U.S.C. § 801 et seq. (“CSA”).

23           71.       Defendants Purdue, Endo, Janssen, Cephalon, Actavis, and Mallinckrodt are

24   collectively referred to as the “Manufacturing Defendants.”

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 1           AmerisourceBergen

 2           72.       Defendant AmerisourceBergen Drug Corporation (“AmerisourceBergen”) is a

 3   Delaware corporation with its principal place of business located in Chesterbrook, Pennsylvania.

 4           73.       According to its 2016 Annual Report, AmerisourceBergen is “one of the largest

 5   global pharmaceutical sourcing and distribution services companies” with “over $145 billion in

 6   annual revenue.”

 7           74.       AmerisourceBergen is licensed as a “wholesale distributor” to sell prescription

 8   and non-prescription drugs, in Washington State, including opioids. It operates a warehouse in

 9   Kent, Washington.

10           Cardinal Health

11           75.       Defendant Cardinal Health, Inc. (“Cardinal Health”) is an Ohio Corporation with

12   its principal place of business in Dublin, Ohio.

13           76.       According to its 2017 Annual Report, Cardinal Health is “a global, integrated

14   healthcare services and products company serving hospitals, healthcare systems, pharmacies,

15   ambulatory surgery centers, clinical laboratories and physician offices worldwide . . .

16   deliver[ing] medical products and pharmaceuticals.” In 2017 alone, Cardinal Health generated

17   revenues of nearly $130 billion.

18           77.       Cardinal Health is licensed as a “wholesale distributor” to sell prescription and

19   non-prescription drugs in Washington State, including opioids. It operates a warehouse in Fife,

20   Washington.

21           McKesson

22           78.       Defendant McKesson Corporation (“McKesson”) is a Delaware Corporation with

23   its principal place of business in San Francisco, California.

24           79.       McKesson is the largest pharmaceutical distributor in North America, delivering

25   nearly one-third of all pharmaceuticals used in this region.

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 1             80.     According to its 2017 Annual Report, McKesson “partner[s] with pharmaceutical

 2   manufacturers, providers, pharmacies, governments and other organizations in healthcare to help

 3   provide the right medicines, medical products and healthcare services to the right patients at the

 4   right time, safely and cost-effectively.” Additionally, McKesson’s pharmaceutical distribution

 5   business operates and serves thousands of customer locations through a network of twenty-seven

 6   distribution centers, as well as a primary redistribution center, two strategic redistribution centers

 7   and two repackaging facilities, serving all fifty states and Puerto Rico.

 8             81.     For the fiscal year ending March 31, 2017, McKesson generated revenues of

 9   $198.5 billion.

10             82.     McKesson is licensed as a “wholesale distributor” to sell prescription and non-

11   prescription drugs in Washington State, including opioids. It operates warehouses in Everett and

12   Auburn, Washington.

13             83.     Collectively, McKesson, AmerisourceBergen, and Cardinal Health (together

14   “Distributor Defendants”) account for approximately 85% of all drug shipments in the United

15   States.

16             John and Jane Does 1-100, inclusive

17             84.     In addition to the Defendants identified herein, the true names, roles, and/or

18   capacities in the wrongdoing alleged herein of Defendants named John and Jane Does 1 through

19   100, inclusive, are currently unknown to Plaintiff, and thus, are named as Defendants under

20   fictitious names as permitted by the rules of this Court. Plaintiff will amend this complaint and

21   identify their true identities and their involvement in the wrongdoing at issue, as well as the

22   specific causes of action asserted against them when they become known.

23                                  III.    JURISDICTION AND VENUE

24             85.     The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this

25   action presents a federal question. The Court has supplemental jurisdiction over the state-law

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 1   causes of action under 28 U.S.C § 1367 because the state-law claims are part of the same case or

 2   controversy.

 3               86.      Venue in this Court is proper under 28 U.S.C. § 1391(b).

 4                                          IV.      FACTUAL ALLEGATIONS

 5   A.          Making an Old Drug New Again

 6               1.       A history and background of opioids in medicine

 7               87.      The term “opioid” refers to a class of drugs that bind with opioid receptors in the

 8   brain and includes natural, synthetic, and semi-synthetic opioids.13 Generally used to treat pain,

 9   opioids produce multiple effects on the human body, the most significant of which are analgesia,

10   euphoria, and respiratory depression. In addition, opioids cause sedation and constipation.

11               88.      Most of these effects are medically useful in certain situations, but respiratory

12   depression is the primary limiting factor for the use of opioids. While the body develops

13   tolerance to the analgesic and euphoric effects of opioids relatively quickly, this is not true with

14   respect to respiratory depression. At high doses, opioids can and often do arrest respiration

15   altogether. This is why the risk of opioid overdose is so high, and why many of those who

16   overdose simply go to sleep and never wake up.

17               89.      Natural opioids are derived from the opium poppy and have been used since

18   antiquity, going as far back as 3400 B.C. The opium poppy contains various opium alkaloids,

19   three of which are used commercially today: morphine, codeine, and thebaine.

20               90.      A 16th-century European alchemist, Paracelsus, is generally credited with

21   developing a tincture of opium and alcohol called laudanum, but it was a British physician a

22   century later who popularized the use of laudanum in Western medicine. “Sydenham’s

23   laudanum” was a simpler tincture than Paracelsus’s and was widely adopted as a treatment not

24

25   13
          At one time, the term “opiate” was used for natural opioids, while “opioid” referred to synthetic substances
          manufactured to mimic opiates. Now, however, most medical professionals use “opioid” to refer broadly to
26        natural, semi-synthetic, and synthetic opioids. A fourth class of opioids, endogenous opioids (e.g., endorphins), is
          produced naturally by the human body.

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 1   only for pain, but for coughs, dysentery, and numerous other ailments. Laudanum contains

 2   almost all of the opioid alkaloids and is still available by prescription today.

 3              91.      Chemists first isolated the morphine and codeine alkaloids in the early 1800s, and

 4   the pharmaceutical company Merck began large-scale production and commercial marketing of

 5   morphine in 1827. During the American Civil War, field medics commonly used morphine,

 6   laudanum, and opium pills to treat the wounded, and many veterans were left with morphine

 7   addictions. It was upper and middle class white women, however, who comprised the majority of

 8   opioid addicts in the late 19th-century United States, using opioid preparations widely available

 9   in pain elixirs, cough suppressants, and patent medicines. By 1900, an estimated 300,000 people

10   were addicted to opioids in the United States, 14 and many doctors prescribed opioids solely to

11   prevent their patients from suffering withdrawal symptoms.

12              92.      Trying to develop a drug that could deliver opioids’ potent pain relief without

13   their addictive properties, chemists continued to isolate and refine opioid alkaloids. Heroin, first

14   synthesized from morphine in 1874, was marketed commercially by the Bayer Pharmaceutical

15   Company beginning in 1898 as a safe alternative to morphine. Heroin’s market position as a safe

16   alternative was short-lived, however; Bayer stopped mass-producing heroin in 1913 because of

17   its dangers. German chemists then looked to the alkaloid thebaine, synthesizing oxymorphone

18   and oxycodone from thebaine in 1914 and 1916, respectively, with the hope that the different

19   alkaloid source might provide the benefits of morphine and heroin without the drawbacks.

20              93.      But each opioid was just as addictive as the one before it, and eventually the issue

21   of opioid addiction could not be ignored. The nation’s first Opium Commissioner, Hamilton

22   Wright, remarked in 1911, “The habit has this nation in its grip to an astonishing extent. Our

23   prisons and our hospitals are full of victims of it, it has robbed ten thousand businessmen of

24
     14
25        Nick Miroff, From Teddy Roosevelt to Trump: How drug companies triggered an opioid crisis a century ago,
          Washington Post (Oct. 17, 2017), https://www.washingtonpost.com/news/retropolis/wp/2017/09/29/the-greatest-
26        drug-fiends-in-the-world-an-american-opioid-crisis-in-1908/?utm_term=.7832633fd7ca.


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 1   moral sense and made them beasts who prey upon their fellows . . . it has become one of the

 2   most fertile causes of unhappiness and sin in the United States.”15

 3              94.    Concerns over opioid addiction led to national legislation and international

 4   agreements regulating narcotics: the International Opium Convention, signed at the Hague in

 5   1912, and, in the U.S., the Harrison Narcotics Tax Act of 1914. Opioids were no longer marketed

 6   as cure-alls and instead were relegated to the treatment of acute pain.

 7              95.    Throughout the twentieth century, pharmaceutical companies continued to

 8   develop prescription opioids, but these opioids were generally produced in combination with

 9   other drugs, with relatively low opioid content. For example, Percodan, produced by Defendant

10   Endo since 1950, is oxycodone and aspirin, and contains just under 5 mg of oxycodone.

11   Percocet, manufactured by Endo since 1971, is the combination of oxycodone and

12   acetaminophen, with dosage strengths delivering between 2.5 mg and 10 mg of oxycodone.

13   Vicodin, a combination of hydrocodone and acetaminophen, was introduced in the U.S. in 1978

14   and is sold in strengths of 5 mg, 7.5 mg, and 10 mg of hydrocodone. Defendant Janssen also

15   manufactured a drug with 5 mg of oxycodone and 500 mg of acetaminophen, called Tylox, from

16   1984 to 2012.

17              96.    In contrast, OxyContin, the product with the dubious honor of the starring role in

18   the opioid epidemic, is pure oxycodone. Purdue initially made it available in the following

19   dosage strengths: 10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. In other

20   words, the weakest OxyContin delivers as much narcotic as the strongest Percocet, and some

21   OxyContin tablets delivered sixteen times as much as that.

22              97.    Prescription opioids are essentially pharmaceutical heroin; they are synthesized

23   from the same plant, have similar molecular structures, and bind to the same receptors in the

24   human brain. It is no wonder then that there is a straight line between prescription opioid abuse

25
     15
26        Id.


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 1   and heroin addiction. Indeed, studies show that over 80% of new heroin addicts between 2008

 2   and 2010 started with prescription opioids.16

 3
                    Oxycodone                                Heroin                                Morphine
 4

 5

 6

 7

 8

 9
10            98.       Medical professionals describe the strength of various opioids in terms of

11   “morphine milligram equivalents” (“MME”). According to the CDC, dosages at or above 50

12   MME/day double the risk of overdose compared to 20 MME/day, and one study found that

13   patients who died of opioid overdose were prescribed an average of 98 MME/day.

14            99.       Different opioids provide varying levels of MMEs. For example, just 33 mg of

15   oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50 MME/day

16   threshold is reached by a prescription of 15 mg twice daily. One 160 mg tablet of OxyContin,

17   which Purdue took off the market in 2001, delivered 240 MME.17

18            100.      As journalist Barry Meier wrote in his 2003 book Pain Killer: A “Wonder”

19   Drug’s Trail of Addiction and Death, “In terms of narcotic firepower, OxyContin was a nuclear

20   weapon.”18

21

22
     16
         Jones CM, Heroin use and heroin use risk behaviors among nonmedical users of prescription opioid pain
23      relievers - United States, 2002-2004 and 2008-2010, 132(1-2) Drug Alcohol Depend. 95-100 (Sept. 1, 2013),
        https://www.ncbi.nlm.nih.gov/pubmed/23410617.
24   17
         The wide variation in the MME strength of prescription opioids renders misleading any effort to capture “market
        share” by the number of pills or prescriptions attributed to Purdue or other manufacturers. Purdue, in particular,
25      focuses its business on branded, highly potent pills, causing it to be responsible for a significant percent of the total
        amount of MME in circulation even though it currently claims to have a small percent of the market share in terms
26      of pills or prescriptions.
     18
         Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of Addiction and Death (Rodale 2003).

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 1            101.     Fentanyl, an even more potent and more recent arrival in the opioid tale, is a

 2   synthetic opioid that is 100 times stronger than morphine and 50 times stronger than heroin. First

 3   developed in 1959 by Dr. Paul Janssen under a patent held by Janssen Pharmaceutica, fentanyl is

 4   increasingly prevalent in the market for opioids created by Defendants’ promotion, with

 5   particularly lethal consequences. In many instances, illicit fentanyl is manufactured to look like

 6   oxycodone tablets, in the light blue color and with the “M” stamp of Defendant Mallinckrodt’s

 7   30mg oxycodone pills. These lookalike pills have been found around the country.19

 8            2.       The Sackler family pioneered the integration of advertising and medicine.

 9            102.     Given the history of opioid use in the U.S. and the medical profession’s resulting

10   wariness, the commercial success of Defendants’ prescription opioids would not have been

11   possible without a fundamental shift in prescribers’ perception of the risks and benefits of long-

12   term opioid use.

13            103.     As it turned out, Purdue was uniquely positioned to execute just such a maneuver,

14   thanks to the legacy of a man named Arthur Sackler. The Sackler family is the sole owner of

15   Purdue and one of the wealthiest families in America, surpassing the wealth of storied families

16   like the Rockefellers, the Mellons, and the Busches.20 Because of Purdue and, in particular,

17   OxyContin, the Sacklers’ net worth was $13 billion as of 2016. Today, all nine members of the

18   Purdue board are family members, and all of the company’s profits go to Sackler family trusts

19   and entities.21 Yet the Sacklers have avoided publicly associating themselves with Purdue, letting

20   others serve as the spokespeople for the company.

21

22
     19
        See e.g., Sharon Bogan, Illicit fentanyl found locally in fake opioid pills, Public Health Insider (Oct. 2, 2017),
23      https://publichealthinsider.com/2017/10/02/illicit-fentanyl-found-locally-in-fake-opioid-pills/; Mislabeled
        painkillers “a fatal overdose waiting to happen,” CBS News (Feb. 29, 2016, 10:46am),
24      https://www.cbsnews.com/news/mislabeled-painkillers-a-fatal-overdose-waiting-to-happen/.
     20
        Alex Morrell, The OxyContin Clan: The $14 Billion Newcomer to Forbes 2015 List of Richest U.S. Families,
25      Forbes (July 1, 2015, 10:17am), https://www.forbes.com/sites/alexmorrell/2015/07/01/the-oxycontin-clan-the-14-
        billion-newcomer-to-forbes-2015-list-of-richest-u-s-families/#382ab3275e02.
26   21
        David Armstrong, The man at the center of the secret OxyContin files, Stat News (May 12, 2016),
        https://www.statnews.com/2016/05/12/man-center-secret-oxycontin-files/.

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 1              104.     The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

 2   patent-medicine company called The Purdue Frederick Company in 1952. While all three

 3   brothers were accomplished psychiatrists, it was Arthur, the oldest, who directed the Sackler

 4   story, treating his brothers more as his protégés than colleagues, putting them both through

 5   medical school and essentially dictating their paths. It was Arthur who created the Sackler

 6   family’s wealth, and it was Arthur who created the pharmaceutical advertising industry as we

 7   know it—laying the groundwork for the OxyContin promotion that would make the Sacklers

 8   billionaires.

 9              105.     Arthur Sackler was both a psychiatrist and a marketing executive, and, by many

10   accounts, a brilliant and driven man. He pursued two careers simultaneously, as a psychiatrist at

11   Creedmoor State Hospital in New York and the president of an advertising agency called

12   William Douglas McAdams. Arthur pioneered both print advertising in medical journals and

13   promotion through physician “education” in the form of seminars and continuing medical

14   education courses. He understood intuitively the persuasive power of recommendations from

15   fellow physicians, and did not hesitate to manipulate information when necessary. For example,

16   one promotional brochure produced by his firm for Pfizer showed business cards of physicians

17   from various cities as if they were testimonials for the drug, but when a journalist tried to contact

18   these doctors, he discovered that they did not exist.22

19              106.     It was Arthur who, in the 1960s, made Valium into the first $100-million drug, so

20   popular it became known as “Mother’s Little Helper.” His expertise as a psychiatrist was key to

21   his success; as his biography in the Medical Advertising Hall of Fame notes, it “enabled him to

22   position different indications for Roche’s Librium and Valium—to distinguish for the physician

23   the complexities of anxiety and psychic tension.”23 When Arthur’s client, Roche, developed

24   Valium, it already had a similar drug, Librium, another benzodiazepine, on the market for

25
     22
          Meier, supra note 18, at 204.
26   23
          MAHF Inductees, Arthur M. Sackler, Med. Advert. Hall of Fame, https://www.mahf.com/mahf-inductees/ (last
          visited July 16, 2018).

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 1   treatment of anxiety. So Arthur invented a condition he called “psychic tension”—essentially

 2   stress—and pitched Valium as the solution.24 The campaign, for which Arthur was compensated

 3   based on volume of pills sold,25 was a remarkable success.

 4           107.      Arthur’s entrepreneurial drive led him to create not only the advertising for his

 5   clients but also the vehicle to bring their advertisements to doctors—a biweekly newspaper

 6   called the Medical Tribune, which he distributed for free to doctors nationwide. Arthur also

 7   conceived a company now called IMS Health Holdings Inc., which monitors prescribing

 8   practices of every doctor in the U.S. and sells this valuable data to pharmaceutical companies

 9   like Defendants, who utilize it to tailor their sales pitches to individual physicians.

10           108.      Even as he expanded his business dealings, Arthur was adept at hiding his

11   involvement in them. When, during a 1962 Senate hearing about deceptive pharmaceutical

12   advertising, he was asked about a public relations company called Medical and Science

13   Communications Associates, which distributed marketing from drug companies disguised as

14   news articles, Arthur was able to truthfully testify that he never was an officer for nor had any

15   stock in that company. But the company’s sole shareholder was his then-wife. Around the same

16   time, Arthur also successfully evaded an investigative journalist’s attempt to link the Sacklers to

17   a company called MD Publications, which had funneled payments from drug companies to an

18   FDA official named Henry Welch, who was forced to resign when the scandal broke.26 Arthur

19   had set up such an opaque and layered business structure that his connection to MD Publications

20   was only revealed decades later when his heirs were fighting over his estate.

21           109.      Arthur Sackler did not hesitate to manipulate information to his advantage. His

22   legacy is a corporate culture that prioritizes profits over people. In fact, in 2007, federal

23   prosecutors conducting a criminal investigation of Purdue’s fraudulent advertising of OxyContin

24
     24
        Meier, supra note 18, at 202; One Family Reaped Billions From Opioids, WBUR On Point (Oct. 23, 2017),
25      http://www.wbur.org/onpoint/2017/10/23/one-family-reaped-billions-from-opioids.
     25
        WBUR On Point interview, supra note 24.
     26
26      Meier, supra note 18, at 210-14.


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 1   found a “corporate culture that allowed this product to be misbranded with the intent to defraud

 2   and mislead.”27 Court documents from the prosecution state that “certain Purdue supervisors and

 3   employees, with the intent to defraud or mislead, marketed and promoted OxyContin as less

 4   addictive, less subject to abuse and diversion, and less likely to cause tolerance and withdrawal

 5   than other pain medications . . . ”28 Half a century after Arthur Sackler wedded advertising and

 6   medicine, Purdue employees were following his playbook, putting product sales over patient

 7   safety.

 8             3.      Purdue and the development of OxyContin

 9             110.    After the Sackler brothers acquired The Purdue Frederick Company in 1952,

10   Purdue sold products ranging from earwax remover to antiseptic, and it became a profitable

11   business. As an advertising executive, Arthur Sackler was not involved, on paper at least, in

12   running Purdue because that would have been a conflict of interest. Raymond Sackler became

13   Purdue’s head executive while Mortimer Sackler ran Purdue’s UK affiliate.

14             111.    In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug producer

15   that had developed a sustained-release technology suitable for morphine. Purdue marketed this

16   extended-release morphine as MS Contin. It quickly became Purdue’s best seller. As the patent

17   expiration for MS Contin loomed, Purdue searched for a drug to replace it. Around that time,

18   Raymond Sackler’s oldest son, Richard Sackler, who was also a trained physician, became more

19   involved in the management of the company. Richard Sackler had grand ambitions for the

20   company; according to a long-time Purdue sales representative, “Richard really wanted Purdue

21   to be big—I mean really big.”29 Richard Sackler believed Purdue should develop another use for

22   its “Contin” timed-release system.

23

24
     27
        Naomi Spencer, OxyContin manufacturer reaches $600 million plea deal over false marketing practices, World
25      Socialist Web Site (May 19, 2007), http://www.wsws.org/en/articles/2007/05/oxy-m19.html.
     28
        Agreed Statement of Facts, United States. v. Purdue Frederick Co., No. 1:07-cr-00029 (W.D. Va. May 10, 2007).
26   29
        Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire (Oct. 16, 2017),
        http://www.esquire.com/news-politics/a12775932/sackler-family-oxycontin/.

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 1              112.     In 1990, Purdue’s VP of clinical research, Robert Kaiko, sent a memo to Richard

 2   Sackler and other executives recommending that the company work on a pill containing

 3   oxycodone. At the time, oxycodone was perceived as less potent than morphine, largely because

 4   it was most commonly prescribed as Percocet, the relatively weak oxycodone-acetaminophen

 5   combination pill. MS Contin was not only approaching patent expiration but had always been

 6   limited by the stigma associated with morphine. Oxycodone did not have that problem, and

 7   what’s more, it was sometimes mistakenly called “oxycodeine,” which also contributed to the

 8   perception of relatively lower potency, because codeine is weaker than morphine. Purdue

 9   acknowledged using this to its advantage when it eventually pled guilty to criminal charges of

10   “misbranding” in 2007, admitting that it was “well aware of the incorrect view held by many

11   physicians that oxycodone was weaker than morphine” and “did not want to do anything ‘to

12   make physicians think that oxycodone was stronger or equal to morphine’ or to ‘take any steps . .

13   . that would affect the unique position that OxyContin’” held among physicians.30

14              113.     For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

15   new product from the traditional view of narcotic addiction risk, and broaden the drug’s uses

16   beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives in

17   March 1995 recommended that if Purdue could show that the risk of abuse was lower with

18   OxyContin than with traditional immediate-release narcotics, sales would increase.31 As

19   discussed below, Purdue did not find or generate any such evidence, but this did not stop Purdue

20   from making that claim regardless.

21              114.     Despite the fact that there has been little or no change in the amount of pain

22   reported in the U.S. over the last twenty years, Purdue recognized an enormous untapped market

23   for its new drug. As Dr. David Haddox, a Senior Medical Director at Purdue, declared on the

24   Early Show, a CBS morning talk program, “There are 50 million patients in this country who

25
     30
          United States. v. Purdue Frederick Co., supra note 28.
     31
26        Meier, supra note 18, at 269.


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 1   have chronic pain that’s not being managed appropriately every single day. OxyContin is one of

 2   the choices that doctors have available to them to treat that.”32

 3              115.     In pursuit of these 50 million potential customers, Purdue poured resources into

 4   OxyContin’s sales force and advertising. The graph below shows how promotional spending in

 5   the first six years following OxyContin’s launch dwarfed Purdue’s spending on MS Contin or

 6   Defendant Janssen’s spending on Duragesic:33

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20              116.     Prior to Purdue’s launch of OxyContin, no drug company had ever promoted such

21   a pure, high-strength Schedule II narcotic to so wide an audience of general practitioners. Today,

22   one in every five patients who present themselves to physicians’ offices with non-cancer pain

23

24
     32
25        Id. at 156.
     33
          OxyContin Abuse and Diversion and Efforts to Address the Problem, U.S. Gen. Acct. Off. Rep. to Cong.
26        Requesters at 22 (Dec. 2003), http://www.gao.gov/new.items/d04110.pdf.


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 1   symptoms or pain-related diagnoses (including acute and chronic pain) receives an opioid

 2   prescription.34

 3              117.     Purdue has generated estimated sales of more than $35 billion from opioids since

 4   1996, while raking in more than $3 billion in 2015 alone. Remarkably, its opioid sales continued

 5   to climb even after a period of media attention and government inquiries regarding OxyContin

 6   abuse in the early 2000s and a criminal investigation culminating in guilty pleas in 2007. Purdue

 7   proved itself skilled at evading full responsibility and continuing to sell through the controversy.

 8   The company’s annual opioid sales of $3 billion in 2015 represent a four-fold increase from its

 9   2006 sales of $800 million.

10              118.     One might imagine that Richard Sackler’s ambitions have been realized. But in

11   the best tradition of family patriarch Arthur Sackler, Purdue has its eyes on even greater profits.

12   Under the name of Mundipharma, the Sacklers are looking to new markets for their opioids—

13   employing the exact same playbook in South America, China, and India as they did in the United

14   States.

15              119.     In May 2017, a dozen members of Congress sent a letter to the World Health

16   Organization, warning it of the deceptive practices Purdue is unleashing on the rest of the world

17   through Mundipharma:

18              We write to warn the international community of the deceptive and dangerous
                practices of Mundipharma International—an arm of Purdue Pharmaceuticals. The
19
                greed and recklessness of one company and its partners helped spark a public health
20              crisis in the United States that will take generations to fully repair. We urge the
                World Health Organization (WHO) to do everything in its power to avoid allowing
21              the same people to begin a worldwide opioid epidemic. Please learn from our
                experience and do not allow Mundipharma to carry on Purdue’s deadly legacy on
22              a global stage. . . .
23              Internal documents revealed in court proceedings now tell us that since the early
24              development of OxyContin, Purdue was aware of the high risk of addiction it
                carried. Combined with the misleading and aggressive marketing of the drug by its
25
     34
          Deborah Dowell, M.D., Tamara M. Haegerich, Ph.D., and Roger Chou, M.D., CDC Guideline for Prescribing
26        Opioids for Chronic Pain — United States, 2016, Ctrs. for Disease Control and Prevention (Mar. 18, 2016),
          https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm [hereinafter 2016 CDC Guideline].

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 1              partner, Abbott Laboratories, Purdue began the opioid crisis that has devastated
                American communities since the end of the 1990s. Today, Mundipharma is using
 2              many of the same deceptive and reckless practices to sell OxyContin abroad. . . .
 3              In response to the growing scrutiny and diminished U.S. sales, the Sacklers have
                simply moved on. On December 18, the Los Angeles Times published an extremely
 4              troubling report detailing how in spite of the scores of lawsuits against Purdue for
                its role in the U.S. opioid crisis, and tens of thousands of overdose deaths,
 5
                Mundipharma now aggressively markets OxyContin internationally. In fact,
 6              Mundipharma uses many of the same tactics that caused the opioid epidemic to
                flourish in the U.S., though now in countries with far fewer resources to devote to
 7              the fallout.35
 8              120.     Purdue’s pivot to untapped markets, after extracting substantial profits from

 9   communities like the Lummi Nation and leaving the Lummi Nation to address the resulting

10   damage, underscores that its actions have been knowing, intentional, and motivated by profits

11   throughout this entire tragic story.

12   B.         The Booming Business of Addiction

13              1.       Other Manufacturing Defendants leapt at the opioid opportunity.

14              121.     Purdue created a market in which the prescription of powerful opioids for a range

15   of common aches and pains was not only acceptable but encouraged—but it was not alone.

16   Defendants Endo, Janssen, Cephalon, and Actavis, each of which already produced and sold

17   prescription opioids, positioned themselves to take advantage of the opportunity Purdue created,

18   developing both branded and generic opioids to compete with OxyContin while misrepresenting

19   the safety and efficacy of their products.

20              122.     Endo, which for decades had sold Percocet and Percodan, both containing

21   relatively low doses of oxycodone, moved quickly to develop a generic version of extended-

22   release oxycodone to compete with OxyContin, receiving tentative FDA approval for its generic

23   version in 2002. As Endo stated in its 2003 Form 10-K, it was the first to file an application with

24
     35
25        Letter from Cong. of the U.S., to Dr. Margaret Chan, Dir.-Gen., World Health Org. (May 3, 2017),
          http://katherineclark.house.gov/_cache/files/a577bd3c-29ec-4bb9-bdba-1ca71c784113/mundipharma-letter-
26        signatures.pdf.


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 1   the FDA for bioequivalent versions of the 10, 20, and 40 mg strengths of OxyContin, which

 2   potentially entitled it to 180 days of generic marketing exclusivity—“a significant advantage.”36

 3   Purdue responded by suing Endo for patent infringement, litigating its claims through a full trial

 4   and a Federal Circuit appeal—unsuccessfully. As the trial court found, and the appellate court

 5   affirmed, Purdue obtained the oxycodone patents it was fighting to enforce through “inequitable

 6   conduct”—namely, suggesting that its patent applications were supported by clinical data when

 7   in fact they were based on an employee’s “insight and not scientific proof.”37 Endo began selling

 8   its generic extended-release oxycodone in 2005.

 9           123.      At the same time as Endo was battling Purdue over generic OxyContin—and as

10   the U.S. was battling increasingly widespread opioid abuse—Endo was working on getting

11   another branded prescription opioid on the market. In 2002, Endo submitted applications to the

12   FDA for both immediate-release and extended-release tablets of oxymorphone, branded as

13   Opana and Opana ER.

14           124.      Like oxycodone, oxymorphone is not a new drug; it was first synthesized in

15   Germany in 1914 and sold in the U.S. by Endo beginning in 1959 under the trade name

16   Numorphan, in injectable, suppository, and oral tablet forms. But the oral tablets proved highly

17   susceptible to abuse. Called “blues” after the light blue color of the 10 mg pills, Numorphan

18   provoked, according to some users, a more euphoric high than heroin, and even had its moment

19   in the limelight as the focus of the movie Drugstore Cowboy. As the National Institute on Drug

20   Abuse observed in its 1974 report, “Drugs and Addict Lifestyle,” Numorphan was extremely

21   popular among addicts for its quick and sustained effect.38 Endo withdrew oral Numorphan from

22   the market in 1979, reportedly for “commercial reasons.”39

23

24   36
        Endo Pharm. Holdings, Inc. Form 10-K, U.S. Sec. and Exchange Comm’n, at 4 (Mar. 15, 2004),
        http://media.corporate-ir.net/media_files/irol/12/123046/reports/10K_123103.pdf.
25   37
        Purdue Pharma L.P. v. Endo Pharm. Inc., 438 F.3d 1123, 1131 (Fed. Cir. 2006).
     38
        John Fauber and Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today (May 10, 2015),
26      https://www.medpagetoday.com/psychiatry/addictions/51448.
     39
        Id.

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 1           125.      Two decades later, however, as communities around the U.S. were first sounding

 2   the alarm about prescription opioids and Purdue executives were being called to testify before

 3   Congress about the risks of OxyContin, Endo essentially reached back into its inventory, dusted

 4   off a product it had previously shelved after widespread abuse, and pushed it into the

 5   marketplace with a new trade name and a potent extended-release formulation.

 6           126.      The clinical trials submitted with Endo’s first application for approval of Opana

 7   were insufficient to demonstrate efficacy, and some subjects in the trials overdosed and had to be

 8   revived with naloxone. Endo then submitted new “enriched enrollment” clinical trials, in which

 9   trial subjects who do not respond to the drug are excluded from the trial, and obtained approval.

10   Endo began marketing Opana and Opana ER in 2006.

11           127.      Like Numorphan, Opana ER was highly susceptible to abuse. On June 8, 2017,

12   the FDA sought removal of Opana ER. In its press release, the FDA indicated that “the agency is

13   seeking removal based on its concern that the benefits of the drug may no longer outweigh its

14   risks. This is the first time the agency has taken steps to remove a currently marketed opioid pain

15   medication from sale due to the public health consequences of abuse.”40 On July 6, 2017, Endo

16   agreed to withdraw Opana ER from the market.41

17           128.      Janssen, which already marketed the Duragesic (fentanyl) patch, developed a new

18   opioid compound called tapentadol in 2009, marketed as Nucynta for the treatment of moderate

19   to severe pain. Janssen launched the extended-release version, Nucynta ER, for treatment of

20   chronic pain in 2011.

21           129.      Cephalon also manufactures Actiq, a fentanyl lozenge, and Fentora, a fentanyl

22   tablet. As noted above, fentanyl is an extremely powerful synthetic opioid. According to the

23   DEA, as little as two milligrams is a lethal dosage for most people. Actiq has been approved by

24
     40
         Press Release, U.S. Food & Drug Administration, FDA requests removal of Opana ER for risks related to abuse
25      (June 8, 2017), https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
     41
         Endo pulls opioid as U.S. seeks to tackle abuse epidemic, Reuters (July 6, 2017, 9:59am),
26      https://www.reuters.com/article/us-endo-intl-opana-idUSKBN19R2II.


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 1   the FDA only for the “management of breakthrough cancer pain in patients 16 years and older

 2   with malignancies who are already receiving and who are tolerant to around-the-clock opioid

 3   therapy for the underlying persistent cancer pain.”42 Fentora has been approved by the FDA only

 4   for the “management of breakthrough pain in cancer patients 18 years of age and older who are

 5   already receiving and who are tolerant to around-the-clock opioid therapy for their underlying

 6   persistent cancer pain.”43

 7           130.      In 2008, Cephalon pled guilty to a criminal violation of the Federal Food, Drug

 8   and Cosmetic Act for its misleading promotion of Actiq and two other drugs and agreed to pay

 9   $425 million.

10           131.      Actavis acquired the rights to Kadian, extended-release morphine, in 2008, and

11   began marketing Kadian in 2009. Actavis’s opioid products also include Norco, a brand-name

12   hydrocodone and acetaminophen pill, first approved in 1997. But Actavis, primarily a generic

13   drugmaker, pursued opioid profits through generics, selling generic versions of OxyContin,

14   Opana, and Duragesic. In 2013, it settled a patent lawsuit with Purdue over its generic version of

15   “abuse-deterrent” OxyContin, striking a deal that would allow it to market its abuse-deterrent

16   oxycodone formulation beginning in 2014. Actavis anticipated over $100 million in gross profit

17   from generic OxyContin sales in 2014 and 2015.

18           132.      Mallinckrodt’s generic oxycodone achieved enough market saturation to have its

19   own street name, “M’s,” based on its imprint on the pills. As noted above, Mallinckrodt was the

20   subject of a federal investigation based on diversion of its oxycodone in Florida, where 500

21   million of its pills were shipped between 2008 and 2012. Federal prosecutors alleged that 43,991

22   orders from distributors and retailers were excessive enough be considered suspicious and should

23   have been reported to the DEA.

24

25   42
        Prescribing Information, ACTIQ®, U.S. Food & Drug Admin.,
        https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf (last visited July 16, 2018).
26   43
        Prescribing Information, FENTORA®, U.S. Food & Drug Admin.,
        https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf (last visited July 16, 2018).

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 1               133.    Mallinckrodt also pursued a share of the branded opioid market. In 2007,

 2   Mallinckrodt launched Magnacet, an oxycodone and acetaminophen combination pill. In 2008,

 3   Mallinckrodt (then Covidien) launched TussiCaps, a hydrocodone and chlorpheniramine capsule,

 4   marketed as a cough suppressant. And in 2009, Mallinckrodt acquired the U.S. rights to Exalgo,

 5   a potent extended-release hydromorphone tablet, and began marketing it in 2012. Mallinckrodt

 6   further expanded its branded opioid portfolio in 2012 by purchasing Roxicodone from Xanodyne

 7   Pharmaceuticals. In addition, Mallinckrodt developed Xartemis XR, an extended-release

 8   combination of oxycodone and acetaminophen, which the FDA approved in March 2014. In

 9   anticipation of Xartemis XR’s approval, Mallinckrodt hired approximately 200 sales

10   representatives to promote it, and CEO Mark Trudeau said the drug could generate “hundreds of

11   millions in revenue.”44

12               134.    All told, the Manufacturing Defendants have reaped enormous profits from the

13   addiction crisis they spawned. For example, Opana ER alone generated more than $1 billion in

14   revenue for Endo in 2010 and again in 2013. Janssen earned more than $1 billion in sales of

15   Duragesic in 2009, and Nucynta and Nucynta ER accounted for $172 million in sales in 2014.

16               2.      Distributor Defendants knowingly supplied dangerous quantities of opioids
17                       while advocating for limited oversight and enforcement.

18               135.    The Distributor Defendants track and keep a variety of information about the

19   pharmacies and other entities to which they sell pharmaceuticals. For example, the Distributor

20   Defendants use “know your customer” questionnaires that track the number and types of pills

21   their customers sell, absolute and relative amounts of controlled substances they sell, whether the

22   customer purchases from other distributors, and types of medical providers in the areas, among

23   other information.

24

25

26   44
          Samantha Liss, Mallinckrodt banks on new painkillers for sales, St. Louis Bus. Journal (Dec. 30, 2013),
          http://argentcapital.com/mallinckrodt-banks-on-new-painkillers-for-sales/.

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 1           136.      These questionnaires and other sources of information available to the Distributor

 2   Defendants provide ample data to put the Distributor Defendants on notice of suspicious orders,

 3   pharmacies, and doctors.

 4           137.      Nevertheless, the Distributor Defendants refused or failed to identify, investigate,

 5   or report suspicious orders of opioids to the DEA. Even when the Distributor Defendants had

 6   actual knowledge that they were distributing opioids to drug diversion rings, they refused or

 7   failed to report these sales to the DEA.

 8           138.      By not reporting suspicious opioid orders or known diversions of prescription

 9   opioids, not only were the Defendants able to continue to sell opioids to questionable customers,

10   Defendants ensured that the DEA had no basis for decreasing or refusing to increase production

11   quotas for prescription opioids.

12           139.      The Distributor Defendants collaborated with each other and with the

13   Manufacturing Defendants to maintain distribution of excessive amounts of opioids. One

14   example of this collaboration came to light through Defendants’ work in support of legislation

15   called the Ensuring Patient Access and Effective Drug Enforcement (EPAEDE) Act, which was

16   signed into law in 2016 and limited the DEA’s ability to stop the flow of opioids. Prior to this

17   law, the DEA could use an “immediate suspension order” to halt suspicious shipments of pills

18   that posed an “imminent” threat to the public. The EPAEDE Act changed the required showing

19   to an “immediate” threat—an impossible standard given the fact that the drugs may sit on a shelf

20   for a few days after shipment. The law effectively neutralized the DEA’s ability to bring

21   enforcement actions against distributors.

22           140.      The legislation was drafted by a former DEA lawyer, D. Linden Barber, who is

23   now a senior vice president at Defendant Cardinal Health. Prior to leaving the DEA, Barber had

24   worked with Joseph Rannazzisi, then the chief of the DEA’s Office of Diversion Control, to plan

25   the DEA’s fight against the diversion of prescription drugs. So when Barber began working for

26   Cardinal Health, he knew just how to neutralize the effectiveness of the DEA’s enforcement

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 1   actions. Barber and other promoters of the EPAEDE Act portrayed the legislation as maintaining

 2   patient access to medication critical for pain relief. In a 2014 hearing on the bill, Barber testified

 3   about the “unintended consequences in the supply chain” of the DEA’s enforcement actions. But

 4   by that time, communities across the United States, including the Lummi Nation, were grappling

 5   with the “unintended consequences” of Defendants’ reckless promotion and distribution of

 6   narcotics.

 7              141.     Despite egregious examples of drug diversion from around the country, the

 8   promoters of the EPAEDE Act were successful in characterizing the bill as supporting patients’

 9   rights. One of the groups supporting this legislation was the Alliance for Patient Access, a “front

10   group” as discussed further below, which purports to advocate for patients’ rights to have access

11   to medicines, and whose 2017 list of “associate members and financial supporters” included

12   Defendants Purdue, Endo, Johnson & Johnson, Actavis, Mallinckrodt, and Cephalon. In a 2013

13   “white paper” titled “Prescription Pain Medication: Preserving Patient Access While Curbing

14   Abuse,” the Alliance for Patient Access asserted multiple “unintended consequences” of

15   regulating pain medication, including a decline in prescriptions as physicians feel burdened by

16   regulations and stigmatized.45

17              142.     The Distributor Defendants are also part of the activities of the Alliance for

18   Patient Access, although their involvement is hidden. One example of their involvement was

19   revealed by the metadata of an electronic document: the letter from the Alliance for Patient

20   Access in support of the EPAEDE Act. That document was created by Kristen Freitas, a

21   registered lobbyist and the vice president for federal government affairs of the Healthcare

22   Distributors Alliance (HDA)—the trade group that represents Defendants McKesson, Cardinal

23   Health, and AmerisourceBergen.

24

25
     45
          Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, Inst. for Patient Access (Oct.
26        2013), http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-cdn.com/wp-content/uploads/2013/12/PT_White-
          Paper_Finala.pdf.

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 1              143.    Upon information and belief, the collaboration on the EPAEDE Act is just one

 2   example of how the Manufacturing Defendants and the Distributor Defendants, through third-

 3   party “front groups” like the Alliance for Patient Access and trade organizations like HDA,

 4   worked together behind the scenes to ensure that the flow of dangerous narcotics into

 5   communities across the country would not be restricted, and Defendants collaborated in other

 6   ways that remain hidden from public view.

 7              144.    The Distributor Defendants have been the subject of numerous enforcement

 8   actions by the DEA. In 2008, for example, McKesson was fined $13.3 million and agreed to

 9   strengthen its controls by implementing a three-tiered system that would flag buyers who

10   exceeded monthly thresholds for opioids. As the opioid crisis deepened, the DEA’s Office of

11   Diversion Control, led by Rannazzisi, stepped up enforcement, filing fifty-two immediate

12   suspension orders against suppliers and pill mills in 2010 alone. Defendant Cardinal Health was

13   fined $34 million by the DEA in 2013 for failing to report suspicious orders.

14              145.    The Distributor Defendants were not simply passive transporters of opioids. They

15   intentionally failed to report suspicious orders and actively pushed back against efforts to enforce

16   the law and restrict the flow of opioids into communities like the Lummi Nation.

17              3.      Pill mills and overprescribing doctors also placed their financial interests
18                      ahead of their patients’ interests.

19              146.    Prescription opioid manufacturers and distributors were not the only ones to

20   recognize an economic opportunity. Around the country, certain doctors or pain clinics ended up

21   doing brisk business dispensing opioid prescriptions. As Dr. Andrew Kolodny, cofounder of

22   Physicians for Responsible Opioid Prescribing, observed, this business model meant doctors

23   would “have a practice of patients who’ll never miss an appointment and who pay in cash.”46

24              147.    Moreover, the Manufacturing Defendants’ sales incentives rewarded sales

25   representatives who happened to have pill mills within their territories, enticing those

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     46
          Sam Quinones, Dreamland: The True Tale of America’s Opiate Epidemic 314 (Bloomsbury Press 2015).

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 1   representatives to look the other way even when their in-person visits to such clinics should have

 2   raised numerous red flags. In one example, a pain clinic in South Carolina was diverting massive

 3   quantities of OxyContin. People traveled to the clinic from towns as far as 100 miles away to get

 4   prescriptions. Eventually, the DEA’s diversion unit raided the clinic, and prosecutors filed

 5   criminal charges against the doctors. But Purdue’s sales representative for that territory, Eric

 6   Wilson, continued to promote OxyContin sales at the clinic. He reportedly told another local

 7   physician that this clinic accounted for 40% of the OxyContin sales in his territory. At that time,

 8   Wilson was Purdue’s top-ranked sales representative.47 In response to news stories about this

 9   clinic, Purdue issued a statement, declaring that “if a doctor is intent on prescribing our

10   medication inappropriately, such activity would continue regardless of whether we contacted the

11   doctor or not.”48

12           148.      Another pill mill, this one in Los Angeles, supplied OxyContin to a drug dealer in

13   Everett, Washington. Purdue was alerted to the existence of this pill mill by one of its regional

14   sales managers, who in 2009 reported to her supervisors that when she visited the clinic with her

15   sales representative, “it was packed with a line out the door, with people who looked like gang

16   members,” and that she felt “very certain that this an organized drug ring[.]” She wrote, “This is

17   clearly diversion. Shouldn’t the DEA be contacted about this?” But her supervisor at Purdue

18   responded that while they were “considering all angles,” it was “really up to [the wholesaler] to

19   make the report.” This clinic was the source of 1.1 million pills trafficked to Everett, which is a

20   city of around 100,000 people. Purdue waited until after the clinic was shut down in 2010 to

21   inform the authorities.49 Similarly, Purdue received repeated reports in 2008 from a sales

22   representative who visited a family practice doctor in Bothell, Washington; the sales

23
     47
        Meier, supra note 18, at 298-300.
24   48
        Id.
     49
         Harriet Ryan, Scott Glover, and Lisa Girion, How black-market OxyContin spurred a town’s descent into crime,
25      addiction and heartbreak, Los Angeles Times (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-
        everett/; Harriet Ryan, Lisa Girion, and Scott Glover, More than 1 million OxyContin pills ended up in the hands
26      of criminals and addicts. What the drugmaker knew, Los Angeles Times (July 10, 2016),
        http://www.latimes.com/projects/la-me-oxycontin-part2/.

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 1   representative informed Purdue that many of this doctor’s patients were men in their twenties

 2   who did not appear to be in pain, who sported diamond studs and $350 sneakers, and who always

 3   paid for their 80 mg OxyContin prescriptions in cash. Despite being repeatedly alerted to the

 4   doctor’s conduct, Purdue did not take any action to report it until three years later.

 5              149.     Whenever examples of opioid diversion and abuse have drawn media attention,

 6   the Manufacturing Defendants have consistently blamed “bad actors.” For example, in 2001,

 7   during a Congressional hearing, Purdue’s attorney Howard Udell answered pointed questions

 8   about how it was that Purdue could utilize IMS Health data to assess their marketing efforts but

 9   not notice a particularly egregious pill mill in Pennsylvania run by a doctor named Richard

10   Paolino. Udell asserted that Purdue was “fooled” by the “bad actor” doctor: “The picture that is

11   painted in the newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon

12   this community, who caused untold suffering. And he fooled us all. He fooled law enforcement.

13   He fooled the DEA. He fooled local law enforcement. He fooled us.”50

14              150.     But given the closeness with which all Defendants monitored prescribing patterns,

15   including through IMS Health data, it is highly improbable that they were “fooled.” In fact, a

16   local pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic and

17   alerted authorities. Purdue had the prescribing data from the clinic and alerted no one. Rather, it

18   appears Purdue and other Defendants used the IMS Health data to target pill mills and sell more

19   pills. Indeed, a Purdue executive referred to Purdue’s tracking system and database as a “gold

20   mine” and acknowledged that Purdue could identify highly suspicious volumes of prescriptions.

21              151.     Sales representatives making in-person visits to such clinics were likewise not

22   fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

23   alike, Defendants and their employees turned a collective blind eye, allowing certain clinics to

24   dispense staggering quantities of potent opioids and feigning surprise when the most egregious

25   examples eventually made the nightly news.

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          Meier, supra note 18, at 179.

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 1              4.       Widespread prescription opioid use broadened the market for heroin and
                         other illicit drugs.
 2

 3              152.     Defendants’ scheme achieved a dramatic expansion of the U.S. market for

 4   opioids, prescription and non-prescription alike. Heroin and fentanyl use has surged—a

 5   foreseeable consequence of Defendants’ successful promotion of opioid use coupled with the

 6   sheer potency of their products.

 7              153.     In his book Dreamland: The True Tale of America’s Opiate Epidemic, journalist

 8   Sam Quinones summarized the easy entrance of black tar heroin in a market primed by

 9   prescription opioids:

10              His black tar, once it came to an area where OxyContin had already tenderized the
                terrain, sold not to tapped-out junkies but to younger kids, many from the suburbs,
11              most of whom had money and all of whom were white. Their transition from Oxy
                to heroin, he saw, was a natural and easy one. Oxy addicts began by sucking on and
12              dissolving the pills’ timed-release coating. They were left with 40 or 80 mg of pure
13              oxycodone. At first, addicts crushed the pills and snorted the powder. As their
                tolerance built, they used more. To get a bigger bang from the pill, they liquefied it
14              and injected it. But their tolerance never stopped climbing. OxyContin sold on the
                street for a dollar a milligram and addicts very quickly were using well over 100
15              mg a day. As they reached their financial limits, many switched to heroin, since
                they were already shooting up Oxy and had lost any fear of the needle.51
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          Quinones, supra note 46, at 165-66.

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 1              154.     In a study examining the relationship between the abuse of prescription opioids

 2   and heroin, researchers found that 75% of those who began their opioid abuse in the 2000s

 3   reported that their first opioid was a prescription drug.52 As the graph below illustrates,

 4   prescription opioids replaced heroin as the first opioid of abuse beginning in the 1990s.

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18              155.     The researchers also found that nearly half of the respondents who indicated that

19   their primary drug was heroin actually preferred prescription opioids, because the prescription

20   drugs were legal, and perceived as “safer and cleaner.” But, heroin’s lower price point is a

21   distinct advantage. While an 80 mg OxyContin might cost $80 on the street, the same high can

22   be had from $20 worth of heroin.

23              156.     As noted above, there is little difference between the chemical structures of heroin

24   and prescription opioids. Between 2005 and 2009, Mexican heroin production increased by over

25
     52
           Theodore J. Cicero, PhD, Matthew S. Ellis, MPE, Hilary L. Surratt, PhD, The Changing Face of Heroin Use in
26        the United States: A Retrospective Analysis of the Past 50 Years, 71(7) JAMA Psychiatry 821-826 (2014),
          https://jamanetwork.com/journals/jamapsychiatry/fullarticle/1874575.

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 1   600%. And between 2010 and 2014, the amount of heroin seized at the U.S.-Mexico border more

 2   than doubled.

 3            157.     From 2002 to 2016, fatal overdoses related to heroin in the U.S. increased by

 4   533%—from 2,089 deaths in 2002 to 13,219 deaths in 2016.53

 5            158.     Along with heroin use, illicitly manufactured fentanyl use is on the rise, as a result

 6   of America’s expanded appetite for opioids. But fentanyl, as noted above, is fifty times more

 7   potent than heroin, and overdosing is all too easy. Fentanyl is expected to cause over 20,000

 8   overdoses in 2017.54

 9            159.     As Dr. Caleb Banta-Green, senior research scientist at the University of

10   Washington’s Alcohol and Drug Abuse Institute, observed in 2017, “The bottom line is opioid

11   addiction is the overall driver of deaths. People will use whatever opioid they can get. It’s just

12   that which one they’re buying is changing a bit.”55

13            160.     In addition to the expanded market for opioids of all kinds, the opioid epidemic

14   has contributed to a resurgence in methamphetamine use, as some opioid users turn to the

15   stimulant to counter the effects of opioids.56 And the trafficking networks that fanned out across

16   the United States to deliver illicit opioids often bring methamphetamine through the same

17   channels. In April 2018 in New Mexico, for example, a federal Joint Task Force—newly formed

18   to combat the opioid crisis in Indian Country—seized forty-nine pounds of methamphetamine,

19   along with marijuana, heroin, and other narcotics, in its first raid.57

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     53
         Niall McCarthy, U.S. Heroin Deaths Have Increased 533% Since 2002, Forbes (Sept. 11, 2017, 8:26am),
21      https://www.forbes.com/sites/niallmccarthy/2017/09/11/u-s-heroin-deaths-have-increased-533-since-2002-
        infographic/#13ab9a531abc.
22   54
         Id.
     55
         Opioids: The Leading Cause of Drug Deaths in Seattle Area, U. of Wash. Sch. of Pub. Health (Aug. 25, 2017),
23      http://sph.washington.edu/news/article.asp?content_ID=8595.
     56
         See, e.g., Opioids and methamphetamine: a tale of two crises, 391(10122) The Lancet 713 (Feb. 24, 2018),
24      https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(18)30319-2/fulltext; Brenda Goodman, MA,
        Experts Warn of Emerging ‘Stimulant Epidemic’, WebMD (Apr. 3, 2018). https://www.webmd.com/mental-
25      health/addiction/news/20180403/experts-warn-of-emerging-stimulant-epidemic.
     57
         Press Release, U.S. Dep’t of the Interior, In First Raid, New Opioid Task Force Seizes $2.5 Million worth of Meth
26      and $22,000 in Marijuana, Heroin and Other Narcotics (Apr. 11, 2018), https://www.doi.gov/pressreleases/first-
        raid-new-opioid-task-force-seizes-25-million-worth-meth-and-22000-marijuana.

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 1   C.         The Manufacturing Defendants Promoted Prescription Opioids Through Several
                Channels.
 2

 3              161.     Despite knowing the devastating consequences of widespread opioid use, the

 4   Manufacturing Defendants engaged in a sophisticated and multi-pronged promotional campaign

 5   designed to achieve just that. By implementing the strategies pioneered by Arthur Sackler, these

 6   Defendants were able to achieve the fundamental shift in the perception of opioids that was key

 7   to making them blockbuster drugs.

 8              162.     The Manufacturing Defendants disseminated their deceptive statements about

 9   opioids through several channels.58 First, these Defendants aggressively and persistently pushed

10   opioids through sales representatives. Second, these Defendants funded third-party organizations

11   that appeared to be neutral but which served as additional marketing departments for drug

12   companies. Third, these Defendants utilized prominent physicians as paid spokespeople—“Key

13   Opinion Leaders”—to take advantage of doctors’ respect for and reliance on the

14   recommendations of their peers. Finally, these Defendants also used print and online advertising,

15   including unbranded advertising, which is not reviewed by the FDA.

16              163.     The Manufacturing Defendants spent substantial sums and resources in making

17   these communications. For example, Purdue spent more than $200 million marketing OxyContin

18   in 2001 alone.59

19              1.       The Manufacturing Defendants aggressively deployed sales representatives
20                       to push their products.

21              164.     The Manufacturing Defendants communicated to prescribers directly in the form

22   of in-person visits and communications from sales representatives.

23

24

25   58
          The specific misrepresentations and omissions are discussed below in Section D.
     59
          Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
26        107th Cong. 2 (Feb. 12, 2002) (testimony of Paul Goldenheim, Vice President for Research, Purdue Pharma),
          https://www.gpo.gov/fdsys/pkg/CHRG-107shrg77770/html/CHRG-107shrg77770.htm.

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 1           165.      The Manufacturing Defendants’ tactics through their sales representatives—also

 2   known as “detailers”—were particularly aggressive. In 2014, Manufacturing Defendants

 3   collectively spent well over $100 million on detailing branded opioids to doctors.

 4           166.      Each sales representative has a specific sales territory and is responsible for

 5   developing a list of about 105 to 140 physicians to call on who already prescribe opioids or who

 6   are candidates for prescribing opioids.

 7           167.      When Purdue launched OxyContin in 1996, its 300-plus sales force had a total

 8   physician call list of approximately 33,400 to 44,500. By 2000, nearly 700 representatives had a

 9   total call list of approximately 70,500 to 94,000 physicians. Each sales representative was

10   expected to make about thirty-five physician visits per week and typically called on each

11   physician every three to four weeks, while each hospital sales representative was expected to

12   make about fifty physician visits per week and call on each facility every four weeks.60

13           168.      One of Purdue’s early training memos compared doctor visits to “firing at a

14   target,” declaring that “[a]s you prepare to fire your ‘message,’ you need to know where to aim

15   and what you want to hit!”61 According to the memo, the target is physician resistance based on

16   concern about addiction: “The physician wants pain relief for these patients without addicting

17   them to an opioid.”62

18           169.      Former sales representative Steven May, who worked for Purdue from 1999 to

19   2005, explained to a journalist that the most common objection he heard about prescribing

20   OxyContin was that “it’s just too addictive.”63 In order to overcome that objection and hit their

21   “target,” May and other sales representatives were taught to say, “The delivery system is

22

23
     60
        OxyContin Abuse and Diversion and Efforts to Address the Problem, supra note 33, at 20.
24   61
        Meier, supra note 18, at 102.
     62
        Id.
     63
25      David Remnick, How OxyContin Was Sold to the Masses (Steven May interview with Patrick Radden Keefe),
        New Yorker (Oct. 27, 2017), https://www.newyorker.com/podcast/the-new-yorker-radio-hour/how-oxycontin-
26      was-sold-to-the-masses.


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 1   believed to reduce the abuse liability of the drug.”64 May repeated that line to doctors even

 2   though he “found out pretty fast that it wasn’t true.”65 He and his coworkers learned quickly that

 3   people were figuring out how to remove the time-releasing coating, but they continued making

 4   this misrepresentation until Purdue was forced to remove it from the drug’s label.

 5            170.     Purdue trained its sales representatives to misrepresent the addiction risk in other

 6   ways. May explained that he and his coworkers were trained to “refocus” doctors on “legitimate”

 7   pain patients, and to represent that “legitimate” patients would not become addicted. In addition,

 8   they were trained to say that the 12-hour dosing made the extended-release opioids less “habit-

 9   forming” than painkillers that need to be taken every four hours. Similarly, former Purdue sales

10   manager William Gergely told a Florida state investigator in 2002 that sales representatives were

11   instructed to say that OxyContin was “virtually non-addicting” and “non-habit-forming.”66

12            171.     As Shelby Sherman, a Purdue sales representative from 1974 to 1998, told a

13   reporter regarding OxyContin promotion, “It was sell, sell, sell. We were directed to lie. Why

14   mince words about it?”67

15            172.     The Manufacturing Defendants utilized lucrative bonus systems to encourage

16   their sales representatives to stick to the script and increase opioid sales in their territories.

17   Purdue paid $40 million in sales incentive bonuses to its sales representatives in 2001 alone, with

18   annual bonuses ranging from $15,000 to nearly $240,000.68 The training memo described above,

19

20

21   64
         Patrick Radden Keefe, The Family That Built an Empire of Pain, New Yorker (Oct. 30, 2017),
        https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain; see also Meier, supra
22      note 18, at 102 (“Delayed absorption, as provided by OxyContin tablets, is believed to reduce the abuse liability of
        the drug.”).
23   65
         Keefe, supra note 64.
     66
         Fred Schulte and Nancy McVicar, Oxycontin Was Touted As Virtually Nonaddictive, Newly Released State
24      Records Show, Sun Sentinel (Mar. 6, 2003), http://articles.sun-sentinel.com/2003-03-
        06/news/0303051301_1_purdue-pharma-oxycontin-william-gergely.
     67
25       Glazek, supra note 29.
     68
         Art Van Zee, M.D., The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy,
26      99(2) Am J Public Health 221-27 (Feb. 2009), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/.


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 1   in keeping with a Wizard of Oz theme, reminded sales representatives: “A pot of gold awaits you

 2   ‘Over the Rainbow’!”69

 3             173.    As noted above, these Defendants have also spent substantial sums to purchase,

 4   manipulate, and analyze prescription data available from IMS Health, which allows them to track

 5   initial prescribing and refill practices by individual doctors, and in turn to customize their

 6   communications with each doctor. The Manufacturing Defendants’ use of this marketing data

 7   was a cornerstone of their marketing plan,70 and continues to this day.

 8             174.    The Manufacturing Defendants also aggressively pursued family doctors and

 9   primary care physicians perceived to be susceptible to their marketing campaigns. The

10   Manufacturing Defendants knew that these doctors relied on information provided by

11   pharmaceutical companies when prescribing opioids, and that, as general practice doctors seeing

12   a high volume of patients on a daily basis, they would be less likely to scrutinize the companies’

13   claims.

14             175.    Furthermore, the Manufacturing Defendants knew or should have known the

15   doctors they targeted were often poorly equipped to treat or manage pain comprehensively, as

16   they often had limited resources or time to address behavioral or cognitive aspects of pain

17   treatment or to conduct the necessary research themselves to determine whether opioids were as

18   beneficial as these Defendants claimed. In fact, the majority of doctors and dentists who

19   prescribe opioids are not pain specialists. For example, a 2014 study conducted by pharmacy

20   benefit manager Express Scripts reviewing narcotic prescription data from 2011 to 2012

21   concluded that of the more than 500,000 prescribers of opioids during that time period, only 385

22   were identified as pain specialists.71

23             176.    When the Manufacturing Defendants presented these doctors with sophisticated

24   marketing material and apparently scientific articles that touted opioids’ ability to easily and

25
     69
        Meier, supra note 18, at 103.
26   70
        Van Zee, The Promotion and Marketing of OxyContin, supra note 68.
     71
        A Nation in Pain, Express Scripts (Dec. 9, 2014), http://lab.express-scripts.com/lab/publications/a-nation-in-pain.

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 1   safely treat pain, many of these doctors began to view opioids as an efficient and effective way to

 2   treat their patients.

 3              177.    In addition, sales representatives aggressively pushed doctors to prescribe

 4   stronger doses of opioids. For example, one Purdue sales representative in Florida wrote about

 5   working for a particularly driven regional manager named Chris Sposato and described how

 6   Sposato would drill the sales team on their upselling tactics:

 7              It went something like this. “Doctor, what is the highest dose of OxyContin you
                have ever prescribed?” “20mg Q12h.” “Doctor, if the patient tells you their pain
 8              score is still high you can increase the dose 100% to 40mg Q12h, will you do that?”
                “Okay.” “Doctor, what if that patient then came back and said their pain score was
 9              still high, did you know that you could increase the OxyContin dose to 80mg Q12h,
                would you do that?” “I don’t know, maybe.” “Doctor, but you do agree that you
10
                would at least Rx the 40mg dose, right?” “Yes.”
11
                The next week the rep would see that same doctor and go through the same
12              discussion with the goal of selling higher and higher doses of OxyContin. Miami
                District reps have told me that on work sessions with [Sposato] they would sit in
13              the car and role play for as long as it took until [Sposato] was convinced the rep
                was delivering the message with perfection.
14

15              178.    The Manufacturing Defendants used not only incentives but competitive pressure
16   to push sales representatives into increasingly aggressive promotion. One Purdue sales
17   representative recalled the following scene: “I remember sitting at a round table with others from
18   my district in a regional meeting while everyone would stand up and state the highest dose that
19   they had suckered a doctor to prescribe. The entire region!!”
20              179.    Sales representatives also quickly learned that the prescription opioids they were
21   promoting were dangerous. For example, May had only been at Purdue for two months when he
22   found out that a doctor he was calling on had just lost a family member to an OxyContin
23   overdose.72 And as another sales representative wrote on a public forum:
24
                Actions have consequences - so some patient gets Rx’d the 80mg OxyContin when
25              they probably could have done okay on the 20mg (but their doctor got “sold” on
                the 80mg) and their teen son/daughter/child’s teen friend finds the pill bottle and
26
     72
          Remnick, supra note 63.

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 1            takes out a few 80’s... next they’re at a pill party with other teens and some kid
              picks out a green pill from the bowl... they go to sleep and don’t wake up (because
 2            they don’t understand respiratory depression) Stupid decision for a teen to
              make...yes... but do they really deserve to die?
 3

 4            180.     The Manufacturing Defendants’ sales representatives also provided health care

 5   providers with pamphlets, visual aids, and other marketing materials designed to increase the rate

 6   of opioids prescribed to patients. These sales representatives knew the doctors they visited relied

 7   on the information they provided, and that the doctors had minimal time or resources to

 8   investigate the materials’ veracity independently.

 9            181.     Sales representatives were also given bonuses when doctors whom they had

10   detailed wrote prescriptions for their company’s drug. Because of this incentive system, sales

11   representatives stood to gain significant bonuses if they had a pill mill in their sales region. Sales

12   representatives could be sure that doctors and nurses at pill mills would be particularly receptive

13   to their messages and incentives, and receive “credit” for the many prescriptions these pill mills

14   wrote.

15            182.     The Manufacturing Defendants applied this combination of intense competitive

16   pressure and lucrative financial incentives because they knew that sales representatives, with

17   their frequent in-person visits with prescribers, were incredibly effective. In fact, manufacturers’

18   internal documents reveal that they considered sales representatives their “most valuable

19   resource.”

20            2.       The Manufacturing Defendants bankrolled seemingly independent “front
                       groups” to promote opioid use and fight restrictions on opioids.
21

22            183.     The Manufacturing Defendants funded, controlled, and operated third-party

23   organizations that communicated to doctors, patients, and the public the benefits of opioids to

24   treat chronic pain. These organizations—also known as “front groups”—appeared independent

25   and unbiased. But in fact, they were but additional paid mouthpieces for the drug manufacturers.

26   These front groups published prescribing guidelines and other materials that promoted opioid

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 1   treatment as a way to address patients’ chronic pain. The front groups targeted doctors, patients,

 2   and lawmakers, all in coordinated efforts to promote opioid prescriptions.

 3           184.      The Manufacturing Defendants spent significant financial resources contributing

 4   to and working with these various front groups to increase the number of opioid prescriptions

 5   written.

 6           185.      The most prominent front group utilized by the Manufacturing Defendants was

 7   the American Pain Foundation (APF), which received more than $10 million from opioid drug

 8   manufacturers, including Defendants, from 2007 through 2012. For example, Purdue contributed

 9   $1.7 million and Endo also contributed substantial sums to the APF.73

10           186.      Throughout its existence, APF’s operating budget was almost entirely comprised

11   of contributions from prescription opioid manufacturers. For instance, nearly 90% of APF’s $5

12   million annual budget in 2010 came from “donations” from some of the Manufacturing

13   Defendants, and by 2011, APF was entirely dependent on grants from drug manufacturers,

14   including from Purdue and Endo. Not only did Defendants control APF’s purse strings, APF’s

15   board of directors was comprised of doctors who were on Defendants’ payrolls, either as

16   consultants or speakers at medical events.74

17           187.      Although holding itself out as an independent advocacy group promoting patient

18   well-being, APF consistently lobbied against federal and state proposals to limit opioid use.

19           188.      Another prominent front group was the American Academy of Pain Medicine

20   (AAPM), which has received over $2.2 million in funding since 2009 from opioid drug

21   manufacturers, including Defendants. Like APF, AAPM presented itself as an independent and

22   non-biased advocacy group representing physicians practicing in the field of pain medicine, but

23

24
     73
25      Charles Ornstein and Tracy Weber, The Champion of Painkillers, ProPublica (Dec. 23, 2011, 9:15am),
        https://www.propublica.org/article/the-champion-of-painkillers.
     74
26      Id.


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 1   in fact was just another mouthpiece the Manufacturing Defendants used to push opioids on

 2   doctors and patients.75

 3            189.     Both the APF and the AAPM published treatment guidelines and sponsored and

 4   hosted medical education programs that touted the benefits of opioids to treat chronic pain while

 5   minimizing and trivializing their risks. The treatment guidelines the front groups published—

 6   many of which are discussed in detail below—were particularly important to Defendants in

 7   ensuring widespread acceptance for opioid therapy to treat chronic pain. Defendants realized,

 8   just as the CDC has, that such treatment guidelines can “change prescribing practices,” because

 9   they appear to be unbiased sources of evidence-based information, even when they are in reality

10   marketing materials.

11            190.     For instance, the AAPM, in conjunction with the American Pain Society (APS),

12   issued comprehensive guidelines in 2009 titled “Guideline for the Use of Chronic Opioid

13   Therapy in Chronic Noncancer Pain – Evidence Review” (“2009 Guidelines”). The 2009

14   Guidelines promoted opioids as “safe and effective” for treating chronic pain, despite

15   acknowledging limited evidence to support this statement. Unsurprisingly, the Manufacturing

16   Defendants have widely referenced and promoted these guidelines, issued by front groups these

17   Defendants funded and controlled. These 2009 Guidelines are still available online today.76

18            191.     The Alliance for Patient Access (APA), discussed above, was established in

19   2006, along with the firm that runs it, Woodberry Associates LLC. The APA describes itself as

20   “a national network of physicians dedicated to ensuring patient access to approved therapies and

21   appropriate clinical care,” but its list of “Associate Members and Financial Supporters” contains

22   thirty drug companies, including each of the Manufacturing Defendants named in this lawsuit. In

23   addition, the APA’s board members include doctors who have received hundreds of thousands of

24   75
         Tracy Weber and Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industry, ProPublica
        (Dec. 23, 2011, 9:14am), https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-
25      industry.
     76
         Clinical Guideline for the Use of Chronic Opioid Therapy in Chronic Noncancer Pain, Am. Pain Soc’y,
26      http://americanpainsociety.org/uploads/education/guidelines/chronic-opioid-therapy-cncp.pdf (last visited July 16,
        2018).

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 1   dollars in payments from drug companies. As discussed above, the APA has been a vocal critic

 2   of policies restricting the flow of opioids and has supported efforts to curtail the DEA’s ability to

 3   stop suspicious orders of prescription drugs.

 4           192.      The “white paper” issued by the APA in 2013 also echoed a favorite narrative of

 5   the Manufacturing Defendants, the supposed distinction between “legitimate patients” on the one

 6   hand and “addicts” on the other, asserting that one “unintended consequence” of regulating pain

 7   medication would be that “[p]atients with legitimate medical needs feel stigmatized, treated like

 8   addicts.”77

 9           193.      Another group utilized by the Manufacturing Defendants to encourage opioid

10   prescribing practices, a University of Wisconsin-based organization known as the Pain & Policy

11   Studies Group, received $2.5 million from pharmaceutical companies to promote opioid use and

12   discourage the passing of regulations against opioid use in medical practice. The Pain & Policy

13   Studies Group wields considerable influence over the nation’s medical schools as well as within

14   the medical field in general.78 Purdue was the largest contributor to the Pain & Policy Studies

15   Group, paying approximately $1.6 million between 1999 and 2010.79

16           194.      The Federation of State Medical Boards (FSMB) of the United States is a

17   national non-profit organization that represents the seventy-state medical and osteopathic boards

18   of the United States and its territories and co-sponsors the United States Medical Licensing

19   Examination. Beginning in 1997, FSMB developed model policy guidelines around the treatment

20   of pain, including opioid use. The original initiative was funded by the Robert Wood Johnson

21   Foundation, but subsequently AAPM, APS, the University of Wisconsin Pain & Policy Studies

22

23
     77
        Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, supra note 45.
24   78
        The Role of Pharmaceutical Companies in the Opioid Epidemic, Addictions.com,
        https://www.addictions.com/opiate/the-role-of-pharmaceutical-companies-in-the-opioid-epidemic/ (last visited
25      July 16, 2018).
     79
        John Fauber, UW group ends drug firm funds, Journal Sentinel (Apr. 20, 2011),
26      http://archive.jsonline.com/watchdog/watchdogreports/120331689.html.


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 1   Group, and the American Society of Law, Medicine, & Ethics all made financial contributions to

 2   the project.

 3               195.    FSMB’s 2004 Model Policy encourages state medical boards “to evaluate their

 4   state pain policies, rules, and regulations to identify any regulatory restrictions or barriers that

 5   may impede the effective use of opioids to relieve pain.”80 (Emphasis added).

 6               196.    One of the most significant barriers to convincing doctors that opioids were safe

 7   to prescribe to their patients for long-term treatment of chronic pain was the fact that many of

 8   those patients would, in fact, become addicted to opioids. If patients began showing up at their

 9   doctors’ offices with obvious signs of addiction, the doctors would, of course, become concerned

10   and likely stop prescribing opioids. And, doctors might stop believing the Manufacturing

11   Defendants’ claims that addiction risk was low.

12               197.    To overcome this hurdle, the Manufacturing Defendants promoted a concept

13   called “pseudoaddiction.” These Defendants told doctors that when their patients appeared to be

14   addicted to opioids—for example, asking for more and higher doses of opioids, increasing doses

15   themselves, or claiming to have lost prescriptions in order to get more opioids—this was not

16   actual addiction. Rather, the Manufacturing Defendants told doctors what appeared to be classic

17   signs of addiction were actually just signs of undertreated pain. The solution to this

18   “pseudoaddiction”: more opioids. Instead of warning doctors of the risk of addiction and helping

19   patients to wean themselves off powerful opioids and deal with their actual addiction, the

20   Manufacturing Defendants pushed even more dangerous drugs onto patients.

21               198.    The FSMB’s Model Policy gave a scientific veneer to this fictional and overstated

22   concept. The policy defines “pseudoaddiction” as “[t]he iatrogenic syndrome resulting from the

23   misinterpretation of relief seeking behaviors as though they are drug-seeking behaviors that are

24

25
     80
          Model Policy for the Use of Controlled Substances for the Treatment of Pain, Fed’n of St. Med. Boards of the
26        U.S., Inc. (May 2004), http://www.painpolicy.wisc.edu/sites/www.painpolicy.wisc.edu/files/model04.pdf.


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 1   commonly seen with addiction” and states that these behaviors “resolve upon institution of

 2   effective analgesic therapy.”81

 3           199.      In May 2012, Senate Finance Committee Chairman Max Baucus and senior

 4   Committee member Chuck Grassley initiated an investigation into the connections of the

 5   Manufacturing Defendants with medical groups and physicians who have advocated increased

 6   opioid use.82 In addition to Purdue, Endo, and Janssen, the senators sent letters to APF, APS,

 7   AAPM, FSMB, the University of Wisconsin Pain & Policy Studies Group, the Joint Commission

 8   on Accreditation of Healthcare Organization, and the Center for Practical Bioethics, requesting

 9   from each “a detailed account of all payments/transfers received from corporations and any

10   related corporate entities and individuals that develop, manufacture, produce, market, or promote

11   the use of opioid-based drugs from 1997 to the present.”83

12           200.      On the same day as the senators’ investigation began, APF announced that it

13   would “cease to exist, effective immediately.”84

14           3.        “It was pseudoscience”: the Manufacturing Defendants paid prominent
15                     physicians to promote their products.

16           201.      The Manufacturing Defendants retained highly credentialed medical professionals

17   to promote the purported benefits and minimal risks of opioids. Known as “Key Opinion

18   Leaders” or “KOLs,” these medical professionals were often integrally involved with the front

19   groups described above. The Manufacturing Defendants paid these KOLs substantial amounts to

20

21
     81
         Id.
22   82
         Baucus, Grassley Seek Answers about Opioid Manufacturers’ Ties to Medical Groups, U.S. Senate Comm. on
        Fin. (May 8, 2012), https://www.finance.senate.gov/chairmans-news/baucus-grassley-seek-answers-about-opioid-
23      manufacturers-ties-to-medical-groups.
     83
         Letter from U.S. Senate Comm. on Fin. to Am. Pain Found. (May 8, 2012),
24      https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%20Opioid%20Investigation%
        20Letter%20to%20American%20Pain%20Foundation2.pdf.
     84
25       Charles Ornstein and Tracy Weber, American Pain Foundation Shuts Down as Senators Launch Investigation of
        Prescription Narcotics, ProPublica (May 8, 2012, 8:57pm), https://www.propublica.org/article/senate-panel-
26      investigates-drug-company-ties-to-pain-groups.


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 1   present at Continuing Medical Education (“CME”) seminars and conferences, and to serve on

 2   their advisory boards and on the boards of the various front groups.

 3           202.      The Manufacturing Defendants also identified doctors to serve as speakers or

 4   attend all-expense-paid trips to programs with speakers.85 The Manufacturing Defendants used

 5   these trips and programs—many of them lavish affairs—to incentivize the use of opioids while

 6   downplaying their risks, bombarding doctors with messages about the safety and efficacy of

 7   opioids for treating long-term pain. Although often couched in scientific certainty, the

 8   Manufacturing Defendants’ messages were false and misleading, and helped to ensure that

 9   millions of Americans would be exposed to the profound risks of these drugs.

10           203.      It is well documented that this type of pharmaceutical company symposium

11   influences physicians’ prescribing, even though physicians who attend such symposia believe

12   that such enticements do not alter their prescribing patterns.86 For example, doctors who were

13   invited to these all-expenses-paid weekends in resort locations like Boca Raton, Florida, and

14   Scottsdale, Arizona, wrote twice as many prescriptions as those who did not attend.87

15           204.      The KOLs gave the impression they were independent sources of unbiased

16   information, while touting the benefits of opioids through their presentations, articles, and books.

17   KOLs also served on committees and helped develop guidelines such as the 2009 Guidelines

18   described above that strongly encouraged the use of opioids to treat chronic pain.

19           205.      One of the most prominent KOLs for the Manufacturing Defendants’ opioids was

20   Dr. Russell Portenoy. A respected leader in the field of pain treatment, Dr. Portenoy was highly

21   influential. Dr. Andrew Kolodny, cofounder of Physicians for Responsible Opioid Prescribing,

22   described him “lecturing around the country as a religious-like figure. The megaphone for

23   Portenoy is Purdue, which flies in people to resorts to hear him speak. It was a compelling

24
     85
        Van Zee, The Promotion and Marketing of OxyContin, supra note 68.
     86
25      Id.
     87
        Harriet Ryan, Lisa Girion and Scott Glover, OxyContin goes global — “We’re only just getting started”, Los
26      Angeles Times (Dec. 18, 2016), http://www.latimes.com/projects/la-me-oxycontin-part3/.


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 1   message: ‘Docs have been letting patients suffer; nobody really gets addicted; it’s been

 2   studied.’”88

 3           206.      As one organizer of CME seminars, who worked with Portenoy and Purdue,

 4   pointed out, “had Portenoy not had Purdue’s money behind him, he would have published some

 5   papers, made some speeches, and his influence would have been minor. With Purdue’s millions

 6   behind him, his message, which dovetailed with their marketing plans, was hugely magnified.”89

 7           207.      In recent years, some of the Manufacturing Defendants’ KOLs have conceded that

 8   many of their past claims in support of opioid use lacked evidence or support in the scientific

 9   literature.90 Dr. Portenoy himself specifically admitted that he overstated the drugs’ benefits and

10   glossed over their risks, and that he “gave innumerable lectures in the late 1980s and ‘90s about

11   addiction that weren’t true.”91 He mused, “Did I teach about pain management, specifically about

12   opioid therapy, in a way that reflects misinformation? Well, against the standards of 2012, I

13   guess I did . . . We didn’t know then what we know now.”92

14           208.      Dr. Portenoy did not need “the standards of 2012” to discern evidence-based

15   science from baseless claims, however. When interviewed by journalist Barry Meier for his 2003

16   book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess I’m going to

17   have always to live with that one.”93

18           209.      Dr. Portenoy was perhaps the most prominent KOL for prescription opioids, but

19   he was far from the only one. In fact, Dr. Portenoy and a doctor named Perry Fine co-wrote A

20   Clinical Guide to Opioid Analgesia, which contained statements that conflict with the CDC’s

21

22
     88
        Quinones, supra note 46, at 314.
23   89
        Id. at 136.
     90
        See, e.g., John Fauber, Painkiller boom fueled by networking, Journal Sentinel (Feb. 18, 2012),
24      http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
        139609053.html/ (finding that a key Endo KOL acknowledged that opioid marketing went too far).
25   91
        Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall Street Journal (Dec. 17,
        2012, 11:36am), https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
26   92
        Id.
     93
        Meier, supra note 18, at 277.

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 1   2016 Guideline for Prescribing Opioids for Chronic Pain, such as the following examples

 2   regarding respiratory depression and addiction:

 3           At clinically appropriate doses, . . . respiratory rate typically does not decline.
             Tolerance to the respiratory effects usually develops quickly, and doses can be
 4           steadily increased without risk.
 5           Overall, the literature provides evidence that the outcomes of drug abuse and
             addiction are rare among patients who receive opioids for a short period (ie, for
 6           acute pain) and among those with no history of abuse who receive long-term
             therapy for medical indications.94
 7

 8           210.      Dr. Fine is a Professor of Anesthesiology at the University of Utah School of

 9   Medicine’s Pain Research Center. He has served on Purdue’s advisory board, provided medical

10   legal consulting for Janssen, and participated in CME activities for Endo, along with serving in

11   these capacities for several other drug companies. He co-chaired the APS-AAPM Opioid

12   Guideline Panel, served as treasurer of the AAPM from 2007 to 2010 and as president of that

13   group from 2011 to 2013, and was also on the board of directors of APF.95

14           211.      In 2011, he and Dr. Scott Fishman, discussed below, published a letter in JAMA

15   called “Reducing Opioid Abuse and Diversion,” which emphasized the importance of

16   maintaining patient access to opioids.96 The editors of JAMA found that both doctors had

17   provided incomplete financial disclosures and made them submit corrections listing all of their

18   ties to the prescription painkiller industry.97

19           212.      Dr. Fine also failed to provide full disclosures as required by his employer, the

20   University of Utah. For example, Dr. Fine told the university that he had received under $5,000

21

22   94
        Perry G. Fine, MD and Russell K. Portenoy, MD, A Clinical Guide to Opioid Analgesia 20 and 34, McGraw-Hill
        Companies (2004), http://www.thblack.com/links/RSD/OpioidHandbook.pdf.
23   95
        Scott M. Fishman, MD, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion,
        306 (13) JAMA 1445 (Sept. 20, 2011), https://jamanetwork.com/journals/jama/article-
24      abstract/1104464?redirect=true.
     96
        Perry G. Fine, MD and Scott M. Fishman, MD, Reducing Opioid Abuse and Diversion, 306 (4) JAMA 381 (July
25      27, 2011), https://jamanetwork.com/journals/jama/article-abstract/1104144?redirect=true.
     97
        Incomplete Financial Disclosures in: Reducing Opioid Abuse and Diversion, 306 (13) JAMA 1446 (Oct. 5, 2011),
26      https://jamanetwork.com/journals/jama/fullarticle/1104453.


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 1   in 2010 from Johnson & Johnson for providing “educational” services, but Johnson & Johnson’s

 2   website states that the company paid him $32,017 for consulting, promotional talks, meals and

 3   travel that year.98

 4           213.      In 2012, along with other KOLs, Dr. Fine was investigated for his ties to drug

 5   companies as part of the Senate investigation of front groups described above. When Marianne

 6   Skolek, a reporter for the online news outlet Salem-News.com and a critic of opioid overuse,

 7   wrote an article about him and another KOL being investigated, Dr. Fine fired back, sending a

 8   letter to her editor accusing her of poor journalism and saying that she had lost whatever

 9   credibility she may have had. He criticized her for linking him to Purdue, writing, “I have never

10   had anything to do with Oxycontin development, sales, marketing or promotion; I have never

11   been a Purdue Pharma speaker”—neglecting to mention, of course, that he served on Purdue’s

12   advisory board, as the JAMA editors had previously forced him to disclose. 99

13           214.      Another Utah physician, Dr. Lynn Webster, was the director of Lifetree Clinical

14   Research & Pain Clinic in Salt Lake City from 1990 to 2010, and in 2013 was the president of

15   AAPM (one of the front groups discussed above). Dr. Webster developed a five-question survey

16   he called the Opioid Risk Tool, which he asserted would “predict accurately which individuals

17   may develop aberrant behaviors when prescribed opioids for chronic pain.”100 He published

18   books titled The Painful Truth: What Chronic Pain Is Really Like and Why It Matters to Each of

19   Us and Avoiding Opioid Abuse While Managing Pain.

20           215.      Dr. Webster and the Lifetree Clinic were investigated by the DEA for

21   overprescribing opioids after twenty patients died from overdoses. In keeping with the opioid

22   industry’s promotional messages, Dr. Webster apparently believed the solution to patients’

23

24   98
        Weber and Ornstein, Two Leaders in Pain Treatment, supra note 75.
     99
        Marianne Skolek, Doctor Under Senate Investigation Lashes Out at Journalist, Salem News (Aug. 12, 2012,
25     8:45pm), http://www.salem-news.com/articles/august122012/perry-fine-folo-ms.php.
     100
         Lynn Webster and RM Webster, Predicting aberrant behaviors in opioid-treated patients: preliminary validation
26     of the Opioid Risk Tool 6 (6) Pain Med. 432 (Nov.-Dec. 2005), https://www.ncbi.nlm.nih.gov/pubmed/16336480.


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 1   tolerance or addictive behaviors was more opioids: he prescribed staggering quantities of pills.

 2   Tina Webb, a Lifetree patient who overdosed in 2007, was taking as many as thirty-two pain

 3   pills a day in the year before she died, all while under doctor supervision.101 Carol Ann Bosley,

 4   who sought treatment for pain at Lifetree after a serious car accident and multiple spine

 5   surgeries, quickly became addicted to opioids and was prescribed increasing quantities of pills; at

 6   the time of her death, she was on seven different medications totaling approximately 600 pills a

 7   month.102 Another woman, who sought treatment from Lifetree for chronic low back pain and

 8   headaches, died at age forty-two after Lifetree clinicians increased her prescriptions to fourteen

 9   different drugs, including multiple opioids, for a total of 1,158 pills a month.103

10           216.      By these numbers, Lifetree resembles the pill mills and “bad actors” that the

11   Manufacturing Defendants blame for opioid overuse. But Dr. Webster was an integral part of

12   Defendants’ marketing campaigns, a respected pain specialist who authored numerous CMEs

13   sponsored by Endo and Purdue. And the Manufacturing Defendants promoted his Opioid Risk

14   Tool and similar screening questionnaires as measures that allow powerful opioids to be

15   prescribed for chronic pain.

16           217.      Even in the face of patients’ deaths, Dr. Webster continues to promote a pro-

17   opioid agenda, even asserting that alternatives to opioids are risky because “[i]t’s not hard to

18   overdose on NSAIDs or acetaminophen.”104 He argued on his website in 2015 that DEA

19   restrictions on the accessibility of hydrocodone harm patients, and in 2017 tweeted in response to

20

21

22   101
         Jesse Hyde and Daphne Chen, The untold story of how Utah doctors and Big Pharma helped drive the national
       opioid epidemic, Deseret News (Oct. 26, 2017, 12:01am), https://www.deseretnews.com/article/900002328/the-
23     untold-story-of-how-utah-doctors-and-big-pharma-helped-drive-the-national-opioid-epidemic.html.
     102
         Stephanie Smith, Prominent pain doctor investigated by DEA after patient deaths, CNN (Dec. 20, 2013,
24     7:06am), http://www.cnn.com/2013/12/20/health/pain-pillar/index.html.
     103
         Id.
     104
25       APF releases opioid medication safety module, Drug Topics (May 10, 2011),
       http://drugtopics.modernmedicine.com/drug-topics/news/modernmedicine/modern-medicine-news/apf-releases-
26     opioid-medication-safety-module.


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 1   CVS Caremark’s announcement that it will limit opioid prescriptions that “CVS Caremark’s new

 2   opioid policy is wrong, and it won’t stop illegal drugs.”105

 3           218.      Another prominent KOL is Dr. Scott M. Fishman, the Chief of the Department of

 4   Pain Medicine at University of California, Davis. He has served as president of APF and AAPM,

 5   and as a consultant and a speaker for Purdue, in addition to providing the company grant and

 6   research support. He also has had financial relationships with Endo and Janssen. He wrote a

 7   book for the FSMB called Responsible Opioid Use: A Physician’s Guide, which was distributed

 8   to over 165,000 physicians in the U.S.

 9           219.      Dr. Fishman and Dr. Fine, along with Dr. Seddon Savage, published an editorial

10   in the Seattle Times in 2010, arguing that Washington legislation proposed to combat

11   prescription opioid abuse would harm patients, in particular by requiring chronic pain patients to

12   consult with a pain specialist before receiving a prescription for a moderate to high dose of an

13   opioid.106

14           220.      These KOLs and others—respected specialists in pain medicine—proved to be

15   highly effective spokespeople for the Manufacturing Defendants.

16           4.        The Manufacturing Defendants used “unbranded” advertising as a platform
17                     for their misrepresentations about opioids.

18           221.      The Manufacturing Defendants also aggressively promoted opioids through

19   “unbranded advertising” to generally tout the benefits of opioids without specifically naming a

20   particular brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease

21   awareness”—encouraging consumers to “talk to your doctor” about a certain health condition

22   without promoting a specific product. A trick often used by pharmaceutical companies,

23   unbranded advertising gives the pharmaceutical companies considerable leeway to make

24
     105
         Lynn Webster, MD (@LynnRWebsterMD), Twitter (Dec. 7, 2017, 5:45pm),
25     https://twitter.com/LynnRWebsterMD/status/938887130545360898.
     106
         Perry G. Fine, Scott M. Fishman, and Seddon R. Savage, Bill to combat prescription abuse really will harm
26     patients in pain, Seattle Times (Mar. 16, 2010, 4:39pm),
       http://old.seattletimes.com/html/opinion/2011361572_guest17fine.html.

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 1   sweeping claims about health conditions or classes of drugs. In contrast, a “branded”

 2   advertisement that identifies a specific medication and its indication (i.e., the condition which the

 3   drug is approved to treat) must also include possible side effects and contraindications—what the

 4   FDA Guidance on pharmaceutical advertising refers to as “fair balance.” Branded advertising is

 5   also subject to FDA review for consistency with the drug’s FDA-approved label.

 6            222.     Unbranded advertising allows pharmaceutical manufacturers to sidestep those

 7   requirements; “fair balance” and consistency with a drug’s label are not required.

 8            223.     By engaging in unbranded advertising, the Manufacturing Defendants were and

 9   are able to avoid FDA review and issue general statements to the public including that opioids

10   improve function, that addiction usually does not occur, and that withdrawal can easily be

11   managed. The Manufacturing Defendants’ unbranded advertisements either did not disclose the

12   risks of addiction, abuse, misuse, and overdose, or affirmatively denied or minimized those risks.

13            224.     Through the various marketing channels described above—all of which the

14   Manufacturing Defendants controlled, funded, and facilitated, and for which they are legally

15   responsible—these Defendants made false or misleading statements about opioids despite the

16   lack of scientific evidence to support their claims, while omitting the true risk of addiction and

17   death.

18   D.       Specific Misrepresentations Made by the Manufacturing Defendants.

19            225.     All the Manufacturing Defendants have made and/or continue to make false or

20   misleading claims in the following areas: (1) the low risk of addiction to opioids, (2) opioids’

21   efficacy for chronic pain and ability to improve patients’ quality of life with long-term use, (3)

22   the lack of risk associated with higher dosages of opioids, (4) the need to prescribe more opioids

23   to treat withdrawal symptoms, and (5) that risk-mitigation strategies and abuse-deterrent

24   technologies allow doctors to safely prescribe opioids for chronic use. These illustrative but non-

25   exhaustive categories of the Manufacturing Defendants’ misrepresentations about opioids are

26   described in detail below.

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 1              1.      The Manufacturing Defendants falsely claimed that the risk of opioid abuse
                        and addiction was low.
 2

 3              226.    Collectively, the Manufacturing Defendants have made a series of false and

 4   misleading statements about the low risk of addiction to opioids over the past twenty years. The

 5   Manufacturing Defendants have also failed to take sufficient remedial measures to correct their

 6   false and misleading statements.

 7              227.    The Manufacturing Defendants knew that many physicians were hesitant to

 8   prescribe opioids other than for acute or cancer-related pain because of concerns about addiction.

 9   Because of this general perception, sales messaging about the low risk of addiction was a

10   fundamental prerequisite misrepresentation.

11              228.    Purdue launched OxyContin in 1996 with the statement that OxyContin’s

12   patented continuous-release mechanism “is believed to reduce the abuse liability.” This

13   statement, which appeared in OxyContin’s label and which sales representatives were taught to

14   repeat verbatim, was unsupported by any studies, and was patently false. The continuous-release

15   mechanism was simple to override, and the drug correspondingly easy to abuse. This fact was

16   known, or should have been known, to Purdue prior to its launch of OxyContin, because people

17   had been circumventing the same continuous-release mechanism for years with MS Contin,

18   which in fact commanded a high street price because of the dose of pure narcotic it delivered. In

19   addition, with respect to OxyContin, Purdue researchers notified company executives, including

20   Raymond and Richard Sackler, by email that patients in their clinical trials were abusing the drug

21   despite the timed-release mechanism.107

22              229.    In 2007, as noted above, Purdue pleaded guilty to misbranding a drug, a felony

23   under the Food, Drug, and Cosmetic Act. 21 U.S.C. § 331(a)(2). As part of its guilty plea,

24   Purdue agreed that certain Purdue supervisors and employees had, “with the intent to defraud or

25   mislead, marketed and promoted OxyContin as less addictive, less subject to abuse and

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     107
           WBUR On Point interview, supra note 24.

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 1   diversion, and less likely to cause tolerance and withdrawal than other pain medications” in the

 2   following ways:

 3            Trained PURDUE sales representatives and told some health care providers that it
              was more difficult to extract the oxycodone from an OxyContin tablet for the
 4            purpose of intravenous abuse, although PURDUE’s own study showed that a drug
              abuser could extract approximately 68% of the oxycodone from a single 10mg
 5            OxyContin tablet by crushing the tablet, stirring it in water, and drawing the
              solution through cotton into a syringe;
 6

 7            Told PURDUE sales representatives they could tell health care providers that
              OxyContin potentially creates less chance for addiction than immediate-release
 8            opioids;

 9            Sponsored training that taught PURDUE sales supervisors that OxyContin had
              fewer “peak and trough” blood level effects than immediate-release opioids
10            resulting in less euphoria and less potential for abuse than short-acting opioids;

11            Told certain health care providers that patients could stop therapy abruptly without
              experiencing withdrawal symptoms and that patients who took OxyContin would
12            not develop tolerance to the drug; and
13            Told certain health care providers that OxyContin did not cause a “buzz” or
14            euphoria, caused less euphoria, had less addiction potential, had less abuse
              potential, was less likely to be diverted than immediate-release opioids, and could
15            be used to “weed out” addicts and drug seekers.108

16            230.     All of these statements were false and misleading. But Purdue had not stopped

17   there. Purdue—and later the other Defendants—manipulated scientific research and utilized

18   respected physicians as paid spokespeople to convey its misrepresentations about low addiction

19   risk in much more subtle and pervasive ways, so that the idea that opioids used for chronic pain

20   posed a low addiction risk became so widely accepted in the medical community that Defendants

21   were able to continue selling prescription opioids for chronic pain—even after Purdue’s criminal

22   prosecution.

23            231.     When it launched OxyContin, Purdue knew it would need data to overcome

24   decades of wariness regarding opioid use. It needed some sort of research to back up its

25   messaging. But Purdue had not conducted any studies about abuse potential or addiction risk as

26   108
        United States v. Purdue Frederick Co., supra note 28; see also, Plea Agreement, United States v. Purdue
       Frederick Co., No. 1:07-cr-00029 (W.D. Va. May 10, 2007).

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 1   part of its application for FDA approval for OxyContin. Purdue (and, later, the other Defendants)

 2   found this “research” in the form of a one-paragraph letter to the editor published in the New

 3   England Journal of Medicine (NEJM) in 1980.

 4           232.      This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of

 5   addiction “rare” for patients treated with opioids.109 They had analyzed a database of hospitalized

 6   patients who were given opioids in a controlled setting to ease suffering from acute pain. These

 7   patients were not given long-term opioid prescriptions or provided opioids to administer to

 8   themselves at home, nor was it known how frequently or infrequently and in what doses the

 9   patients were given their narcotics. Rather, it appears the patients were treated with opioids for

10   short periods of time under in-hospital doctor supervision.

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23           233.      As Dr. Jick explained to a journalist years later, he submitted the statistics to

24   NEJM as a letter because the data were not robust enough to be published as a study, and that

25
     109
        Jane Porter and Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2) N Engl J Med. 123
26     (Jan. 10, 1980), http://www.nejm.org/doi/pdf/10.1056/NEJM198001103020221.


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 1   one could not conclude anything about long-term use of opioids from his figures.110 Dr. Jick also

 2   recalled that no one from drug companies or patient advocacy groups contacted him for more

 3   information about the data.111

 4           234.      Nonetheless, the Manufacturing Defendants regularly invoked this letter as proof

 5   of the low addiction risk in connection with taking opioids despite its obvious shortcomings.

 6   These Defendants’ egregious misrepresentations based on this letter included claims that less

 7   than one percent of opioid users become addicted.

 8           235.      The limited facts of the study did not deter the Manufacturing Defendants from

 9   using it as definitive proof of opioids’ safety. The enormous impact of the Manufacturing

10   Defendants’ misleading amplification of this letter was well documented in another letter

11   published in NEJM on June 1, 2017, describing the way the one-paragraph 1980 letter had been

12   irresponsibly cited and in some cases “grossly misrepresented.” In particular, the authors of this

13   letter explained:

14           [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
             and uncritically cited as evidence that addiction was rare with long-term opioid
15           therapy. We believe that this citation pattern contributed to the North American
             opioid crisis by helping to shape a narrative that allayed prescribers’ concerns
16           about the risk of addiction associated with long-term opioid therapy . . .112
17           236.      Unfortunately, by the time of this analysis and the CDC’s findings in 2016, the
18   damage had already been done. “It’s difficult to overstate the role of this letter,” said Dr. David
19   Juurlink of the University of Toronto, who led the analysis. “It was the key bit of literature that
20   helped the opiate manufacturers convince front-line doctors that addiction is not a concern.”113
21

22

23
     110
         Meier, supra note 18, at 174.
24   111
         Id.
     112
         Pamela T.M. Leung, B.Sc. Pharm., Erin M. Macdonald, M.Sc., Matthew B. Stanbrook, M.D., Ph.D., Irfan Al
25     Dhalla, M.D., David N. Juurlink, M.D., Ph.D., A 1980 Letter on the Risk of Opioid Addiction, 376 N Engl J Med
       2194-95 (June 1, 2017), http://www.nejm.org/doi/full/10.1056/NEJMc1700150#t=article.
26   113
        Painful words: How a 1980 letter fueled the opioid epidemic, STAT News (May 31, 2017),
       https://www.statnews.com/2017/05/31/opioid-epidemic-nejm-letter/.

     COMPLAINT                                                                   KELLER ROHRBACK L.L.P.
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 1           237.      The Manufacturing Defendants successfully manipulated the 1980 Porter and Jick

 2   letter as the “evidence” supporting their fundamental misrepresentation that the risk of opioid

 3   addiction was low when opioids were prescribed to treat pain. For example, in its 1996 press

 4   release announcing the release of OxyContin, Purdue advertised that the “fear of addiction is

 5   exaggerated” and quoted the chairman of the American Pain Society Quality of Care Committee,

 6   who claimed that “there is very little risk of addiction from the proper uses of these [opioid]

 7   drugs for pain relief.”114

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19           238.      Dr. Portenoy, the Purdue KOL mentioned previously, also stated in a promotional

20   video from the 1990s that “the likelihood that the treatment of pain using an opioid drug which is

21   prescribed by a doctor will lead to addiction is extremely low.”115

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25   114
         Press Release, OxyContin, New Hope for Millions of Americans Suffering from Persistent Pain: Long-Acting
       OxyContin Tablets Now Available to Relieve Pain (May 31, 1996, 3:47pm),
26     http://documents.latimes.com/oxycontin-press-release-1996/.
     115
         Catan and Perez, supra note 91.

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10           239.      Purdue also specifically used the Porter and Jick letter in its 1998 promotional

11   video, “I got my life back,” in which Dr. Alan Spanos says, “In fact, the rate of addiction

12   amongst pain patients who are treated by doctors is much less than 1%.”116

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21           240.      The Porter and Jick letter was also used on Purdue’s “Partners Against Pain”
22   website, which was available in the early 2000s, where Purdue claimed that the addiction risk
23   with OxyContin was very low.117
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     116
25       Our Amazing World, Purdue Pharma OxyContin Commercial, https://www.youtube.com/watch?v=Er78Dj5hyeI
       (last visited July 16, 2018) (emphasis added).
     117
26       Van Zee, The Promotion and Marketing of OxyContin, supra note 68.


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 1           241.      The Porter and Jick letter was used frequently in literature given to prescribing

 2   physicians and to patients who were prescribed OxyContin.118

 3           242.      In addition to the Porter and Jick letter, the Manufacturing Defendants

 4   exaggerated the significance of a study published in 1986 regarding cancer patients treated with

 5   opioids. Conducted by Dr. Portenoy and another pain specialist, Dr. Kathleen Foley, the study

 6   involved only 38 patients, who were treated for non-malignant cancer pain with low doses of

 7   opioids (the majority were given less than 20 MME/day, the equivalent of only 13 mg of

 8   oxycodone). 119 Of these thirty-eight patients, only two developed problems with opioid abuse,

 9   and Dr. Portenoy and Dr. Foley concluded that “opioid maintenance therapy can be a safe,

10   salutary and more humane alternative to the options of surgery or no treatment in those patients

11   with intractable non-malignant pain and no history of drug abuse.”120 Notwithstanding the small

12   sample size, low doses of opioids involved, and the fact that all the patients were cancer patients,

13   the Manufacturing Defendants used this study as “evidence” that high doses of opioids were safe

14   for the treatment of chronic non-cancer pain.

15           243.      The Manufacturing Defendants’ repeated misrepresentations about the low risk of

16   opioid addiction were so effective that this concept became part of the conventional wisdom.

17   Dr. Nathaniel Katz, a pain specialist, recalls learning in medical school that previous fears about

18   addiction were misguided, and that doctors should feel free to allow their patients the pain relief

19   that opioids can provide. He did not question this until one of his patients died from an overdose.

20   Then, he searched the medical literature for evidence of the safety and efficacy of opioid

21   treatment for chronic pain. “There’s not a shred of research on the issue. All these so-called

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     118
         Art Van Zee, M.D., The OxyContin Abuse Problem: Spotlight on Purdue Pharma’s Marketing (Aug. 22, 2001),
24     https://web.archive.org/web/20170212210143/https://www.fda.gov/ohrms/dockets/dockets/01n0256/c000297-
       A.pdf.
     119
25       Russell K. Portenoy and Kathleen M. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report
       of 38 Cases, 25 Pain 171-86 (1986), https://www.ncbi.nlm.nih.gov/pubmed/2873550.
     120
26       Id.


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 1   experts in pain are dedicated and have been training me that opioids aren’t as addictive as we

 2   thought. But what is that based on? It was based on nothing.”121

 3           244.      At a hearing before the House of Representatives’ Subcommittee on Oversight

 4   and Investigations of the Committee on Energy and Commerce in August 2001, Purdue

 5   continued to emphasize “legitimate” treatment, dismissing cases of overdose and death as

 6   something that would not befall “legitimate” patients: “Virtually all of these reports involve

 7   people who are abusing the medication, not patients with legitimate medical needs under the

 8   treatment of a healthcare professional.”122

 9           245.      Purdue spun this baseless “legitimate use” distinction out even further in a patient

10   brochure about OxyContin, called “A Guide to Your New Pain Medicine and How to Become a

11   Partner Against Pain.” In response to the question, “Aren’t opioid pain medications like

12   OxyContin Tablets ‘addicting’? Even my family is concerned about this,” Purdue claimed that

13   there was no need to worry about addiction if taking opioids for legitimate, “medical” purposes:

14           Drug addiction means using a drug to get “high” rather than to relieve pain. You
             are taking opioid pain medication for medical purposes. The medical purposes are
15           clear and the effects are beneficial, not harmful.
16           246.      Similarly, Dr. David Haddox, Senior Medical Director for Purdue, cavalierly

17   stated, “[w]hen this medicine is used appropriately to treat pain under a doctor’s care, it is not

18   only effective, it is safe.”123 He went so far as to compare OxyContin to celery, because even

19   celery would be harmful if injected: “If I gave you a stalk of celery and you ate that, it would be

20   healthy for you. But if you put it in a blender and tried to shoot it into your veins, it would not be

21   good.”124

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23   121
         Quinones, supra note 46, at 188-89.
     122
         Oxycontin: Its Use and Abuse: Hearing Before the H. Subcomm. on Oversight and Investigations of the Comm.
24     on Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001) (statement of Michael Friedman, Executive Vice
       President, Chief Operating Officer, Purdue Pharma, L.P.), https://www.gpo.gov/fdsys/pkg/CHRG-
25     107hhrg75754/html/CHRG-107hhrg75754.htm.
     123
         Roger Alford, Deadly OxyContin abuse expected to spread in the U.S., Charleston Gazette, Feb. 9, 2001.
     124
26       Id.


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 1           247.      Purdue sales representatives also repeated these misstatements regarding the low

 2   risk for addiction to doctors across the country.125 Its sales representatives targeted primary care

 3   physicians in particular, downplaying the risk of addiction and, as one doctor observed,

 4   “promot[ing] among primary care physicians a more liberal use of opioids.”126

 5           248.      Purdue sales representatives were instructed to “distinguish between iatrogenic

 6   addiction (<1% of patients) and substance abusers/diversion (about 10% of the population abuse

 7   something: weed; cocaine; heroin; alcohol; valium; etc.).”127

 8           249.      Purdue also marketed OxyContin for a wide variety of conditions and to doctors

 9   who were not adequately trained in pain management.128

10           250.      As of 2003, Purdue’s Patient Information guide for OxyContin contained the

11   following language regarding addiction:

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15           251.      Although Purdue has acknowledged it has made some misrepresentations about

16   the safety of its opioids,129 it has done nothing to address the ongoing harms of their

17   misrepresentations; in fact, it continues to make those misrepresentations today.

18           252.      Defendant Endo also made dubious claims about the low risk of addiction. For

19   instance, it sponsored a website, PainKnowledge.com, on which in 2009 it claimed that “[p]eople

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21   125
         Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, New York Times (May 10, 2007),
       http://www.nytimes.com/2007/05/10/business/11drug-web.html.
22   126
         Van Zee, The Promotion and Marketing of OxyContin, supra note 68.
     127
         Meier, supra note 18, at 269.
23   128
         OxyContin Abuse and Diversion and Efforts to Address the Problem, supra note 33.
     129
         Following the conviction in 2007 of three of its executives for misbranding OxyContin, Purdue released a
24     statement in which they acknowledged their false statements. “Nearly six years and longer ago, some employees
       made, or told other employees to make, certain statements about OxyContin to some health care professionals that
25     were inconsistent with the F.D.A.-approved prescribing information for OxyContin and the express warnings it
       contained about risks associated with the medicine. The statements also violated written company policies
26     requiring adherence to the prescribing information.”


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 1   who take opioids as prescribed usually do not become addicted.”130 The website has since been

 2   taken down.

 3           253.      In another website, PainAction.com—which is still currently available today—

 4   Endo also claimed that “most chronic pain patients do not become addicted to the opioid

 5   medications that are prescribed for them.”131

 6           254.      In a pamphlet titled “Understanding Your Pain: Taking Oral Opioid Analgesics,”

 7   Endo assured patients that addiction is something that happens to people who take opioids for

 8   reasons other than pain relief, “such as unbearable emotional problems”132:

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24   130
         German Lopez, The growing number of lawsuits against opioid companies, explained, Vox (Feb. 27, 2018,
       2:25pm), https://www.vox.com/policy-and-politics/2017/6/7/15724054/opioid-companies-epidemic-lawsuits.
25   131
         Opioid medication and addiction, Pain Action (Aug. 17, 2017), https://www.painaction.com/opioid-medication-
       addiction/.
26   132
         Understanding Your Pain: Taking Oral Opioid Analgesics, Endo Pharms. (2004),
       http://www.thblack.com/links/RSD/Understand_Pain_Opioid_Analgesics.pdf.

     COMPLAINT                                                                   KELLER ROHRBACK L.L.P.
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 1           255.      In addition, Endo made statements in pamphlets and publications that most health

 2   care providers who treat people with pain agree that most people do not develop an addiction

 3   problem. These statements also appeared on websites sponsored by Endo, such as Opana.com.

 4           256.      In its currently active website, PrescribeResponsibly.com, Defendant Janssen

 5   states that concerns about opioid addiction are “overestimated” and that “true addiction occurs

 6   only in a small percentage of patients.”133

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22           257.      Similarly, in a 2009 patient education video titled “Finding Relief: Pain

23   Management for Older Adults,” Janssen sponsored a video by the American Academy of Pain

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     133
        Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
26     http://www.prescriberesponsibly.com/articles/opioid-pain-management (last modified July 2, 2015).


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 1   Medicine that indicated that opioids are rarely addictive. The video has since been taken

 2   down.134

 3           258.      Janssen also approved and distributed a patient education guide in 2009 that

 4   attempted to counter the “myth” that opioids are addictive, claiming that “[m]any studies show

 5   that opioids are rarely addictive when used properly for the management of chronic pain.”135

 6           259.      In addition, all the Manufacturing Defendants used third parties and front groups

 7   to further their false and misleading statements about the safety of opioids.

 8           260.      For example, in testimony for the Hearing to Examine the Effects of the Painkiller

 9   OxyContin, Focusing on Risks and Benefits, in front of the Senate Health, Education, Labor and

10   Pensions Committee in February 2002, Dr. John D. Giglio, Executive Director of the APF, the

11   organization which, as described above, received the majority of its funding from opioid

12   manufacturers, including Purdue, stated that “opioids are safe and effective, and only in rare

13   cases lead to addiction.”136 Along with Dr. Giglio’s testimony, the APF submitted a short

14   background sheet on “the scope of the undertreatment of pain in the U.S.,” which asserted that

15   “opioids are often the best” treatment for pain that hasn’t responded to other techniques, but that

16   patients and many doctors “lack even basic knowledge about these options and fear that powerful

17   pain drugs will [c]ause addiction.” According to the APF, “most studies show that less than 1%

18   of patients become addicted, which is medically different from becoming physically

19   dependent.”137

20           261.      The APF further backed up Purdue in an amicus curiae brief filed in an Ohio

21   appeals court in December 2002, in which it claimed that “medical leaders have come to

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23   134
         Molly Huff, Finding Relief: Pain Management for Older Adults, Ctrs. for Pain Mgmt. (Mar. 9, 2011),
       http://www.managepaintoday.com/news/-Finding-Relief-Pain-Management-for-Older-Adults.
24   135
         Lopez, supra note 130.
     136
         Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
25   107th Cong. 2 (Feb. 12, 2002) (testimony of John D. Giglio, M.A., J.D., Executive Director, American Pain
     Foundation), https://www.help.senate.gov/imo/media/doc/Giglio.pdf.
     137
26       Id.


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 1   understand that the small risk of abuse does not justify the withholding of these highly effective

 2   analgesics from chronic pain patients.”138

 3              262.   In a 2007 publication titled “Treatment Options: A Guide for People Living with

 4   Pain,” APF downplayed the risk of addiction and argued that concern about this risk should not

 5   prevent people from taking opioids: “Restricting access to the most effective medications for

 6   treating pain is not the solution to drug abuse or addiction.”139 APF also tried to normalize the

 7   dangers of opioids by listing opioids as one of several “[c]ommon drugs that can cause physical

 8   dependence,” including steroids, certain heart medications, and caffeine.140

 9              263.   The Manufacturing Defendants’ repeated statements about the low risk of

10   addiction when taking opioids as prescribed for chronic pain were blatantly false and were made

11   with reckless disregard for the potential consequences.

12              2.     The Manufacturing Defendants falsely claimed that opioids were proven
13                     effective for chronic pain and would improve quality of life.

14              264.   Not only did the Manufacturing Defendants falsely claim that the risk of addiction

15   to prescription opioids was low, these Defendants represented that there was a significant upside

16   to long-term opioid use, including that opioids could restore function and improve quality of

17   life.141

18              265.   Such claims were viewed as a critical part of the Manufacturing Defendants’

19   marketing strategies. For example, an internal Purdue report from 2001 noted the lack of data

20   supporting improvement in quality of life with OxyContin treatment:

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22   138
         Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
       Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., Appeal No. CA 2002 09
23     0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002), https://ia801005.us.archive.org/23/items/279014-
       howland-apf-amicus/279014-howland-apf-amicus.pdf.
24   139
         Treatment Options: A Guide for People Living with Pain, Am. Pain Found.,
       https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last visited July 16, 2018).
     140
25       Id.
     141
         This case does not request or require the Court to specifically adjudicate whether opioids are appropriate for the
26     treatment of chronic, non-cancer pain—though the scientific evidence strongly suggests they are not.


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 1           Janssen has been stressing decreased side effects, especially constipation, as well
             as patient quality of life, as supported by patient rating compared to sustained
 2           release morphine . . . We do not have such data to support OxyContin promotion. .
             . . In addition, Janssen has been using the “life uninterrupted” message in promotion
 3
             of Duragesic for non-cancer pain, stressing that Duragesic “helps patients think less
 4           about their pain.” This is a competitive advantage based on our inability to make
             any quality of life claims.142
 5

 6           266.      Despite the lack of data supporting improvement in quality of life, Purdue ran a

 7   full-page ad for OxyContin in the Journal of the American Medical Association in 2002,

 8   proclaiming, “There Can Be Life With Relief,” and showing a man happily fly-fishing alongside

 9   his grandson.143 This ad earned a warning letter from the FDA, which admonished, “It is

10   particularly disturbing that your November ad would tout ‘Life With Relief’ yet fail to warn that

11   patients can die from taking OxyContin.”144

12           267.      Purdue also consistently tried to steer any concern away from addiction and focus

13   on its false claims that opioids were effective and safe for treating chronic pain. At a hearing

14   before the House of Representatives’ Subcommittee on Oversight and Investigations of the

15   Committee on Energy and Commerce in August 2001, Michael Friedman, Executive Vice

16   President and Chief Operating Officer of Purdue, testified that “even the most vocal critics of

17   opioid therapy concede the value of OxyContin in the legitimate treatment of pain,” and that

18   “OxyContin has proven itself an effective weapon in the fight against pain, returning many

19   patients to their families, to their work, and to their ability to enjoy life.”145

20           268.      Purdue sponsored the development and distribution of an APF guide in 2011

21   which claimed that “multiple clinical studies have shown that opioids are effective in improving

22   daily function, psychological health, and health-related quality of life for chronic pain patients.”

23   This guide is still available today.

24
     142
         Meier, supra note 18, at 281.
25   143
         Id. at 280.
     144
         Chris Adams, FDA Orders Purdue Pharma To Pull Its OxyContin Ads, Wall Street Journal (Jan. 23, 2003,
26     12:01am), https://www.wsj.com/articles/SB1043259665976915824.
     145
         Oxycontin: Its Use and Abuse, supra note 122.

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 1           269.      Purdue also ran a series of advertisements of OxyContin in 2012 in medical

 2   journals titled “Pain vignettes,” which were styled as case studies of patients with persistent pain

 3   conditions and for whom OxyContin was recommended to improve their function.

 4           270.      Purdue and Endo also sponsored and distributed a book in 2007 to promote the

 5   claim that pain relief from opioids, by itself, improved patients’ function. The book remains for

 6   sale online today.

 7           271.      Endo’s advertisements for Opana ER claimed that use of the drug for chronic pain

 8   allowed patients to perform demanding tasks like construction and portrayed Opana ER users as

 9   healthy and unimpaired.

10           272.      Endo’s National Initiative on Pain Control (NIPC) website also claimed in 2009

11   that with opioids, “your level of function should improve; you may find you are now able to

12   participate in activities of daily living, such as work and hobbies, that you were not able to enjoy

13   when your pain was worse.”

14           273.      Endo further sponsored a series of CME programs through NIPC which claimed

15   that chronic opioid therapy has been “shown to reduce pain and depressive symptoms and

16   cognitive functioning.”

17           274.      Through PainKnowledge.org, Endo also supported and sponsored guidelines that

18   stated, among other things, that “Opioid Medications are a powerful and often highly effective

19   tool in treating pain,” and that “they can help restore comfort, function, and quality of life.”146

20           275.      In addition, Janssen sponsored and edited patient guides which stated that

21   “opioids may make it easier for people to live normally.” The guides listed expected functional

22   improvements from opioid use, including sleeping through the night, and returning to work,

23   recreation, sex, walking, and climbing stairs.

24

25
     146
        Informed Consent for Using Opioids to Treat Pain, Painknowledge.org (2007),
26     https://www.mainequalitycounts.org/image_upload/Opioid%20Informed%20Consent%20Formatted_1_23_2008.p
       df.

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 1           276.      Janssen also sponsored, funded, and edited a website which featured an interview

 2   edited by Janssen that described how opioids allowed a patient to “continue to function.” This

 3   video is still available today.

 4           277.      Furthermore, sales representatives for the Manufacturing Defendants

 5   communicated and continue to communicate the message that opioids will improve patients’

 6   function, without appropriate disclaimers.

 7           278.      The Manufacturing Defendants’ statements regarding opioids’ ability to improve

 8   function and quality of life are false and misleading. As the CDC’s Guideline for Prescribing

 9   Opioids for Chronic Pain (the “2016 CDC Guideline” or “Guideline”)147 confirms, not a single

10   study supports these claims.

11           279.      In fact, to date, there have been no long-term studies that demonstrate that opioids

12   are effective for treating long-term or chronic pain. Instead, reliable sources of information,

13   including from the CDC in 2016, indicate that there is “[n]o evidence” to show “a long-term

14   benefit of opioids in pain and function versus no opioids for chronic pain.”148 By contrast,

15   significant research has demonstrated the colossal dangers of opioids. The CDC, for example,

16   concluded that “[e]xtensive evidence shows the possible harms of opioids (including opioid use

17   disorder, overdose, and motor vehicle injury)” and that “[o]pioid pain medication use presents

18   serious risks, including overdose and opioid use disorder.”149

19           3.        The Manufacturing Defendants falsely claimed doctors and patients could
20                     increase opioid usage indefinitely without added risk.

21           280.      The Manufacturing Defendants also made false and misleading statements

22   claiming that there is no dosage ceiling for opioid treatment. These misrepresentations were

23   integral to the Manufacturing Defendants’ promotion of prescription opioids for two reasons.

24   First, the idea that there was no upward limit was necessary for the overarching deception that

25
     147
         2016 CDC Guideline, supra note 34.
26   148
         Id.
     149
         Id.

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 1   opioids are appropriate treatment for chronic pain. As discussed above, people develop a

 2   tolerance to opioids’ analgesic effects, so that achieving long-term pain relief requires constantly

 3   increasing the dose. Second, the dosing misrepresentation was necessary for the claim that

 4   OxyContin and competitor drugs allowed 12-hour dosing.

 5           281.      Twelve-hour dosing is a significant marketing advantage for any medication,

 6   because patient compliance is improved when a medication only needs to be taken twice a day.

 7   For prescription painkillers, the 12-hour dosing is even more significant because shorter-acting

 8   painkillers did not allow patients to get a full night’s sleep before the medication wore off. A

 9   Purdue memo to the OxyContin launch team stated that “OxyContin’s positioning statement is

10   ‘all of the analgesic efficacy of immediate-release oxycodone, with convenient q12h dosing,’”

11   and further that “[t]he convenience of q12h dosing was emphasized as the most important

12   benefit.”150

13           282.      Purdue executives therefore maintained the messaging of 12-hour dosing even

14   when many reports surfaced that OxyContin did not last 12 hours. Instead of acknowledging a

15   need for more frequent dosing, Purdue instructed its representatives to push higher-strength pills.

16           283.      For example, in a 1996 sales strategy memo from a Purdue regional manager, the

17   manager emphasized that representatives should “convinc[e] the physician that there is no need”

18   for prescribing OxyContin in shorter intervals than the recommended 12-hour interval, and

19   instead the solution is prescribing higher doses. The manager directed representatives to discuss

20   with physicians that there is “no[] upward limit” for dosing and ask “if there are any reservations

21   in using a dose of 240mg-320mg of OxyContin.”151

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25      OxyContin launch, Los Angeles Times (May 5, 2016), http://documents.latimes.com/oxycontin-launch-1995/.
     151
        Sales manager on 12-hour dosing, Los Angeles Times (May 5, 2016), http://documents.latimes.com/sales-
26     manager-on12-hour-dosing-1996/.


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 1           284.      As doctors began prescribing OxyContin at shorter intervals in the late 1990s,

 2   Purdue directed its sales representatives to “refocus” physicians on 12-hour dosing. One sales

 3   manager instructed her team that anything shorter “needs to be nipped in the bud. NOW!!”152

 4           285.      These misrepresentations were incredibly dangerous. As noted above, opioid

 5   dosages at or above 50 MME/day double the risk of overdose compared to 20 MME/day, and 50

 6   MME is equal to just 33 mg of oxycodone. Notwithstanding the risks, the 2003 Conversion

 7   Guide for OxyContin contained the following diagram for increasing dosage up to 320 mg:

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19           286.      In a 2004 response letter to the FDA, Purdue tried to address concerns that

20   patients who took OxyContin more frequently than 12 hours would be at greater risk of side

21   effects or adverse reactions. Purdue contended that the peak plasma concentrations of oxycodone

22   would not increase with more frequent dosing, and therefore no adjustments to the package

23   labeling or 12-hour dosing regimen were needed.153 But these claims were false, and Purdue’s

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25   152
         Harriet Ryan, Lisa Girion, and Scott Glover, ‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem
       (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1/.
26   153
         Purdue Response to FDA, 2004, Los Angeles Times (May 5, 2016), http://documents.latimes.com/purdue-
       response-fda-2004/.

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 1   suggestion that there was no upper limit or risk associated with increased dosage was incredibly

 2   misleading.

 3           287.      Suggesting that it recognized the danger of its misrepresentations of no dose

 4   ceiling, Purdue discontinued the OxyContin 160 mg tablet in 2007 and stated that this step was

 5   taken “to reduce the risk of overdose accompanying the abuse of this dosage strength.”154

 6           288.      But still Purdue and the other Manufacturing Defendants worked hard to protect

 7   their story. In March 2007, Dr. Gary Franklin, Medical Director for the Washington State

 8   Department of Labor & Industries, published the Interagency Guideline on Opioid Dosing for

 9   Chronic Non-Cancer Pain. Developed in collaboration with providers who had extensive

10   experience in the evaluation and treatment of patients with chronic pain, the guideline

11   recommended a maximum daily dose of opioids to protect patients.

12           289.      In response, Purdue sent correspondence to Dr. Franklin specifically indicating,

13   among other things, that “limiting access to opioids for persons with chronic pain is not the

14   answer” and that the “safety and efficacy of OxyContin doses greater than 40 mg every 12 hours

15   in patients with chronic nonmalignant pain” was well established. Purdue even went so far as to

16   represent to Dr. Franklin that even if opioid treatment produces significant adverse effects in a

17   patient, “this does not preclude a trial of another opioid.”

18           290.      In 2010, Purdue published a Risk Evaluation and Mitigation Strategy (“REMS”)

19   for OxyContin, but even the REMS does not address concerns with increasing dosage, and

20   instead advises prescribers that “dose adjustments may be made every 1-2 days”; “it is most

21   appropriate to increase the q12h dose”; the “total daily dose can usually be increased by 25% to

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     154
25      OxyContin Tablets Risk Management Program, Purdue Pharma L.P.,
       https://web.archive.org/web/20170215064438/https:/www.fda.gov/ohrms/dockets/DOCKETS/07p0232/07p-0232-
26     cp00001-03-Exhibit-02-Part-1-vol1.pdf (revised May 18, 2007).


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 1   50%”; and if “significant adverse reactions occur, treat them aggressively until they are under

 2   control, then resume upward titration.”155

 3           291.      In 2012, APF claimed on its website that there was no “ceiling dose” for opioids

 4   for chronic pain.156 APF also made this claim in a guide sponsored by Purdue, which is still

 5   available online.

 6           292.      Accordingly, Purdue continued to represent both publicly and privately that

 7   increased opioid usage was safe and did not present additional risk at higher doses.

 8           293.      Janssen also made the same misrepresentations regarding the disadvantages of

 9   dosage limits for other pain medicines in a 2009 patient education guide, while failing to address

10   the risks of dosage increases with opioids.

11           294.      Endo, on a website it sponsors, PainKnowledge.com, also made the claim in 2009

12   that opioid dosages could be increased indefinitely.

13           295.      In the “Understanding Your Pain” pamphlet discussed above, Endo assures opioid

14   users that concern about developing tolerance to the drugs’ pain-relieving effect is “not a

15   problem,” and that “[t]he dose can be increased” and “[y]ou won’t ‘run out’ of pain relief.”157

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         OxyContin Risk Evaluation and Mitigation Strategy, Purdue Pharma L.P.,
24     https://web.archive.org/web/20170215190303/https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrug
       SafetyInformationforPatientsandProviders/UCM220990.pdf (last modified Nov. 2010).
25   156
         Noah Nesin, M.D., FAAFP, Responsible Opioid Prescribing, PCHC
       https://www.mainequalitycounts.org/image_upload/Keynote-
26     %20Managing%20Chronic%20Pain%20and%20Opioids_Nesin.pdf (last visited July 16, 2018).
     157
         Understanding Your Pain: Taking Oral Opioid Analgesics, supra note 132.

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13           296.      Dosage limits with respect to opioids are particularly important not only because

14   of the risk of addiction but also because of the potentially fatal side effect of respiratory

15   depression. Endo’s “Understanding Your Pain” pamphlet minimized this serious side effect,

16   calling it “slowed breathing,” declaring that it is “very rare” when opioids are used

17   “appropriately,” and never stating that it could be fatal:

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 1           4.        The Manufacturing Defendants falsely instructed doctors and patients that
                       more opioids were the solution when patients presented symptoms of
 2                     addiction.
 3           297.      Not only did the Manufacturing Defendants hide the serious risks of addiction

 4   associated with opioids, they actively worked to prevent doctors from taking steps to prevent or

 5   address opioid addiction in their patients.

 6           298.      One way that the Manufacturing Defendants worked to obstruct appropriate

 7   responses to opioid addiction was to push a concept called “pseudoaddiction.” Dr. David

 8   Haddox—who later became a Senior Medical Director for Purdue—published a study in 1989

 9   coining the term, which he characterized as “the iatrogenic syndrome of abnormal behavior

10   developing as a direct consequence of inadequate pain management.”158 (“Iatrogenic” describes a

11   condition induced by medical treatment.) In other words, he claimed that people on prescription

12   opioids who exhibited classic signs of addiction—“abnormal behavior”—were not addicted, but

13   rather simply suffering from under-treatment of their pain. His solution for pseudoaddiction?

14   More opioids.

15           299.      Although this concept was formed based on a single case study, it proved to be a

16   favorite trope in the Manufacturing Defendants’ marketing schemes. For example, using this

17   study, Purdue informed doctors and patients that signs of addiction are actually the signs of

18   under-treated pain which should be treated with even more opioids. Purdue reassured doctors and

19   patients, telling them that “chronic pain has been historically undertreated.”159

20           300.      The Manufacturing Defendants continued to spread the concept of

21   pseudoaddiction through the APF, which even went so far as to compare opioid addicts to coffee

22   drinkers. In a 2002 court filing, APF wrote that “[m]any pain patients (like daily coffee drinkers)

23   claim they are ‘addicted’ when they experience withdrawal symptoms associated with physical

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     158
25       David E. Weissman and J. David Haddox, Opioid pseudoaddiction--an iatrogenic syndrome, 36(3) Pain 363-66
       (Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565.
     159
26       Oxycontin: Its Use and Abuse, supra note 122.


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 1   dependence as they decrease their dose. But unlike actual addicts, such individuals, if they

 2   resume their opioid use, will only take enough medication to alleviate their pain . . .”160

 3           301.      In a 2007 publication titled “Treatment Options: A Guide for People Living with

 4   Pain,” the APF claimed, “Physical dependence is normal; any patient who is taking an opioid on

 5   a regular basis for a few days should be assumed to be physically dependent. This does NOT

 6   mean you are addicted.”161 In this same publication, the APF asserted that “people who are not

 7   substance abusers” may also engage in “unacceptable” behaviors such as “increasing the dose

 8   without permission or obtaining the opioid from multiple sources,” but that such behaviors do

 9   not indicate addiction and instead reflect a “desire to obtain pain relief.”162

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25       APF Brief Amici Curiae, supra note 138, at 10-11.
     161
         Treatment Options: A Guide for People Living with Pain, supra note 139.
     162
26       Id.


     COMPLAINT                                                                     KELLER ROHRBACK L.L.P.
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 1           302.      Purdue published a REMS for OxyContin in 2010, and in the associated

 2   Healthcare Provider Training Guide stated that “[b]ehaviors that suggest drug abuse exist on a

 3   continuum, and pain-relief seeking behavior can be mistaken for drug-seeking behavior.”163

 4           303.      Purdue worked, and continues to work, to create confusion about what addiction

 5   is. For example, Purdue continues to emphasize that abuse and addiction are separate and distinct

 6   from physical dependence. Regardless of whether these statements may be technically correct,

 7   they continue to add ambiguity over the risks and benefits of opioids.

 8           304.      Endo sponsored an NIPC CME program in 2009 which promoted the concept of

 9   pseudoaddiction by teaching that a patient’s aberrant behavior was the result of untreated pain.

10   Endo substantially controlled NIPC by funding its projects, developing content, and reviewing

11   NIPC materials.

12           305.      A 2001 paper which was authored by a doctor affiliated with Janssen stated that

13   “[m]any patients presenting to a doctor’s office asking for pain medications are accused of drug

14   seeking. In reality, most of these patients may be undertreated for their pain syndrome.”164

15           306.      In 2009, on a website it sponsored, Janssen stated that pseudoaddiction is different

16   from true addiction “because such behaviors can be resolved with effective pain

17   management.”165

18           307.      Indeed, on its currently active website PrescribeResponsibly.com, Janssen defines

19   pseudoaddiction as “a syndrome that causes patients to seek additional medications due to

20   inadequate pharmacotherapy being prescribed. Typically, when the pain is treated appropriately,

21   the inappropriate behavior ceases.”166

22   163
         OxyContin Risk Evaluation and Mitigation Strategy, supra note 155.
     164
         Howard A. Heit, MD, FACP, FASAM, The truth about pain management: the difference between a pain patient
23     and an addicted patient, 5 European Journal of Pain 27-29 (2001),
       http://www.med.uottawa.ca/courses/totalpain/pdf/doc-34.pdf.
24   165
         Chris Morran, Ohio: Makers Of OxyContin, Percocet & Other Opioids Helped Fuel Drug Epidemic By
       Misleading Doctors, Patients, Consumerist (May 31, 2017, 2:05pm), https://consumerist.com/2017/05/31/ohio-
25     makers-of-oxycontin-percocet-other-opioids-helped-fuel-drug-epidemic-by-misleading-doctors-patients/.
     166
         Howard A. Heit, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FRCPC, FASAM, What a Prescriber
26     Should Know Before Writing the First Prescription, Prescribe Responsibly,


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17           308.      As set forth in more detail below, these statements were false and misleading as
18   evidenced by, inter alia, the findings made by the CDC in 2016. Indeed, there is simply no
19   evidence that pseudoaddiction is a real phenomenon. As research compiled by the CDC and
20   others makes clear, pseudoaddiction is pseudoscience—nothing more than a concept Defendants
21   seized upon to help sell more of their actually addicting drugs.
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26    http://www.prescriberesponsibly.com/articles/before-prescribing-opioids#pseudoaddiction (last modified July 2,
      2015).

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 1              5.       The Manufacturing Defendants falsely claimed that risk-mitigation
                         strategies, including tapering and abuse-deterrent technologies, made it safe
 2                       to prescribe opioids for chronic use.
 3              309.     Even when the Manufacturing Defendants acknowledge that opioids pose some

 4   risk of addiction, they dismiss these concerns by claiming that addiction can be easily avoided

 5   and addressed through simple steps. In order to make prescribers feel more comfortable about

 6   starting patients on opioids, the Manufacturing Defendants falsely communicated to doctors that

 7   certain screening tools would allow them to reliably identify patients at higher risk of addiction

 8   and safely prescribe opioids, and that tapering the dose would be sufficient to manage cessation

 9   of opioid treatment. Both assertions are false.

10              310.     For instance, as noted above, Purdue published a REMS for OxyContin in 2010,

11   in which it described certain steps that needed to be followed for safe opioid use. Purdue stressed

12   that all patients should be screened for their risk of abuse or addiction, and that such screening

13   could curb the incidence of addiction.167

14              311.     The APF also proclaimed in a 2007 booklet, sponsored in part by Purdue, that

15   “[p]eople with the disease of addiction may abuse their medications, engaging in unacceptable

16   behaviors like increasing the dose without permission or obtaining the opioid from multiple

17   sources, among other things. Opioids get into the hands of drug dealers and persons with an

18   addictive disease as a result of pharmacy theft, forged prescriptions, Internet sales, and even

19   from other people with pain. It is a problem in our society that needs to be addressed through

20   many different approaches.”168

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26   167
           Oxycontin Risk Evaluation and Mitigation Strategy, supra note 155.
     168
           Treatment Options: A Guide for People Living with Pain, supra note 139.

     COMPLAINT                                                                       KELLER ROHRBACK L.L.P.
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 1           312.      On its current website for OxyContin,169 Purdue acknowledges that certain

 2   patients have higher risk of opioid addiction based on history of substance abuse or mental

 3   illness—a statement which, even if accurate, obscures the significant risk of addiction for all

 4   patients, including those without such a history, and comports with statements it has recently

 5   made that it is “bad apple” patients, and not the opioids, that are arguably the source of the

 6   opioid crisis:

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18           313.      Additionally, on its current website, Purdue refers to publicly available tools that

19   can assist with prescribing compliance, such as patient-prescriber agreements and risk

20   assessments.170

21           314.      Purdue continues to downplay the severity of addiction and withdrawal and

22   claims that dependence can easily be overcome by strategies such as adhering to a tapering

23   schedule to successfully stop opioid treatment. On the current website for OxyContin, it instructs

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     169
25      OxyContin, https://www.oxycontin.com/index.html (last visited July 16, 2018).
     170
        ER/LA Opioid Analgesics REMS, Purdue, http://www.purduepharma.com/healthcare-professionals/responsible-
26     use-of-opioids/rems/ (last visited July 16, 2018).


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 1   that “[w]hen discontinuing OxyContin, gradually taper the dosage. Do not abruptly discontinue

 2   OxyContin.”171 And on the current OxyContin Medication Guide, Purdue also states that one

 3   should “taper the dosage gradually.”172 As a general matter, tapering is a sensible strategy for

 4   cessation of treatment with a variety of medications, such as steroids or antidepressants. But the

 5   suggestion that tapering is sufficient in the context of chronic use of potent opioids is misleading

 6   and dangerous, and sets patients up for withdrawal and addiction.

 7           315.      In its “Dear Healthcare Professional” letter in 2010, Purdue instructed doctors to

 8   gradually taper someone off OxyContin to prevent signs and symptoms of withdrawal in patients

 9   who were physically dependent.173 Nowhere does Purdue warn doctors or patients that tapering

10   may be inadequate to safely end opioid treatment and avoid addiction.

11           316.      Other Manufacturing Defendants make similar claims. For instance, Endo

12   suggests that risk-mitigation strategies enable the safe prescription of opioids. In its currently

13   active website, Opana.com, Endo states that assessment tools should be used to assess addiction

14   risk, but that “[t]he potential for these risks should not, however, prevent proper management of

15   pain in any given patient.”174

16           317.      On the same website, Endo makes similar statements about tapering, stating

17   “[w]hen discontinuing OPANA ER, gradually taper the dosage.”175

18           318.      Janssen also states on its currently active website, PrescribeResponsibly.com, that

19   the risk of opioid addiction “can usually be managed” through tools such as “opioid agreements”

20   between patients and doctors.176

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     171
         Oxycontin.com, supra note 169.
24   172
         OxyContin Full Prescribing Information, Purdue Pharma LP,
       http://app.purduepharma.com/xmlpublishing/pi.aspx?id=o (last visited July 16, 2018).
25   173
         OxyContin Risk Evaluation and Mitigation Strategy, supra note 155.
     174
         Opana ER, Endo Pharmaceuticals, Inc., http://www.opana.com (last visited July 16, 2018).
26   175
         Id.
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         Heit & Gourlay, supra note 166.

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 1            319.     Each Manufacturing Defendant’s statements about tapering misleadingly implied

 2   that gradual tapering would be sufficient to alleviate any risk of withdrawal or addiction while

 3   taking opioids.

 4            320.     The Manufacturing Defendants have also made and continue to make false and

 5   misleading statements about the purported abuse-deterrent properties of their opioid pills to

 6   suggest these reformulated pills are not susceptible to abuse. In so doing, the Manufacturing

 7   Defendants have increased their profits by selling more pills for substantially higher prices.

 8            321.     For instance, since at least 2001, Purdue has contended that “abuse resistant

 9   products can reduce the incidence of abuse.”177 Until recently, Purdue’s website touted abuse-

10   deterrent properties by saying they “can make a difference.”178

11            322.     On August 17, 2015, Purdue announced the launch of a new website, “Team

12   Against Opioid Abuse,” which it said was “designed to help healthcare professionals and

13   laypeople alike learn about different abuse-deterrent technologies and how they can help in the

14   reduction of misuse and abuse of opioids.”179 This website appears to no longer be active.

15            323.     A 2013 study which was authored by at least two doctors who at one time worked

16   for Purdue stated that “[a]buse-deterrent formulations of opioid analgesics can reduce abuse.”180

17   In another study from 2016 with at least one Purdue doctor as an author, the authors claimed that

18   abuse decreased by as much as 99% in some situations after abuse-deterrent formulations were

19   introduced.181

20   177
         Oxycontin: Its Use and Abuse, supra note 122.
     178
         Opioids with Abuse-Deterrent Properties, Purdue, http://www.purduepharma.com/healthcare-
21     professionals/responsible-use-of-opioids/opioids-with-abuse-deterrent-properties/ (last visited May 16, 2018); see
       also https://web.archive.org/web/20180302203422/http:/www.purduepharma.com/healthcare-
22     professionals/responsible-use-of-opioids/opioids-with-abuse-deterrent-properties/.
     179
        Purdue Pharma L.P. Launches TeamAgainstOpioidAbuse.com, Purdue (Aug. 17, 2015),
23     http://www.purduepharma.com/news-media/2015/08/purdue-pharma-l-p-launches-teamagainstopioidabuse-com/.
     180
         Paul M. Coplan, Hrishikesh Kale, Lauren Sandstrom, Craig Landau, and Howard D. Chilcoat, Changes in
24     oxycodone and heroin exposures in the National Poison Data System after introduction of extended-release
       oxycodone with abuse-deterrent characteristics, 22 (12) Pharmacoepidemiol Drug Saf. 1274-82 (Sept. 30, 2013),
25     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4283730/.
     181
         Paul M. Coplan, Howard D. Chilcoat, Stephen Butler, Edward M. Sellers, Aditi Kadakia, Venkatesh
26     Harikrishnan, J. David Haddox, and Richard C. Dart, The effect of an abuse-deterrent opioid formulation


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 1           324.      Interestingly, one report found that the original safety label for OxyContin, which

 2   instructed patients not to crush the tablets because it would have a rapid release effect, may have

 3   inadvertently given opioid users ideas for techniques to get high from these drugs.182

 4           325.      In 2012, Defendant Endo replaced the formula for Opana ER with a new formula

 5   with abuse-deterrent properties that it claimed would make Opana ER resistant to manipulation

 6   from users to snort or inject it. But the following year, the FDA concluded:

 7           While there is an increased ability of the reformulated version of Opana ER to resist
             crushing relative to the original formulation, study data show that the reformulated
 8           version’s extended-release features can be compromised when subjected to other
             forms of manipulation, such as cutting, grinding, or chewing, followed by
 9           swallowing.
10           Reformulated Opana ER can be readily prepared for injection, despite Endo’s claim
11           that these tablets have “resistance to aqueous extraction (i.e., poor syringeability).”
             It also appears that reformulated Opana ER can be prepared for snorting using
12           commonly available tools and methods.

13           The postmarketing investigations are inconclusive, and even if one were to treat
             available data as a reliable indicator of abuse rates, one of these investigations also
14           suggests the troubling possibility that a higher percentage of reformulated Opana
15           ER abuse is via injection than was the case with the original formulation.183

16           326.      Despite the FDA’s determination that the evidence did not support Endo’s claims

17   of abuse-deterrence, Endo advertised its reformulated pills as “crush resistant” and directed its

18   sales representatives to represent the same to doctors. Endo improperly marketed Opana ER as

19   crush-resistant, when Endo’s own studies showed that the pill could be crushed and ground. In

20   2016, Endo reached an agreement with the Attorney General of the State of New York that

21   required Endo to discontinue making such statements.184

22
       (OxyContin) on opioid abuse-related outcomes in the postmarketing setting, 100 Clin. Pharmacol. Ther. 275-86
23     (June 22, 2016), http://onlinelibrary.wiley.com/doi/10.1002/cpt.390/full.
     182
         OxyContin Abuse and Diversion and Efforts to Address the Problem, supra note 33.
24   183
         FDA Statement: Original Opana ER Relisting Determination, U.S. Food & Drug Admin. (May 10, 2013),
       https://wayback.archive-it.org/7993/20171102214123/https://www.fda.gov/Drugs/DrugSafety/ucm351357.htm.
25   184
         Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces Settlement with Endo
       Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing of Prescription Opioid Drugs (Mar. 3, 2016),
26     https://ag.ny.gov/press-release/ag-schneiderman-announces-settlement-endo-health-solutions-inc-endo-
       pharmaceuticals.

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 1              327.     The Manufacturing Defendants’ assertions that their reformulated pills could curb

 2   abuse were false and misleading, as the CDC’s 2016 Guideline, discussed below, confirm.

 3              328.     Ultimately, even if a physician prescribes opioids after screening for abuse risk,

 4   advising a patient to taper, and selecting brand-name, abuse-deterrent formulations, chronic

 5   opioid use still comes with significant risks of addiction and abuse. The Manufacturing

 6   Defendants’ statements to the contrary were designed to create a false sense of security and

 7   assure physicians that they could safely prescribe potent narcotics to their patients.

 8   E.         Research by Washington State’s Department of Labor and Industries Highlights the
 9              Falseness of the Manufacturing Defendants’ Claims.

10              329.     Contrary to the Manufacturing Defendants’ misrepresentations about the benefits

11   and risks of opioids, growing evidence suggests that using opioids to treat chronic pain leads to

12   overall negative outcomes, delaying or preventing recovery and providing little actual relief, all

13   while presenting serious risks of overdose.

14              330.     One place where this evidence surfaced is in another jurisdiction in the

15   Northwest, Washington State. The Washington State Department of Labor and Industries

16   (“L&I”) runs that state’s workers’ compensation program, which covers all employees in the

17   state, other than those who work for large companies and government entities. In 2000, L&I’s

18   new chief pharmacist, Jaymie Mai, noticed an increase in prescription of opioids for chronic

19   pain, approximately 50 to 100 cases a month.185 As she took a closer look at the prescription

20   data, she discovered some of these same workers were dying from opioid overdoses. That

21   workers suffered back pain or sprained knees on the job was nothing new, but workers dying

22   from their pain medication was assuredly not business as usual. Mai reported what she was

23   seeing to L&I’s Medical Director, Dr. Gary Franklin.186

24

25
     185
           Quinones, supra note 46, at 203.
     186
26         Id.


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 1           331.      Dr. Franklin and Mai then undertook a thorough analysis of all recorded deaths in

 2   the state’s workers’ compensation system. In 2005, they published their findings in the American

 3   Journal of Industrial Medicine.187 Their research showed that the total number of opioid

 4   prescriptions paid for by the workers’ compensation program tripled between 1996 and 2006.188

 5   Not only did the number of prescriptions balloon, so too did the doses; from 1996 to 2002 the

 6   mean daily morphine equivalent dose (“MED”) nearly doubled, and remained that way through

 7   2006.189 As injured workers were given more prescriptions of higher doses of opioids, the rates

 8   of opioid overdoses among that population jumped, from zero in 1996 to more than twenty in

 9   2005. And in 2009, over thirty people receiving opioid prescriptions through the workers’

10   compensation program died of an opioid overdose.190

11           332.      Moreover, additional research from L&I showed that the use of opioids to treat

12   pain after an injury actually prevents or slows a patient’s recovery. In a study of employees who

13   had suffered a low back injury on the job, Dr. Franklin concluded that if an injured worker was

14   prescribed opioids soon after the injury, high doses of opioids, or opioids for more than a week,

15   the employee was far more likely to experience negative health outcomes than the same

16   employee who was not prescribed opioids in these manners.

17           333.      Specifically, the study showed that, after adjusting for the baseline covariates,

18   injured workers who received a prescription opioid for more than seven days during the first six

19   weeks after the injury were 2.2 times more likely to remain disabled a year later than workers

20   with similar injuries who received no opioids at all. Similarly, those who received two

21   prescriptions of opioids for the injury were 1.8 times more likely to remain disabled a year after

22   187
         Gary M. Franklin, M.D., MPH, Jaymie Mai, Pharm.D., Thomas Wickizer, Ph.D., Judith A. Turner, Ph.D.,
       Deborah Fulton-Kehoe, Ph.D., MPH, and Linda Grant, BSN, MBA, Opioid dosing trends and mortality in
23     Washington State Workers’ Compensation, 1996-2002, 48 Am J Ind Med 91-99 (2005).
     188
         Gary M. Franklin, M.D., MPH, Jaymie Mai, Pharm.D., Thomas Wickizer, Ph.D., Judith Turner, Ph.D., Mark
24     Sullivan, M.D., Ph.D., Thomas Wickizer, Ph.D., and Deborah Fulton-Kehoe, Ph.D., Bending the Prescription
       Opioid Dosing and Mortality Curves: Impact of the Washington State Opioid Dosing Guideline, 55 Am J Ind Med
25     325, 327 (2012).
     189
         Id. at 327-28.
     190
26       Id. at 328.


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 1   their injury than workers who received no opioids at all, and those receiving daily doses higher

 2   than 150 MED were over twice as likely to be on disability a year later, relative to workers who

 3   received no opioids.191

 4           334.      In sum, not only do prescription opioids present significant risks of addiction and

 5   overdose, but they also hinder patient recovery after an injury. This dynamic presents problems

 6   for employers, too, who bear significant costs when their employees do not recover quickly from

 7   workplace injuries. Employers are left without their labor force and may be responsible for

 8   paying for the injured employee’s disability for long periods of time.

 9   F.      The 2016 CDC Guideline and Other Recent Studies Confirm That the
             Manufacturing Defendants’ Statements About the Risks and Benefits of Opioids
10           Are Patently False.
11           335.      Contrary to the statements made by the Manufacturing Defendants in their well-

12   orchestrated campaign to tout the benefits of opioids and downplay their risks, recent studies

13   confirm the Manufacturing Defendants’ statements were false and misleading.

14           336.      The CDC issued its Guideline for Prescribing Opioids for Chronic Pain on March

15   15, 2016.192 The 2016 CDC Guideline, approved by the FDA, “provides recommendations for

16   primary care clinicians who are prescribing opioids for chronic pain outside of active cancer

17   treatment, palliative care, and end-of-life care.” The Guideline also assesses the risks and harms

18   associated with opioid use.

19           337.      The 2016 CDC Guideline is the result of a thorough and extensive process by the

20   CDC. The CDC issued the Guideline after it “obtained input from experts, stakeholders, the

21   public, peer reviewers, and a federally chartered advisory committee.” The recommendations in

22   the 2016 CDC Guideline were further made “on the basis of a systematic review of the best

23   available evidence . . .”

24
     191
         Franklin, GM, Stover, BD, Turner, JA, Fulton-Kehoe, D, Wickizer, TM, Early opioid prescription and
25     subsequent disability among workers with back injuries: the Disability Risk Identification Study Cohort, 33 Spine
       199, 201-202.
26   192
         2016 CDC Guideline, supra note 34.


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 1           338.       The CDC went through an extensive and detailed process to solicit expert

 2   opinions for the Guideline:

 3           CDC sought the input of experts to assist in reviewing the evidence and providing
             perspective on how CDC used the evidence to develop the draft recommendations.
 4
             These experts, referred to as the “Core Expert Group” (CEG) included subject
 5           matter experts, representatives of primary care professional societies and state
             agencies, and an expert in guideline development methodology. CDC identified
 6           subject matter experts with high scientific standing; appropriate academic and
             clinical training and relevant clinical experience; and proven scientific excellence
 7           in opioid prescribing, substance use disorder treatment, and pain management.
             CDC identified representatives from leading primary care professional
 8
             organizations to represent the audience for this guideline. Finally, CDC identified
 9           state agency officials and representatives based on their experience with state
             guidelines for opioid prescribing that were developed with multiple agency
10           stakeholders and informed by scientific literature and existing evidence-based
             guidelines.
11

12           339.      The 2016 Guideline was also peer-reviewed pursuant to “the final information

13   quality bulletin for peer review.” Specifically, the Guideline describes the following independent

14   peer-review process:

15           [P]eer review requirements applied to this guideline because it provides influential
             scientific information that could have a clear and substantial impact on public- and
16
             private-sector decisions. Three experts independently reviewed the guideline to
17           determine the reasonableness and strength of recommendations; the clarity with
             which scientific uncertainties were clearly identified; and the rationale, importance,
18           clarity, and ease of implementation of the recommendations. CDC selected peer
             reviewers based on expertise, diversity of scientific viewpoints, and independence
19           from the guideline development process. CDC assessed and managed potential
20           conflicts of interest using a process similar to the one as described for solicitation
             of expert opinion. No financial interests were identified in the disclosure and review
21           process, and nonfinancial activities were determined to be of minimal risk; thus, no
             significant conflict of interest concerns were identified.
22

23           340.      The findings in the 2016 CDC Guideline both confirmed the existing body of

24   scientific evidence regarding the questionable efficacy of opioid use and contradicted

25   Defendants’ statements about opioids.

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 1           341.      For instance, the Guideline states “[e]xtensive evidence shows the possible harms

 2   of opioids (including opioid use disorder, overdose, and motor vehicle injury)” and that “[o]pioid

 3   pain medication use presents serious risks, including overdose and opioid use disorder.” The

 4   Guideline further confirms there are significant symptoms related to opioid withdrawal,

 5   including drug cravings, anxiety, insomnia, abdominal pain, vomiting, diarrhea, sweating,

 6   tremor, tachycardia (rapid heartbeat), spontaneous abortion and premature labor in pregnant

 7   women, and the unmasking of anxiety, depression, and addiction. These findings contradict

 8   statements made by Defendants regarding the minimal risks associated with opioid use,

 9   including that the risk of addiction from chronic opioid use is low.

10           342.      The Guideline also concludes that there is “[n]o evidence” to show “a long-term

11   benefit of opioids in pain and function versus no opioids for chronic pain . . .” Furthermore, the

12   Guideline indicates that “continuing opioid therapy for 3 months substantially increases the risk

13   of opioid use disorder.” Indeed, the Guideline indicates that “[p]atients who do not experience

14   clinically meaningful pain relief early in treatment . . . are unlikely to experience pain relief with

15   longer-term use,” and that physicians should “reassess[] pain and function within 1 month” in

16   order to decide whether to “minimize risks of long-term opioid use by discontinuing opioids”

17   because the patient is “not receiving a clear benefit.” These findings flatly contradict claims

18   made by the Defendants that there are minimal or no adverse impacts of long-term opioid use, or

19   that long-term opioid use could actually improve or restore a patient’s function.

20           343.      In support of these statements about the lack of long-term benefits of opioid use,

21   the CDC concluded that “[a]lthough opioids can reduce pain during short-term use, the clinical

22   evidence review found insufficient evidence to determine whether pain relief is sustained and

23   whether function or quality of life improves with long-term opioid therapy.” The CDC further

24   found that “evidence is limited or insufficient for improved pain or function with long-term use

25   of opioids for several chronic pain conditions for which opioids are commonly prescribed, such

26   as low back pain, headache, and fibromyalgia.”

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 1           344.      With respect to opioid dosing, the Guideline reports that “[b]enefits of high-dose

 2   opioids for chronic pain are not established” while the “risks for serious harms related to opioid

 3   therapy increase at higher opioid dosage.” The CDC specifically explains that “there is now an

 4   established body of scientific evidence showing that overdose risk is increased at higher opioid

 5   dosages.” The CDC also states that there is an “increased risk[] for opioid use disorder,

 6   respiratory depression, and death at higher dosages.” As a result, the CDC advises doctors to

 7   “avoid increasing dosage” above 90 MME per day. These findings contradict statements made

 8   by Defendants that increasing dosage is safe and that under-treatment is the cause for certain

 9   patients’ aberrant behavior.

10           345.      The 2016 CDC Guideline also contradicts statements made by Defendants that

11   there are reliable risk-mitigation tactics to reduce the risk of addiction. For instance, the

12   Guideline indicates that available risk screening tools “show insufficient accuracy for

13   classification of patients as at low or high risk for [opioid] abuse or misuse” and counsels that

14   doctors “should not overestimate the ability of these tools to rule out risks from long-term opioid

15   therapy.”

16           346.      Finally, the 2016 CDC Guideline states that “[n]o studies” support the notion that

17   “abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,”

18   noting that the technologies—even when they work—“do not prevent opioid abuse through oral

19   intake, the most common route of opioid abuse, and can still be abused by nonoral routes.” In

20   particular, the CDC found as follows:

21           The “abuse-deterrent” label does not indicate that there is no risk for abuse. No
             studies were found in the clinical evidence review assessing the effectiveness of
22           abuse-deterrent technologies as a risk mitigation strategy for deterring or
             preventing abuse. In addition, abuse-deterrent technologies do not prevent
23           unintentional overdose through oral intake. Experts agreed that recommendations
             could not be offered at this time related to use of abuse-deterrent formulations.
24

25   Accordingly, the CDC’s findings regarding “abuse-deterrent technologies” directly contradict

26   Purdue and Endo’s claims that their new pills deter or prevent abuse.

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 1               347.     In addition, as discussed above, in contrast to Defendants’ statements that the

 2   1980 Porter and Jick letter provided evidence of the low risk of opioid addiction in pain patients,

 3   the NEJM published a letter in 2017 largely debunking the use of the Porter and Jick letter as

 4   evidence for such a claim.193 The researchers demonstrated how the Porter and Jick letter was

 5   irresponsibly cited and, in some cases, “grossly misrepresented,” when in fact it did not provide

 6   evidence supporting the broad claim of low addiction risk for all patients prescribed opioids for

 7   pain. As noted above, Dr. Jick reviewed only files of patients administered opioids in a hospital

 8   setting, rather than patients sent home with a prescription for opioids to treat chronic pain.

 9               348.     The authors of the 2017 letter described their methodology as follows:

10               We performed a bibliometric analysis of this [1980] correspondence from its
                 publication until March 30, 2017. For each citation, two reviewers independently
11               evaluated the portrayal of the article’s conclusions, using an adaptation of an
                 established taxonomy of citation behavior along with other aspects of
12               generalizability . . . For context, we also ascertained the number of citations of
                 other stand-alone letters that were published in nine contemporaneous issues of the
13
                 Journal (in the index issue and in the four issues that preceded and followed it).
14
                 We identified 608 citations of the index publication and noted a sizable increase
15               after the introduction of OxyContin (a long-acting formulation of oxycodone) in
                 1995 . . . Of the articles that included a reference to the 1980 letter, the authors
16               of 439 (72.2%) cited it as evidence that addiction was rare in patients treated
                 with opioids. Of the 608 articles, the authors of 491 articles (80.8%) did not
17
                 note that the patients who were described in the letter were hospitalized at the
18               time they received the prescription, whereas some authors grossly
                 misrepresented the conclusions of the letter . . . Of note, affirmational citations
19               have become much less common in recent years. In contrast to the 1980
                 correspondence, 11 stand-alone letters that were published contemporaneously by
20               the Journal were cited a median of 11 times.194 (Emphasis added).
21

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26   193
           Leung, et al., supra note 112.
     194
           Id. (emphasis added).

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 1            349.     The researchers provided examples of quotes from articles citing the 1980 letter,

 2   and noted several shortcomings and inaccuracies with the quotations. For instance, the

 3   researchers concluded that these quotations (i) “overstate[] conclusions of the index publication,”

 4   (ii) do[] not accurately specify its study population,” and (iii) did not adequately address

 5   “[l]imitizations to generalizability.”195

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22            350.     Based on this review, the researchers concluded as follows:
23            [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
              and uncritically cited as evidence that addiction was rare with long-term opioid
24

25   195
        Supplementary Appendix to Pamela T.M. Leung, B.Sc. Pharm., Erin M. Macdonald, M.Sc., Matthew B.
       Stanbrook, M.D., Ph.D., Irfan Al Dhalla, M.D., David N. Juurlink, M.D., Ph.D., A 1980 Letter on the Risk of
26     Opioid Addiction, 376 N Engl J Med 2194-95 (June 1, 2017),
       http://www.nejm.org/doi/suppl/10.1056/NEJMc1700150/suppl_file/nejmc1700150_appendix.pdf.

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 1           therapy. We believe that this citation pattern contributed to the North American
             opioid crisis by helping to shape a narrative that allayed prescribers’ concerns about
 2           the risk of addiction associated with long-term opioid therapy. In 2007, the
             manufacturer of OxyContin and three senior executives pleaded guilty to federal
 3
             criminal charges that they misled regulators, doctors, and patients about the risk of
 4           addiction associated with the drug. Our findings highlight the potential
             consequences of inaccurate citation and underscore the need for diligence when
 5           citing previously published studies.196
 6           351.      These researchers’ careful analysis demonstrates the falsity of Defendants’ claim

 7   that this 1980 letter was evidence of a low risk of addiction in opioid-treated patients. By casting

 8   this letter as evidence of low risk of addiction, Defendants played fast and loose with the truth,

 9   with blatant disregard for the consequences of their misrepresentations.

10   G.      The Opioid Crisis Has Been Especially Devastating to Native American
11           Communities.

12           352.      While the opioid epidemic has not spared any community in the United States,

13   Native American communities have been particularly devastated by the crisis. As the National

14   Congress of American Indians explained in a resolution calling for increased resources to combat

15   opioid abuse and addiction in Indian Country, “drug trafficking, prescription drug abuse and the

16   resulting heroin and opioid epidemics have plagued Native American communities throughout

17   Indian Country, causing countless deaths of many young people from overdoses and

18   suicide[.]”197 This epidemic “poses a direct threat to Native citizens and the future of Indian

19   Country[.]”198

20           353.      Despite the perception that white Americans have been hardest hit by the opioid

21   epidemic, opioid overdoses have consistently claimed Native American lives at rates higher than

22   or equal to those of whites. As stated above, an analysis of data from 1999 to 2009 showed that

23   the incidence of prescription opioid overdoses for Native Americans was slightly higher than the

24   196
         Leung, et al., supra note 112.
     197
         In Support of Increasing Resources in Native American Communities to Combat Heroin and Opioid Abuse and
25     Addiction in Indian Country, National Congress of American Indians, Resolution # PHX-16-027 (2016),
       http://www.ncai.org/resources/resolutions/in-support-of-increasing-resources-in-native-american-communities-to-
26     combat-heroin-and-opioid-abuse-and-addiction-in-indian-country.
     198
         Id.

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 1   incidence rate for whites, and the same was true in 2014. In addition, looking at drug overdoses

 2   more generally, a race-corrected analysis in the Portland Indian Health Service Area, which

 3   includes Idaho, Oregon, and Washington, found the age-adjusted drug overdose death rate for

 4   American Indians and Alaska Natives for opioids, prescription drug, and all drug overdoses to be

 5   twice that of non-Hispanic whites.199

 6         354.        In 2015, both Native Americans and whites experienced opioid overdoses at much

 7   higher rates than other groups, as shown in the below graph, which compares heroin and non-

 8   heroin opioid death rates across ethnic groups.200

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24   199
         Letter from Nw. Portland Area Indian Health Board to Senate Fin. Comm. at 1-2 (Feb. 16, 2018),
       https://www.finance.senate.gov/download/northwest-portland-area-indian-health-board.
     200
25       The Opioid Epidemic: National Trends in Opioid-Related Overdose Deaths from 2000 to 2015, State Health
       Access Data Assistance Center ( June 2017),
26     http://www.shadac.org/sites/default/files/publications/US%20opioid%20brief%202017%20web.pdf.


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 1           355.      In 2016, whites and Native Americans died as a result of prescription opioid

 2   overdoses at roughly the same rate, while whites had higher rates of overdose from synthetic

 3   opioids such as fentanyl.201

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16           356.      Since the Marketing Defendants began aggressively promoting the widespread

17   use of prescription opioids in the late 1990s, the rate of opioid overdoses among Native

18   Americans has grown every year.202

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24   201
         Alex Berezow, White Overdose Deaths 50% Higher Than Blacks, 167% Higher Than Hispanics, Am. Council on
       Sci. and Health (Apr. 5, 2018), https://www.acsh.org/news/2018/04/05/white-overdose-deaths-50-higher-blacks-
25     167-higher-hispanics-12804.
     202
         The Opioid Crisis Impact on Native American Communities, Albuquerque Area Sw. Tribal Epidemiology Ctr.,
26     https://tribalepicenters.org/wp-content/uploads/2018/03/AASTEC-opioids-fact-sheet.pdf (last visited July 16,
       2018).

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 9            357.     As the graph below illustrates, heroin only began to factor into this overdose rate

10   in recent years. From 2010 to 2014, the death rate from heroin overdoses among Native

11   Americans increased by 236%.203

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19            358.     In Washington State, Native Americans die from opioid overdose at the rate of

20   twenty-nine deaths per 100,000 people, compared to a rate of twelve for Caucasians, eleven for

21   African Americans, three for Latinos, and two for Asians.204

22            359.     As high as these reported overdose rates are, it is likely that they represent

23   underreporting. The CDC has acknowledged that because of the misclassification of race listed

24
     203
        Nolan and Amico, supra note 2.
     204
25       Christine Vestal, Fighting Opioid Abuse in Indian Country, Pew Charitable Trusts (Dec. 6, 2016),
       http://www.pewtrusts.org/en/research-and-analysis/blogs/stateline/2016/12/06/fighting-opioid-abuse-in-indian-
26     country.


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 1   on death certificates, the actual numbers for deaths of Native Americans might be

 2   underestimated by up to 35%.205

 3           360.      The opioid epidemic has multi-generational impacts on tribal communities. The

 4   rate of Native American infants born dependent on opioids has climbed steeply in recent years.

 5   As discussed above, when a woman uses opioids while pregnant, her child may suffer from

 6   NAS—opioid withdrawal upon birth. Infants suffering from NAS require extensive care, which

 7   in some instances includes carefully tapered doses of the opioid morphine to counteract the

 8   symptoms of withdrawal.206 Particularly among Native Americans, the use of opioids during

 9   pregnancy has skyrocketed. Between 2009 and 2012, more than one in ten Native American

10   women were diagnosed with opioid dependency or abuse during pregnancy—8.7 times the rate

11   among non-Hispanic white women.207

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     205
         Morbidity and Mortality Weekly Report — Illicit Drug Use, Illicit Drug Use Disorders, and Drug Overdose
23     Deaths in Metropolitan and Nonmetropolitan Areas — United States, Ctrs. for Disease Control and Prevention
       (Oct. 20, 2017), https://www.cdc.gov/mmwr/volumes/66/ss/pdfs/ss6619.pdf.
24   206
         See Neonatal Abstinence Syndrome: Indian Health Service (IHS) Best Practices Guidelines,
       https://www.ihs.gov/odm/includes/themes/responsive2017/display_objects/documents/NAS-Guidelines-
25     Recommendation.pdf.
     207
         Jennifer DuPuis, The Opioid Crisis in Indian Country – Part One,
26     https://www.nihb.org/docs/06162016/Opioid%20Crisis%20Part%20in%20Indian%20Country.pdf (last visited
       July 16, 2018).

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15           361.      In addition, as discussed above, tribes bear the responsibility and expense of
16   caring for children whose parents are addicted to opioids. The number of Native American
17   children who must be separated from their parents has increased dramatically due to the opioid
18   epidemic, outstripping the number of tribal members who are able to take in children in need of
19   placement. As a result, tribal children frequently must be separated not only from their families,
20   but from their tribes and culture.208
21

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23   208
         Paige Winfield Cunningham, The Health 202: Opioid company blames government for Native American crisis,
       Washington Post (Apr. 2, 2018), https://www.washingtonpost.com/news/powerpost/paloma/the-health-
24     202/2018/04/02/the-health-202-opioid-company-blames-government-for-native-american-
       crisis/5abd0fae30fb042a378a2f42/?utm_term=.cfadc1346cbc; Justin Wingerter, Creeks, fearful of ‘losing children
25     from the tribe forever,’ sue opioid makers and distributors, Oklahoman (Apr. 4, 2018, 12:44pm),
       hhttp://newsok.com/article/5589586/creeks-fearful-of-losing-children-from-the-tribe-forever-sue-opioid-makers-
26     and-distributors.


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 1            362.     Native American adolescents have also been disproportionately affected by the

 2   epidemic. A survey from the National Institute on Drug Abuse found that from 2009 to 2012,

 3   Native American students’ annual use of heroin and OxyContin was two to three times higher

 4   than the national average.209 According to CDC data from 2012, the reported rate of non-medical

 5   use of prescription opioids among Native American adolescents was twice as high as that of

 6   white adolescents and three times as high as African American adolescents.210

 7            363.     Tribes also must shoulder the costs of treating tribal members who are addicted to

 8   opioids, as well as addressing the ripple effects of addiction on those tribal members’ families

 9   and communities. This includes, for some tribes, providing medication-assisted treatment

10   (“MAT”), counseling, and culturally appropriate services.

11            364.     Fighting opioid addiction and abuse on a community level, however, is extremely

12   expensive. Moreover, because they are sovereign nations, tribes are not systematically included

13   in statewide public-health initiatives such as prevention and interventions funded through opioid

14   crisis grants, leaving tribal governments to bear the economic burdens of responding to the crisis

15   to an even greater degree than non-tribal jurisdictions.211 As the Affiliated Tribes of Northwest

16   Indians declared in January 2018, the opioid epidemic is “one of the most dangerous epidemics

17   Indian Country has ever seen,” and combating it means that “tribes have allocated more precious

18   government resources than ever to various areas of tribal government from law enforcement, to

19   tribal court and justice services, to medical treatment, to rehabilitation, to social services, to

20   prevention and education[.]”212

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     209
         Native Americans hit hard by opioid epidemic, CBS News (Sept. 21, 2016, 12:48pm),
23     https://www.cbsnews.com/news/native-americans-hit-hard-by-opioid-epidemic/.
     210
         IHS Grapples with Pervasive Prescription Opioid Misuse in Tribal Areas, U.S. Medicine (Jan. 10, 2012),
24     http://www.usmedicine.com/clinical-topics/addiction/ihs-grapples-with-pervasive-prescription-opioid-misuse-in-
       tribal-areas/.
25   211
         Addressing the Opioid Epidemic in American Indian and Alaska Native Communities, National Indian Health
       Board, https://www.nihb.org/docs/09182017/Opioids%20One%20pager.PDF (last visited July 16, 2018).
26   212
         Support for Tribal Nations Taking on Big Pharma to Combat the Opioid Epidemic in Indian Country, Affiliated
       Tribes of Northwest Indians, Resolution #18-01 (2018), http://www.atnitribes.org/sites/default/files/Res-18-01.pdf.

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 1           365.      The opioid epidemic has affected virtually every other function of tribal

 2   government as well. Tribal departments that maintain tribal lands now must contend with

 3   increasing numbers of used hypodermic needles—hazardous refuse of the opioid crisis. Law

 4   enforcement agencies of some tribes now carry naloxone in light of the number of opioid

 5   overdoses that they encounter. Tribal courts are overwhelmed with criminal cases of unlawful

 6   possession of opioids or other opioid-related crimes, such as theft committed to purchase

 7   opioids. And among all tribal departments, there is a significant loss of worker productivity due

 8   to opioid dependence or abuse.

 9   H.      The Lummi Nation Has Been Directly Affected by the Opioid Epidemic Caused by
10           Defendants.

11           366.      Like other sovereign Indian nations, the Lummi Nation has felt the profound

12   consequences of the opioid epidemic. As a direct result of Defendants’ aggressive marketing

13   scheme and efforts to increase the excessive distribution of prescription opioids, the Lummi

14   Nation has suffered significant and ongoing harms—harms that will continue well into the

15   future. Each day that Defendants continue to evade responsibility for the epidemic they caused,

16   the Lummi Nation must continue allocating substantial resources to address it.

17           367.      The effects of the opioid epidemic on the Lummi Nation are extraordinary. As

18   noted above, in the early 2000s, tribal leaders estimated that 500 members of the Lummi Nation

19   were addicted to heroin or painkillers. In 2015, the Lummi experienced two overdose deaths

20   from a relevant population of 4,150 people. This is approximately 5.6 times the statewide rate of

21   8.6 overdose deaths per 100,000 Washington residents in the same year.213

22           368.      The damage from the opioid epidemic has reached even the youngest members of

23   the Lummi Nation. The Lummi Nation has seen increasing numbers of newborns born with

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26   213
        See Opioid Trends Across Washington State, U. of Wash. Alcohol & Drug Abuse Inst. (Apr. 2015)
       http://adai.uw.edu/pubs/infobriefs/ADAI-IB-2015-01.pdf.

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 1   opioid exposure. As noted above, eleven of the eighty-four infants born to tribal members on the

 2   Reservation in 2017 suffered from NAS.

 3           369.      Although McKesson is the only distributor that supplies prescription opioids to

 4   Lummi Tribal Health Center (“LTHC”), the other Distributor Defendants also contributed to the

 5   opioid crisis that is plaguing the Lummi Nation by distributing opioids to areas surrounding the

 6   Reservation. Once opioids are diverted into the illicit market, they do not stay put. Drug

 7   traffickers use couriers or other methods to move prescription opioids across state lines and

 8   sovereign tribal borders alike. As discussed above, for example, a pill mill in Los Angeles

 9   supplied OxyContin to a drug dealer in Everett, Washington.214 In another example, the DEA

10   charged a trafficking ring with transporting oxycodone, hydromorphone, hydrocodone, and

11   methadone, as well as heroin and methamphetamine, from major cities in Minnesota, Wisconsin,

12   Illinois, and Michigan to the Red Lake and White Earth Indian Reservations in Minnesota and to

13   Native American communities in North Dakota.215 As these examples illustrate, prescription

14   opioids diverted into illicit markets travel across state and tribal borders. By continuing to

15   distribute excessive quantities of prescription opioids even where diversion was known or

16   suspected, each Distributor Defendant contributed to the opioid epidemic on the Reservation.

17           370.      The Lummi Nation has been working to confront many consequences of the

18   epidemic caused by Defendants’ reckless promotion and distribution of prescription opioids. The

19   costs described in the following sections are illustrative but not exhaustive examples of the

20   significant burden the opioid crisis has imposed on the Lummi Nation.

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25   214
        Ryan, et al., supra note 54.
     215
        Press Release, U.S. Dep’t of Justice, U.S. Attorney’s Office, District of Minnesota, Forty-One Defendants
26     Charged with Conspiracy to Traffic Heroin and Prescription Opioids to Upper Midwest Indian Reservations (May
       28, 2015), http://www.whiteearth.com/news/index.html@news_id=108.html.

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 1           1.        The Lummi Nation’s health care services have incurred substantial costs in
                       dealing with the crisis caused by Defendants.
 2
                       a.      Lummi Tribal Health Center
 3

 4           371.      The Lummi Nation provides health care to tribal members pursuant to a self-

 5   governance compact, which allows the Lummi Nation to reallocate federal funds to best suit the

 6   needs of its population. The Lummi Nation provides health care services on the Reservation,

 7   through the Lummi Tribal Health Center (“LTHC”).

 8           372.      LTHC offers comprehensive clinical services including medical care, counseling,

 9   a pharmacy, dental care, diabetes care, substance abuse services, and a variety of community

10   health services.

11           373.      LTHC, which strives to raise the health status of the Lummi people and of other

12   American Indian and Alaska Natives to the highest possible level, must direct substantial

13   resources to combating the opioid crisis. For example, the Lummi Nation provides medication-

14   assisted treatment (“MAT”), including buprenorphine, Suboxone, and Vivitrol, for patients

15   addicted to opioids. Through its syringe exchange program, the Lummi Nation has supplied

16   more than 37,000 syringes, in addition to sharps containers and other injection supplies, at a cost

17   of more than $20,000. The Lummi Nation also distributes naloxone in the community, and trains

18   its employees to administer the treatment in overdose emergencies. For 2018, the Lummi Nation

19   budgeted $20,000 for the emergency drug.

20           374.      The necessity of confronting the unrelenting opioid crisis means that sufficient

21   resources cannot be directed to other health needs of the Lummi community. Funding instead

22   must be used to attempt to manage the effects of the opioid epidemic that Defendants created.

23           375.      Despite LTHC’s efforts to reduce the effects of the opioid crisis on the tribal

24   community, opioid addiction is ever-present in the clinic and throughout the Reservation.

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 1                     b.      Lummi Chemical Addiction Recovery and Education

 2           376.      The mission of the Lummi Chemical Addiction Recovery and Education

 3   (“CARE”) program is to provide chemical dependency education and treatment to Native

 4   American families in the area through a comprehensive outpatient counseling program.

 5           377.      The opioid epidemic has increased the incidence of substance abuse disorder on

 6   the Reservation, straining the resources of the CARE program. While the Lummi Nation has

 7   dedicated substantial funds to the CARE program, opioid addiction continues to spread.

 8                     c.      Se-Eye-Chen Youth Program

 9           378.      Because of the high rate of substance abuse among Lummi youth, the Lummi

10   Nation offers 24-7 chemical recovery services for youth who are thirteen to eighteen years old.

11   The Se-Eye-Chen Youth Program includes clean and sober transitional living services, a drug

12   treatment facility, chemical dependency evaluations, cultural and art therapy, group support

13   meetings, and referrals.

14           379.      The opioid epidemic has increased the need for the Se-Eye-Chen Youth

15   Program’s services.

16                     d.      Adult Inpatient Drug Treatment

17           380.      The Lummi Nation funds admissions for adults into drug treatment programs off

18   the Reservation. Those resources could otherwise be used for other healthcare costs of tribal

19   members.

20           381.      Although the Lummi Nation currently lacks the funds to provide inpatient drug

21   treatment for adults on the Reservation, being able to provide culturally appropriate inpatient

22   treatment for tribal members on the Reservation is of vital importance. Each instance in which a

23   tribal member has to leave the Reservation to obtain treatment—which may be required long-

24   term—further divests the Lummi Nation of its people and the connection and community

25   between tribal members on the Reservation.

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 1           2.        The opioid epidemic has contributed to homelessness on the Lummi
                       Reservation.
 2

 3           382.      Another particularly visible effect of the opioid epidemic on the Reservation is the

 4   homeless population. In recent years, the Reservation’s homeless population has increased.

 5   Although the causes of homelessness are multi-faceted and complex, substance abuse is both a

 6   contributing cause and result of homelessness. Opioid-use disorder is a significant factor that

 7   prevents someone from maintaining economic well-being and housing stability.

 8           3.        The Lummi Nation’s criminal justice system has incurred substantial costs in
 9                     responding to the epidemic caused by Defendants.

10                     a.      Lummi Nation Police Department

11           383.      The Lummi Nation Police Department (“LNPD”) is an entity of the Lummi

12   Nation and serves the entire Reservation. The Department’s officers encounter opioid use and

13   abuse daily in their contacts with individuals on the Reservation, including finding syringes,

14   responding to opioid overdoses, and making arrests for opioid-related crimes.

15           384.      Given the high price of prescription opioids on the black market, it is not

16   uncommon for individuals with opioid-use disorder to turn to burglary and other property crimes,

17   including retail theft and car prowls.

18           385.      Law enforcement resources devoted to combating the attending crimes associated

19   with the opioid epidemic result in fewer resources for the prevention and investigation of other

20   public safety matters.

21           386.      The Department also bears the cost of maintaining a drug take-back site to reduce

22   the number of opioids in the community.

23                     b.      Jail Costs

24           387.      The Lummi Nation contracts with Whatcom and Yakima Counties to house

25   offenders. The Lummi Nation’s costs of incarcerating criminal defendants and convicted

26   offenders have risen dramatically because of the opioid crisis.

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 1           388.      The Lummi Nation has experienced an increase in incarcerations of individuals

 2   arrested for possession of opioids and for opioid-related crimes. The higher number of

 3   incarcerations has resulted in increased costs for housing offenders with Whatcom and Yakima

 4   County.

 5                     c.      Court, Public Defense, and Prosecution Costs

 6           389.      The Lummi Nation also has seen its expenses related to criminal adjudications

 7   surge because of the opioid epidemic.

 8           390.      There has been a rise in the number of criminal cases in the Lummi Tribal Court

 9   because of the opioid epidemic, including not only offenses directly concerning possession and

10   sale of opioids and methamphetamine, but also property and theft crimes driven by addiction. In

11   response, the Lummi Nation has expended additional resources for the tribal prosecutor to bring

12   charges against offenders for opioid-related crimes, for its public defender’s office to represent

13   those accused, and for the tribal court to adjudicate the cases.

14                     d.      Healing to Wellness Court

15           391.      As an alternative to prosecution for tribal members charged with offenses arising

16   from drug abuse, the Lummi Nation also runs a Healing to Wellness Court.

17           392.      Because of the opioid crisis, the Lummi Nation has incurred increased expenses

18   in funding the added need for the Healing to Wellness Court program.

19                     e.      Family Wellness Court

20           393.      Because of the high incidence of Lummi parents and children suffering from

21   substance-use disorders, the Lummi Nation recently started a Family Wellness Court to reunify

22   families from which children have been removed due to abuse or neglect. The Family Wellness

23   Court provides wrap-around services including the court, a substance abuse counselor, attorneys,

24   a housing advocate, and a case worker.

25           394.      The opioid crisis has increased the need for the Family Wellness Court’s services.

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 1           4.        The Lummi Nation has expended significant resources on social services,
                       attempting to protect and care for tribal children and elders who have been
 2                     affected by the opioid epidemic.

 3           395.      To protect vulnerable members of the community, the Lummi Nation dedicates

 4   considerable resources to child protection and care for elders. The Lummi Nation’s social

 5   services are extremely underfunded, however, in comparison to the enormity of the opioid crisis

 6   that confronts the community.

 7                     a.      Lummi Child Welfare

 8           396.      The mission of Lummi Child Welfare is to provide culturally relevant support

 9   services to children and families of the Lummi Nation, including foster care, alternative parental

10   care, and prevention of abuse and neglect.

11           397.      The opioid epidemic has forced the Lummi Nation to undertake great efforts to

12   provide services for tribal children whose parents are struggling with addiction. As noted above,

13   addiction is the primary or secondary safety issue in approximately 95% of Lummi Child

14   Welfare cases.

15                     b.      Elder services

16           398.      The opioid epidemic has impacted not only young community members but the

17   elders as well. The Lummi Nation has incurred increased costs serving elders who have been

18   affected by the opioid crisis.

19           399.      Many elders are unable to sufficiently care for themselves because they are

20   addicted to opioids. Additionally, some tribal members rely on elder services from a younger age

21   because they are recovering from addiction, increasing the demand for the program’s resources.

22   Many elders require increased support from the Lummi Nation because they are also supporting

23   their children and grandchildren who are struggling with substance abuse. Furthermore, children

24   and grandchildren who are addicted to opioids may support their addiction in part by stealing

25   from their elders, who in turn must depend on the Lummi Nation for resources.

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 1           5.        The Lummi Nation has been damaged due to lost productivity of tribal
                       members and employees resulting from the opioid epidemic.
 2

 3           400.      The Lummi Nation depends on the productivity of its tribal members and

 4   employees for the continued vitality of its tribal government. Because of the wave of opioid

 5   abuse and addiction caused by Defendants’ misconduct, the Lummi Nation has suffered damages

 6   in the form of lost productivity of members and employees, increased administrative costs, and

 7   lost opportunity for growth and self-determination.

 8   I.      No Federal Agency Action, Including by the FDA, Can Provide the Relief the
 9           Lummi Nation Seeks Here.

10           401.      The injuries the Lummi Nation has suffered and will continue to suffer cannot be

11   addressed by agency or regulatory action. There are no rules the FDA could make or actions the

12   agency could take that would provide the Lummi Nation the relief it seeks in this litigation.

13           402.      Even if prescription opioids were entirely banned today or used only for their

14   intended purpose, millions of Americans, including tribal members and other Reservation

15   residents, will remain addicted to opioids, and overdoses will continue to claim lives. The

16   Lummi Nation Police Department will continue to spend additional resources combating the

17   effects of opioid addiction on the Reservation, and the tribal prosecutor and tribal court will

18   remain burdened with opioid-related crimes. Social services such as child and elder welfare

19   programs will continue to be stretched thin. And even tribal members who are successfully in

20   recovery may require medication-assisted treatment for years or for life because of the long-

21   lasting effects of addiction on the brain.

22           403.      Regulatory action would do nothing to compensate the Lummi Nation for the

23   money and resources it has already expended addressing the impacts of the opioid epidemic and

24   the resources it will need in the future. Only this litigation has the ability to provide the Lummi

25   Nation with the relief it seeks.

26

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 1           404.      Furthermore, the costs the Lummi Nation has incurred in responding to the opioid

 2   crisis and in rendering public services described above are recoverable pursuant to the causes of

 3   actions raised by the Lummi Nation. Defendants’ misconduct alleged herein is not a series of

 4   isolated incidents, but instead the result of a sophisticated and complex marketing scheme over

 5   the course of more than twenty years that has caused a substantial and long-term burden on the

 6   services provided by the Lummi Nation. In addition, the public nuisance created by Defendants

 7   and the Lummi Nation’s requested relief in seeking abatement further compels Defendants to

 8   reimburse and compensate the Lummi Nation for substantial costs it has spent addressing the

 9   crisis caused by Defendants.

10                       V.   CLAIMS FOR RELIEF
     COUNT ONE — VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION
11                        ACT, RCW 19.86, ET SEQ.
12           405.      Plaintiff repeats, reasserts, and incorporates the allegations contained above as if
13   fully set forth herein.
14           406.      The Washington Consumer Protection Act is codified at RCW 19.86 et seq.
15   (“CPA”). The CPA establishes a comprehensive framework for redressing the violations of
16   applicable law. RCW 19.86.090. The conduct at issue in this case falls within the scope of the
17   CPA.
18           407.      The CPA prohibits unfair methods of competition and unfair or deceptive acts or
19   practices in the conduct of any trade or commerce. Defendants engaged and continue to engage
20   in the same pattern of unfair methods of competition, and unfair and/or deceptive conduct
21   pursuant to a common practice of misleading the public regarding the purported benefits and
22   risks of opioids.
23           408.      Manufacturing Defendants, at all times relevant to this Complaint, directly and/or
24   through their control of third parties, violated the CPA by making unfair and/or deceptive
25   representations about the use of opioids to treat chronic and non-cancer pain, including to
26   physicians and consumers in the Lummi Nation’s territory. Each Manufacturing Defendant also

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 1   omitted or concealed material facts and failed to correct prior misrepresentations and omissions

 2   about the purported benefits and risks of opioids. In addition, each Manufacturing Defendant’s

 3   silence regarding the full risks of opioid use constitutes deceptive conduct prohibited by the

 4   CPA.

 5           409.      The Distributor Defendants, at all times relevant to this Complaint, directly and/or

 6   through their control of third parties, violated the CPA by making unfair and/or deceptive

 7   representations about their compliance with their obligations to maintain effective controls

 8   against diversion of prescription opioids and to report suspicious orders. The Distributor

 9   Defendants concealed the extent of their opioid distribution in order to avoid the issuance of

10   restrictive quotas, and manipulated the political process to shield themselves from enforcement

11   actions that would have stopped shipments of opioids.

12           410.      These unfair methods of competition and unfair and/or deceptive acts or practices

13   in the conduct of trade or commerce were reasonably calculated to deceive the Lummi Nation

14   and its consumers, and did in fact deceive the Lummi Nation and its consumers. Each

15   Manufacturing Defendant’s misrepresentations, concealments, and omissions continue to this

16   day.

17           411.      The Lummi Nation has paid money for health care costs associated with

18   prescription opioids for chronic pain. The Lummi Nation has also paid significant sums of

19   money treating those covered by the Lummi Nation’s health insurance for other opioid-related

20   health costs. The Defendants’ misrepresentations have further caused the Lummi Nation to spend

21   substantial sums of money on increased law enforcement, emergency services, social services,

22   public safety, and other human services, as described above.

23           412.      But for these unfair methods of competition and unfair and/or deceptive acts or

24   practices in the conduct of trade or commerce, the Lummi Nation would not have incurred the

25   massive costs related to the epidemic caused by Defendants, as fully described above.

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 1           413.      Logic, common sense, justice, policy, and precedent indicate Manufacturing

 2   Defendants’ unfair and deceptive conduct has caused the damage and harm complained of

 3   herein. Manufacturing Defendants knew or reasonably should have known that their statements

 4   regarding the risks and benefits of opioids were false and misleading, and that their statements

 5   were causing harm from their continued production and marketing of opioids. The Distributor

 6   Defendants knew or reasonably should have known that the proliferation of prescription opioids

 7   was causing damage to the Lummi Nation. Thus, the harms caused by Defendants’ unfair and

 8   deceptive conduct to the Lummi Nation were reasonably foreseeable, including the financial and

 9   economic losses incurred by the Lummi Nation.

10           414.      As a direct and proximate cause of each Defendant’s unfair and deceptive

11   conduct, (i) the Lummi Nation has sustained and will continue to sustain injuries, and (ii)

12   pursuant to RCW 19.86.090, the Lummi Nation is entitled to actual and treble damages in

13   amounts to be determined at trial, attorneys’ fees and costs, and all other relief available under

14   the CPA.

15           415.      The Court should also grant injunctive relief enjoining Defendants from future

16   violations of the CPA. Defendants’ actions, as complained of herein, constitute unfair

17   competition or unfair, deceptive, or fraudulent acts or practices in violation of the CPA.

18                                 COUNT TWO — PUBLIC NUISANCE

19           416.      Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

20   fully set forth herein.

21           417.      Pursuant to RCW 7.48.010, an actionable nuisance is defined as, inter alia,

22   “whatever is injurious to health or indecent or offensive to the senses . . .”

23           418.      Pursuant to RCW 7.48.130, “A public nuisance is one which affects equally the

24   rights of an entire community or neighborhood, although the extent of the damage may be

25   unequal.”

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 1           419.      The Lummi Nation, tribal members, and other residents of the Reservation have a

 2   right to be free from conduct that endangers their health and safety. Yet Defendants have

 3   engaged in conduct which endangers or injures the health and safety of the Lummi Nation, tribal

 4   members, and other residents of the Reservation by the production, promotion, distribution, and

 5   marketing of opioids for use by tribal members and other residents of the Reservation and in a

 6   manner that substantially interferes with the welfare of the Lummi Nation.

 7           420.      Each Defendant has created or assisted in the creation of a condition that is

 8   injurious to the health and safety of the Lummi Nation, tribal members, and other residents of the

 9   Reservation, and interferes with the comfortable enjoyment of life and property of entire

10   communities and/or neighborhoods in the Reservation.

11           421.      Defendants’ conduct has directly caused deaths, serious injuries, and a severe

12   disruption of the public peace, order and safety, including fueling the homelessness and heroin

13   crises facing the Lummi Nation described herein. Defendants’ conduct is ongoing and continues

14   to produce permanent and long-lasting damage.

15           422.      The health and safety of the residents of the Reservation, including those who use,

16   have used, or will use opioids, as well as those affected by users of opioids, are matters of

17   substantial public interest and of legitimate concern to the Lummi Nation, tribal members, and

18   other residents of the Reservation.

19           423.      Defendants’ conduct has affected and continues to affect a substantial number of

20   people within the Reservation and is likely to continue causing significant harm to patients with

21   chronic pain who are being prescribed and take opioids, their families, and their communities.

22           424.      But for Defendants’ actions, opioid use and ultimately its misuse and abuse would

23   not be as widespread as it is today, and the massive epidemic of opioid abuse that currently exists

24   would have been averted.

25           425.      Logic, common sense, justice, policy, and precedent indicate Defendants’ unfair

26   and deceptive conduct has caused the damage and harm complained of herein. Manufacturing

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 1   Defendants knew or reasonably should have known that their statements regarding the risks and

 2   benefits of opioids were false and misleading, and that their false and misleading statements

 3   were causing harm from their continued production and marketing of opioids. Distributor

 4   Defendants knew that the widespread distribution of opioids would endanger the health and

 5   safety of residents of the Reservation. Thus, the public nuisance caused by Defendants to the

 6   Lummi Nation was reasonably foreseeable, including the financial and economic losses incurred

 7   by the Lummi Nation.

 8           426.      In addition, engaging in any business in defiance of a law regulating or

 9   prohibiting the same is a nuisance per se under Washington law. Each Defendant’s conduct

10   described herein of deceptively marketing or excessively distributing opioids violates

11   RCW 7.48.010 and therefore constitutes a nuisance per se.

12           427.      As a direct and proximate cause of Defendants’ conduct creating or assisting in

13   the creation of a public nuisance, Lummi Nation, the tribal community, and residents of the

14   Reservation have sustained and will continue to sustain substantial injuries.

15           428.      Pursuant to RCW 7.48.020, the Lummi Nation requests an order providing for

16   abatement of the public nuisance that each Defendant has created or assisted in the creation of,

17   and enjoining Defendants from future violations of RCW 7.48.010.

18           429.      The Lummi Nation also seeks the maximum statutory and civil penalties

19   permitted by law as a result of the public nuisance created by Defendants.

20                                   COUNT THREE — NEGLIGENCE

21           430.      Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

22   fully set forth herein.

23           431.      Under Washington law, a cause of action arises for negligence when a defendant

24   owes a duty to a plaintiff and breaches that duty, and proximately causes the resulting injury.

25   Iwai v. State, 129 Wn. 2d 84, 96, 915 P.2d 1089 (1996).

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 1           432.      Each Defendant owed a duty of care to the Lummi Nation, including but not

 2   limited to taking reasonable steps to prevent the misuse, abuse, and over-prescription of opioids.

 3           433.      In violation of this duty, Defendants failed to take reasonable steps to prevent the

 4   misuse, abuse, and over-prescription of opioids in the Reservation by misrepresenting the risks

 5   and benefits associated with opioids and by distributing dangerous quantities of opioids.

 6           434.      As set forth above, Manufacturing Defendants’ misrepresentations include falsely

 7   claiming that the risk of opioid addiction was low, falsely instructing doctors and patients that

 8   prescribing more opioids was appropriate when patients presented symptoms of addiction,

 9   falsely claiming that risk-mitigation strategies could safely address concerns about addiction,

10   falsely claiming that doctors and patients could increase opioid usage indefinitely without added

11   risk, deceptively marketing that purported abuse-deterrent technology could curb misuse and

12   addiction, and falsely claiming that long-term opioid use could actually restore function and

13   improve a patient’s quality of life. Each of these misrepresentations made by Defendants violated

14   the duty of care to the Lummi Nation.

15           435.      Distributor Defendants negligently distributed enormous quantities of potent

16   narcotics and failed to report such distributions. Distributor Defendants violated their duty of

17   care by moving these dangerous products into the Reservation and/or the surrounding areas in

18   such quantities, facilitating diversion, misuse, and abuse of opioids.

19           436.      As a direct and proximate cause of Defendants’ unreasonable and negligent

20   conduct, Plaintiff has suffered and will continue to suffer harm, and is entitled to damages in an

21   amount determined at trial.

22                               COUNT FOUR — GROSS NEGLIGENCE

23           437.      Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

24   fully set forth herein.

25

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 1           438.      As set forth above, each Defendant owed a duty of care to the Lummi Nation,

 2   including but not limited to taking reasonable steps to prevent the misuse, abuse, and over-

 3   prescription of opioids.

 4           439.      In violation of this duty, each Defendant failed to take reasonable steps to prevent

 5   the misuse, abuse, and over-prescription of opioids in the Reservation by misrepresenting the

 6   risks and benefits associated with opioids.

 7           440.      In addition, each Defendant knew or should have known, and/or recklessly

 8   disregarded, that the opioids they manufactured, promoted, and distributed were being used for

 9   unintended uses.

10           441.      For instance, Defendants failed to exercise slight care to the Lummi Nation by,

11   inter alia, failing to take appropriate action to stop opioids from being used for unintended

12   purposes. Furthermore, despite each Defendant’s actual or constructive knowledge of the wide

13   proliferation and dissemination of opioids in the Reservation, Defendants took no action to

14   prevent the abuse and diversion of their pharmaceutical drugs. In fact, Manufacturing Defendants

15   promoted and actively targeted doctors and their patients through training their sales

16   representatives to encourage doctors to prescribe more prescription opioids.

17           442.      Manufacturing Defendants’ misrepresentations further include falsely claiming

18   that the risk of opioid addiction was low, falsely instructing doctors and patients that prescribing

19   more opioids was appropriate when patients presented symptoms of addiction, falsely claiming

20   that risk-mitigation strategies could safely address concerns about addiction, falsely claiming that

21   doctors and patients could increase opioid usage indefinitely without added risk, deceptively

22   marketing that purported abuse-deterrent technology could curb misuse and addiction, and

23   falsely claiming that long-term opioid use could actually restore function and improve a patient’s

24   quality of life. Each of these misrepresentations made by Manufacturing Defendants violated the

25   duty of care to the Lummi Nation, in a manner that is substantially and appreciably greater than

26   ordinary negligence.

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 1            443.     Distributor Defendants continued to funnel enormous quantities of potent opioids

 2   into the Reservation and/or the surrounding areas, long after they knew that these products were

 3   being misused, abused, and diverted. By permitting the movement of massive amounts of

 4   dangerous narcotics into the Reservation, Distributor Defendants endangered the health and

 5   safety of the Lummi Nation, tribal members, and other residents of the Reservation, in a manner

 6   that is substantially and appreciably greater than ordinary negligence.

 7            444.     As a direct and proximate cause of each Defendant’s gross negligence, Plaintiff

 8   has suffered and will continue to suffer harm, and is entitled to damages in an amount

 9   determined at trial.

10                               COUNT FIVE — UNJUST ENRICHMENT

11            445.     Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

12   fully set forth herein.

13            446.     Each Defendant was required to take reasonable steps to prevent the misuse,

14   abuse, and over-prescription of opioids.

15            447.     Rather than prevent or mitigate the wide proliferation of opioids into the

16   Reservation, each Defendant instead chose to place its monetary interests first and each

17   Defendant profited immensely from supplying prescription opioids to the Reservation.

18            448.     Each Defendant also failed to maintain effective controls against the unintended

19   and illegal use of their prescription opioids, again choosing instead to place its monetary interests

20   first.

21            449.     Each Defendant therefore received a benefit from the sale and distribution of

22   prescription opioids to and in the Reservation, and these Defendants have been unjustly enriched

23   at the expense of the Lummi Nation.

24            450.     As a result, the Lummi Nation is entitled to damages on their unjust enrichment

25   claim in an amount to be proven at trial.

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 1   COUNT SIX — VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
              ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961, ET SEQ.
 2

 3           451.      Plaintiff hereby incorporates by reference the allegations contained in the

 4   preceding paragraphs of this complaint.

 5           452.      This claim is brought by the Lummi Nation against each Defendant for actual

 6   damages, treble damages, and equitable relief under 18 U.S.C. § 1964 for violations of 18 U.S.C.

 7   § 1961, et seq.

 8           453.      At all relevant times, each Defendant is and has been a “person” within the

 9   meaning of 18 U.S.C. § 1961(3), because each Defendant is capable of holding, and does hold,

10   “a legal or beneficial interest in property.”

11           454.      Plaintiff has standing to sue as it was and is injured in its business and/or property

12   as a result of the Defendants’ wrongful conduct described herein. 18 U.S.C. §§ 1961(3), 1964.

13           455.      Section 1962(c) makes it “unlawful for any person employed by or associated

14   with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

15   to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

16   a pattern of racketeering activity . . . ” 18 U.S.C. § 1962(c).

17           456.      Section 1962(d) makes it unlawful for “any person to conspire to violate” Section

18   1962(c), among other provisions. See 18 U.S.C. § 1962(d).

19           457.      Each Defendant conducted the affairs of an enterprise through a pattern of

20   racketeering activity, in violation of 18 U.S.C. § 1962(c) and § 1962(d).

21   A.      Description of the Defendants’ Enterprises

22           458.      RICO defines an enterprise as “any individual, partnership, corporation,

23   association, or other legal entity, and any union or group of individuals associated in fact

24   although not a legal entity.” 18 U.S.C. § 1961(4).

25           459.      Under 18 U.S.C. § 1961(4) a RICO “enterprise” may be an association-in-fact

26   that, although it has no formal legal structure, has (i) a common purpose, (ii) relationships among

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 1   those associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise’s

 2   purpose. See Boyle v. United States, 556 U.S. 938, 946 (2009).

 3           460.      Defendants formed two such association-in-fact enterprises—referred to herein as

 4   “the Promotion Enterprise” and “the Diversion Enterprise.”

 5           461.      The Promotion Enterprise consists of the Manufacturing Defendants, Front

 6   Groups, and KOLs. In particular, the Enterprise consists of (a) Defendant Purdue, including its

 7   employees and agents, (b) Defendant Endo, including its employees and agents, (c) Defendant

 8   Janssen, including its employees and agents, (d) Defendant Cephalon, including its employees

 9   and agents, (e) Defendant Actavis, including its employees and agents, and (f) Defendant

10   Mallinckrodt, including its employees and agents (collectively, “Manufacturing Defendants”);

11   certain front groups described above, including but not limited to (a) the American Pain

12   Foundation, including its employees and agents, (b) the American Academy of Pain Medicine,

13   including its employees and agents, and (c) the American Pain Society, including its employees

14   and agents (collectively, the “Front Groups”); and certain Key Opinion Leaders, including but

15   not limited to (a) Dr. Russell Portenoy, (b) Dr. Perry Fine, (c) Dr. Lynn Webster, and (d) Dr.

16   Scott Fishman (collectively, the “KOLs”). The entities in the Promotion Enterprise acted in

17   concert to create demand for prescription opioids.

18           462.      Alternatively, each of the above-named Manufacturing Defendants and Front

19   Groups constitutes a single legal entity “enterprise” within the meaning of 18 U.S.C. § 1961(4),

20   through which the members of the enterprise conducted a pattern of racketeering activity. The

21   separate legal status of each member of the Enterprise facilitated the fraudulent scheme and

22   provided a hoped-for shield from liability for Defendants and their co-conspirators.

23           463.      Alternatively, each of the Manufacturing Defendants, together with the

24   Distributor Defendants, the Front Groups, and the KOLs, constitute separate, associated-in-fact

25   Enterprises within the meaning of 18 U.S.C. § 1961(4).

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 1           464.      The Diversion Enterprise consists of all Defendants. In particular, the Enterprise

 2   consists of (a) Defendant Purdue, including its employees and agents, (b) Defendant Endo,

 3   including its employees and agents, (c) Defendant Janssen, including its employees and agents,

 4   (d) Defendant Cephalon, including its employees and agents, (e) Defendant Actavis, including its

 5   employees and agents, (f) Defendant Mallinckrodt, including its employees and agents, (g)

 6   Defendant AmerisourceBergen, including its employees and agents, (h) Defendant Cardinal

 7   Health, including its employees and agents, and (i) Defendant McKesson, including its

 8   employees and agents (collectively, “Defendants”).

 9           465.      The CSA and its implementing regulations require all manufacturers and

10   distributors of controlled substances, including opioids, to maintain a system to identify and

11   report suspicious orders, including orders of unusual size or frequency, or orders deviating from

12   a normal pattern, and maintain effective controls against diversion of controlled substances. See

13   21 U.S.C. § 823; 21 C.F.R. §1301.74(b). The Manufacturing Defendants and the Distributor

14   Defendants alike are required to become “registrants” under the CSA, 21 U.S.C. § 823(a)-(b),

15   and its implementing regulations, which provide that “[e]very person who manufactures,

16   distributes, dispenses, imports, or exports any controlled substance. . . shall obtain a

17   registration[.]” 21 C.F.R. § 1301.11(a). Defendants’ duties as registrants include reporting

18   suspicious orders of controlled substances, which are defined as including “orders of unusual

19   size, orders deviating substantially from a normal pattern, and orders of unusual frequency.” 21

20   C.F.R. § 1301.74(b).

21           466.      The Manufacturing Defendants carried out the Diversion Enterprise by

22   incentivizing and supplying suspicious sales of opioids, despite their knowledge that their

23   opioids were being diverted to illicit use, and by failing to notify the DEA of such suspicious

24   orders as required by law. The Distributor Defendants carried out the Diversion Enterprise by

25   failing to maintain effective controls against diversion, intentionally evading their obligation to

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 1   report suspicious orders to the DEA, and conspiring to prevent limits on the prescription opioids

 2   they were oversupplying to communities like Plaintiff.

 3           467.      The Promotion Enterprise is an ongoing and continuing business organization

 4   consisting of “persons” within the meaning of 18 U.S.C. § 1961(3) that created and maintained

 5   systematic links for a common purpose: to sell highly addictive opioids for treatment of chronic

 6   pain while knowing that opioids have little or no demonstrated efficacy for such pain and have

 7   significant risk of addiction, overdose, and death.

 8           468.      The Distribution Enterprise is an ongoing and continuing business organization

 9   consisting of “persons” within the meaning of 18 U.S.C. § 1961(3) that created and maintained

10   systematic links for a common purpose: to distribute highly addictive opioids in quantities that

11   far exceeded amounts that could reasonably be considered medically necessary.

12           469.      To accomplish these purposes, the Promotion Enterprise engaged in a

13   sophisticated, well-developed, and fraudulent marketing scheme designed to increase the

14   prescription rate for Defendants’ opioid medications (the “Promotion Scheme”), and the

15   Diversion Enterprise carried out a scheme to systematically disregard, avoid, or frustrate the

16   monitoring and reporting requirements intended to prevent the widespread distribution of

17   dangerous controlled substances (the “Diversion Scheme”). The Promotion Scheme and the

18   Diversion Scheme are collectively referred to as the “Schemes.”

19   B.      The Enterprises Sought to Fraudulently Increase Defendants’ Profits and Revenues

20           470.      At all relevant times, each Defendant was aware of the conduct of the Enterprises,

21   was a knowing and willing participant in that conduct, and reaped profits from that conduct in

22   the form of increased sales and distribution of prescription opioids. In addition, the Front Groups

23   and KOLs received direct payments from the Manufacturing Defendants in exchange for their

24   role in the Promotion Enterprise, and to advance the Promotion Enterprise’s fraudulent

25   marketing scheme.

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 1           471.      The Enterprises engaged in, and their activities affected, interstate and foreign

 2   commerce because they involved commercial activities across state boundaries, including but not

 3   limited to: (1) the marketing, promotion, and distribution of prescription opioids; (2) advocacy at

 4   the state and federal level for change in the law governing the use and prescription of

 5   prescription opioids; (3) the issuance of prescriptions and prescription guidelines for opioids; (4)

 6   the issuance of fees, bills, and statements demanding payment for prescriptions of opioids; (5)

 7   payments, rebates, and chargebacks between Defendants; and (6) the creation of documents,

 8   reports, and communications related to Defendants’ reporting requirements under the CSA and

 9   its implementing regulations.

10           472.      The persons engaged in the Enterprises are systematically linked through

11   contractual relationships, financial ties, and continuing coordination of activities, as spearheaded

12   by Defendants. With respect to the Promotion Enterprise, each Manufacturing Defendant funded

13   and directed the operations of the KOLs and the Front Groups; in fact, the board of directors of

14   each of the Front Groups are and were full of doctors who were on the Manufacturing

15   Defendants’ payrolls, either as consultants or speakers at medical events. Moreover, each

16   Manufacturing Defendant coordinated and, at times, co-funded their activities in furtherance of

17   the goals of the Enterprise. This coordination can also be inferred through the consistent

18   misrepresentations described below. With respect to the Diversion Enterprise, Defendants were

19   financially linked through a system of payments, rebates, and chargebacks.

20           473.      In the Promotion Enterprise, there is regular communication between each

21   Manufacturing Defendant, each of the Front Groups, and each KOL in which information

22   regarding the Defendants’ scheme to increase opioid prescriptions is shared. Typically, this

23   communication occurred, and continues to occur, through the use of the wires and the mail in

24   which Manufacturing Defendants, the Front Groups, and the KOL share information regarding

25   the operation of the Promotion Enterprise.

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 1           474.      In the Diversion Enterprise, there is regular communication between each

 2   Defendant in which information regarding the Defendants’ scheme to oversupply opioids and

 3   avoid restrictive regulations or quotas is shared. Typically, this communication occurred, and

 4   continues to occur, through the use of the wires and the mail in which Defendants share

 5   information regarding the operation of the Diversion Enterprise.

 6           475.      The Enterprises functioned as continuing units for the purposes of executing the

 7   Schemes, and when issues arose during the Schemes, each member of the Enterprises agreed to

 8   take actions to hide the Schemes and the existence of the Enterprises.

 9           476.      Each Defendant participated in the operation and management of the Enterprises

10   by directing its affairs as described herein.

11           477.      While Defendants participate in, and are members of, the Enterprises, they have

12   an existence separate from the Enterprises, including distinct legal statuses, affairs, offices and

13   roles, officers, directors, employees, and individual personhood.

14           478.      Each Manufacturing Defendant orchestrated the affairs of the Promotion

15   Enterprise and exerted substantial control over the Promotion Enterprise by, at least: (1) making

16   misleading statements about the purported benefits, efficacy, and risks of opioids to doctors,

17   patients, the public, and others, in the form of telephonic and electronic communications, CME

18   programs, medical journals, advertisements, and websites; (2) employing sales representatives to

19   promote the use of opioid medications; (3) purchasing and utilizing sophisticated marketing data

20   (e.g., IMS data) to coordinate and refine the Promotion Scheme; (4) employing doctors to serve

21   as speakers at or attend all-expense paid trips to programs emphasizing the benefits of

22   prescribing opioid medications; (5) funding, controlling, and operating the Front Groups,

23   including the American Pain Foundation and the Pain & Policy Studies Group; (6) participating

24   in the Pain Care Forum, a coalition of drugmakers, trade groups, and nonprofit organizations

25   that, collectively, spent hundreds of millions of dollars lobbying against opioid-related measures;

26   (7) sponsoring CME programs that claimed that opioid therapy has been shown to reduce pain

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 1   and depressive symptoms; (8) supporting and sponsoring guidelines indicating that opioid

 2   medications are effective and can restore patients’ quality of life; (9) retaining KOLs to promote

 3   the use of opioids; and (10) concealing the true nature of their relationships with the other

 4   members of the Promotion Scheme, and the Promotion Enterprise, including the Front Groups

 5   and the KOLs.

 6           479.      The Front Groups orchestrated the affairs of the Promotion Enterprise and exerted

 7   substantial control over the Promotion Enterprise by, at least: (1) making misleading statements

 8   about the purported benefits, efficacy, and low risks of opioids described herein; (2) holding

 9   themselves out as independent advocacy groups, when in fact their operating budgets are entirely

10   comprised of contributions from opioid drug manufacturers; (3) lobbying against federal and

11   state proposals to limit opioid use; (4) publishing treatment guidelines that advised the

12   prescription of opioids; (5) sponsoring medical education programs that touted the benefits of

13   opioids to treat chronic pain while minimizing and trivializing their risks; and (6) concealing the

14   true nature of their relationship with the other members of the Promotion Enterprise.

15           480.      The KOLs orchestrated the affairs of the Promotion Enterprise and exerted

16   substantial control over the Promotion Enterprise by, at least: (1) making misleading statements

17   about the purported benefits, efficacy, and low risks of opioids; (2) holding themselves out as

18   independent, when in fact they are systematically linked to and funded by opioid drug

19   manufacturers; and (3) concealing the true nature of their relationship with the other members of

20   the Promotion Enterprise.

21           481.      Without the willing participation of each member of the Promotion Enterprise, the

22   Promotion Scheme and the Promotion Enterprise’s common course of conduct would not have

23   been successful.

24           482.      Each Distributor Defendant orchestrated the affairs of the Diversion Enterprise

25   and exerted substantial control over the Diversion Enterprise by, at least: (1) refusing or failing

26   to identify, investigate, or report suspicious orders of opioids to the DEA; (2) providing the

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 1   Manufacturing Defendants with data regarding their prescription opioid sales, including purchase

 2   orders and ship notices; (3) accepting payments from the Manufacturing Defendants in the form

 3   of rebates and/or chargebacks; (4) filling suspicious orders for prescription opioids despite

 4   having identified them as suspicious and knowing opioids were being diverted into the illicit

 5   drug market; (5) working with other members of the Enterprise through groups like the

 6   Healthcare Distribution Alliance and the Pain Care Forum to advocate for laws and policies that

 7   would ensure the free flow of opioids, including lobbying to limit the DEA’s ability to use

 8   immediate suspension orders; and (6) concealing the true nature of their relationships with the

 9   other members of the Diversion Enterprise.

10           483.      Each Manufacturing Defendant orchestrated the affairs of the Diversion

11   Enterprise and exerted substantial control over the Diversion Enterprise by, at least: (1) refusing

12   or failing to identify, investigate, or report suspicious orders of opioids to the DEA; (2) obtaining

13   from the Distributor Defendants data regarding their prescription opioid sales, including

14   purchase orders and ship notices; (3) providing payments to the Distributor Defendants in the

15   form of rebates and/or chargebacks; (4) working with other members of the Diversion Enterprise

16   through groups like the Healthcare Distribution Alliance and the Pain Care Forum to advocate

17   for laws and policies that would ensure the free flow of opioids, including lobbying to limit the

18   DEA’s ability to use immediate suspension orders; and (5) concealing the true nature of their

19   relationships with the other members of the Diversion Enterprise.

20           484.      Without the willing participation of each member of the Diversion Enterprise, the

21   Diversion Scheme and the Diversion Enterprise’s common course of conduct would not have

22   been successful.

23   C.      Predicate Acts: Mail and Wire Fraud

24           485.      To carry out, or attempt to carry out, the Schemes, the members of the

25   Enterprises, each of whom is a person associated-in-fact with the Enterprises, did knowingly

26   conduct or participate in, directly or indirectly, the affairs of the Enterprises through a pattern of

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 1   racketeering activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and

 2   employed the use of the mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud)

 3   and § 1343 (wire fraud).

 4           486.      Specifically, the members of the Enterprises have committed, conspired to

 5   commit, and/or aided and abetted in the commission of, at least two predicate acts of

 6   racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343), within the past ten years.

 7           487.      The multiple acts of racketeering activity which the members of the Enterprises

 8   committed, or aided or abetted in the commission of, were related to each other, posed a threat of

 9   continued racketeering activity, and therefore constitute a “pattern of racketeering activity.”

10           488.      The racketeering activity was made possible by the Enterprises’ regular use of the

11   facilities, services, distribution channels, and employees of the Enterprises.

12           489.      The members of the Enterprises participated in the Schemes by using mail,

13   telephone, and the internet to transmit mailings and wires in interstate or foreign commerce.

14           490.      The members of the Enterprises used, directed the use of, and/or caused to be

15   used, thousands of interstate mail and wire communications in service of their Schemes through

16   common misrepresentations, concealments, and material omissions.

17           491.      In devising and executing the illegal Schemes, the members of the Enterprises

18   devised and knowingly carried out a material scheme and/or artifice to defraud Plaintiff and the

19   public to obtain money by means of materially false or fraudulent pretenses, representations,

20   promises, or omissions of material facts.

21           492.      For the purpose of executing the illegal Schemes, the members of the Enterprises

22   committed these racketeering acts, which number in the thousands, intentionally and knowingly

23   with the specific intent to advance the illegal Schemes.

24           493.      The Enterprises’ predicate acts of racketeering (18 U.S.C. § 1961(1)) include, but

25   are not limited to:

26

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 1           A. Mail Fraud: The members of the Enterprises violated 18 U.S.C. § 1341 by
             sending or receiving, or by causing to be sent and/or received, fraudulent materials
 2           via U.S. mail or commercial interstate carriers for the purpose of selling and
             distributing excessive quantities of highly addictive opioids.
 3

 4           B. Wire Fraud: The members of the Enterprises violated 18 U.S.C. § 1343 by
             transmitting and/or receiving, or by causing to be transmitted and/or received,
 5           fraudulent materials by wire for the purpose of selling and distributing excessive
             quantities of highly addictive opioids.
 6

 7           494.      The Manufacturing Defendants falsely and misleadingly used the mails and wires
 8   in violation of 18 U.S.C. § 1341 and § 1343. Illustrative and non-exhaustive examples include
 9   the following: Defendant Purdue’s (1) May 31, 1996 press release announcing the release of
10   OxyContin and indicating that the fear of OxyContin’s addictive properties was exaggerated; (2)
11   1990 promotional video in which Dr. Portenoy, a paid Purdue KOL, understated the risk of
12   opioid addiction; (3) 1998 promotional video which misleadingly cited a 1980 NEJM letter in
13   support of the use of opioids to treat chronic pain; (4) statements made on its 2000 “Partners
14   Against Pain” website which claimed that the addiction risk of OxyContin was very low; (5)
15   literature distributed to physicians which misleadingly cited a 1980 NEJM letter in support of the
16   use of opioids to treat chronic pain; (6) August 2001 statements to Congress by Purdue
17   Executive Vice President and Chief Operating Officer Michael Friedman regarding the value of
18   OxyContin in treating chronic pain; (7) patient brochure entitled “A Guide to Your New Pain
19   Medicine and How to Become a Partner Against Pain” indicating that OxyContin is non-
20   addicting; (8) 2001 statement by Senior Medical Director for Purdue, Dr. David Haddox,
21   indicating that the ‘legitimate’ use of OxyContin would not result in addiction; (9) multiple sales
22   representatives’ communications regarding the low risk of addiction associated with opioids;
23   (10) statements included in promotional materials for opioids distributed to doctors via the mail
24   and wires; (11) statements in a 2003 Patient Information Guide distributed by Purdue indicating
25   that addiction to opioid analgesics in properly managed patients with pain has been reported to
26   be rare; (12) telephonic and electronic communications to doctors and patients indicating that

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 1   signs of addiction in the case of opioid use are likely only the signs of under-treated pain; (13)

 2   statements in Purdue’s Risk Evaluation and Mitigation Strategy for OxyContin indicating that

 3   drug-seeking behavior on the part of opioid patients may, in fact, be pain-relief seeking behavior;

 4   (14) statements made on Purdue’s website and in a 2010 “Dear Healthcare Professional” letter

 5   indicating that opioid dependence can be addressed by dosing methods such as tapering; (15)

 6   statements included in a 1996 sales strategy memo indicating that there is no ceiling dose for

 7   opioids for chronic pain; (16) statements on its website that abuse-resistant products can prevent

 8   opioid addiction; (17) statements made in a 2012 series of advertisements for OxyContin

 9   indicating that long-term opioid use improves patients’ function and quality of life; (18)

10   statements made in advertising and a 2007 book indicating that pain relief from opioids improve

11   patients’ function and quality of life; (19) telephonic and electronic communications by its sales

12   representatives indicating that opioids will improve patients’ function; and (20) electronic and

13   telephonic communications concealing its relationship with the other members of the

14   Enterprises.

15           495.      Defendant Endo Pharmaceuticals, Inc. also made false or misleading claims in

16   violation of 18 U.S.C. § 1341 and § 1343 including but not limited to: (1) statements made,

17   beginning in at least 2009, on an Endo-sponsored website, PainKnowledge.com, indicating that

18   patients who take opioids as prescribed usually do not become addicted; (2) statements made on

19   another Endo-sponsored website, PainAction.com, indicating that most chronic pain patients do

20   not become addicted to opioid medications; (3) statements in pamphlets and publications

21   described by Endo indicating that most people who take opioids for pain relief do not develop an

22   addiction; (4) statements made on the Endo-run website, Opana.com, indicating that opioid use

23   does not result in addiction; (5) statements made on the Endo-run website, Opana.com,

24   indicating that opioid dependence can be addressed by dosing methods such as tapering; (6)

25   statements made on its website, PainKnowledge.com, that opioid dosages could be increased

26   indefinitely; (7) statements made in a publication entitled “Understanding Your Pain: Taking

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 1   Oral Opioid Analgesics” suggesting that opioid doses can be increased indefinitely; (8)

 2   electronic and telephonic communications to its sales representatives indicating that the formula

 3   for its medicines is ‘crush resistant;’ (9) statements made in advertisements and a 2007 book

 4   indicating that pain relief from opioids improves patients’ function and quality of life; (10)

 5   telephonic and electronic communications by its sales representatives indicating that opioids will

 6   improve patients’ function; and (11) telephonic and electronic communications concealing its

 7   relationship with the other members of the Enterprises.

 8           496.      Defendant Janssen made false or misleading claims in violation of 18 U.S.C.

 9   § 1341 and § 1343 including but not limited to: (1) statements on its website,

10   PrescribeResponsibly.com, indicating that concerns about opioid addiction are overestimated; (2)

11   statements in a 2009 patient education guide claiming that opioids are rarely addictive when used

12   properly; (3) statements included on a 2009 Janssen-sponsored website promoting the concept of

13   opioid pseudoaddiction; (4) statements on its website, PrescribeResponsibly.com, advocating the

14   concept of opioid pseudoaddiction; (5) statements on its website, PrescribeResponsibly.com,

15   indicating that opioid addiction can be managed; (6) statements in its 2009 patient education

16   guide indicating the risks associated with limiting the dosages of pain medicines; (7) telephonic

17   and electronic communications by its sales representatives indicating that opioids will improve

18   patients’ function; and (8) telephonic and electronic communications concealing its relationship

19   with the other members of the Enterprises.

20           497.      The American Academic of Pain Medicine made false or misleading claims in

21   violation of 18 U.S.C. § 1341 and § 1343 including but not limited to: (1) statements made in a

22   2009 patient education video entitled “Finding Relief: Pain Management for Older Adults”

23   indicating the opioids are rarely addictive; and (2) telephonic and electronic communications

24   concealing its relationship with the other members of the Promotion Enterprise.

25           498.      The American Pain Society Quality of Care Committee made a number of false or

26   misleading claims in violation of 18 U.S.C. § 1341 and § 1343 including but not limited to: (1) a

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 1   May 31, 1996 press release in which the organization claimed there is very little risk of addiction

 2   from the proper use of drugs for pain relief; and (2) telephonic and electronic communications

 3   concealing its relationship with the other members of the Promotion Enterprise.

 4           499.       The American Pain Foundation (“APF”) made a number of false and misleading

 5   claims in violation of 18 U.S.C. § 1341 and § 1343 including but not limited to: (1) statements

 6   made by an APF Executive Director to Congress indicating that opioids only rarely lead to

 7   addiction; (2) statements made in a 2002 amicus curiae brief filed with an Ohio appeals court

 8   claiming that the risk of abuse does not justify restricting opioid prescriptions for the treatment

 9   of chronic pain; (3) statements made in a 2007 publication entitled “Treatment Options: A Guide

10   for People Living with Pain” indicating that the risks of addiction associated with opioid

11   prescriptions have been overstated; (4) statements made in a 2002 court filing indicating that

12   opioid users are not “actual addicts”; (5) statements made in a 2007 publication entitled

13   “Treatment Options: A Guide for People Living with Pain” indicating that even physical

14   dependence on opioids does not constitute addiction; (6) claims on its website that there is no

15   ceiling dose for opioids for chronic pain; (7) statements included in a 2011 guide indicating that

16   opioids can improve daily function; and (8) telephonic and electronic communications

17   concealing its relationship with the other members of the Promotion Enterprise.

18           500.      The KOLs, including Drs. Russell Portenoy, Perry Fine, Scott Fishman, and Lynn

19   Webster, made a number of misleading statements in the mail and wires in violation of 18 U.S.C.

20   § 1341 and § 1343, described above, including statements made by Dr. Portenoy in a

21   promotional video indicating that the likelihood of addiction to opioid medications is extremely

22   low. Indeed, Dr. Portenoy has since admitted that his statements about the safety and efficacy of

23   opioids were false.

24           501.      The Manufacturing Defendants and Distributor Defendants falsely and

25   misleadingly used the mails and wires in violation of 18 U.S.C. § 1341 and § 1343. Illustrative

26   and non-exhaustive examples include the following: (1) the transmission of documents and

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 1   communications regarding the sale, shipment, and delivery of excessive quantities of

 2   prescription opioids, including invoices and shipping records; (2) the transmission of documents

 3   and communications regarding their requests for higher aggregate production quotas, individual

 4   manufacturing quotas, and procurement quotas; (3) the transmission of reports to the DEA that

 5   did not disclose suspicious orders as required by law; (4) the transmission of documents and

 6   communications regarding payments, rebates, and chargebacks; (5) the transmission of the actual

 7   payments, rebates, and chargebacks themselves; (6) correspondence between Defendants and

 8   their representatives in front groups and trade organizations regarding lobbying efforts to curtail

 9   restrictions on opioids and hobble DEA enforcement actions; (7) the submission of false and

10   misleading certifications required annually under various agreements between Defendants and

11   federal regulators; and (8) the shipment of vast quantities of highly addictive opioids. Defendants

12   also communicated by U.S. mail, by interstate facsimile, and by interstate electronic mail and

13   with various other affiliates, regional offices, regulators, distributors, and other third-party

14   entities in furtherance of the scheme.

15           502.      In addition, the Distributor Defendants misrepresented their compliance with laws

16   requiring them to identify, investigate, and report suspicious orders of prescription opioids and/or

17   diversion into the illicit market. At the same time, the Distributor Defendants misrepresented the

18   effectiveness of their monitoring programs, their ability to detect suspicious orders, their

19   commitment to preventing diversion of prescription opioids, and their compliance with

20   regulations regarding the identification and reporting of suspicious orders of prescription opioids.

21           503.      The mail and wire transmissions described herein were made in furtherance of

22   Defendants’ Schemes and common course of conduct designed to sell drugs that have little or no

23   demonstrated efficacy for the pain they are purported to treat in the majority of persons

24   prescribed them; increase the prescription rate for opioid medications; and popularize the

25   misunderstanding that the risk of addiction to prescription opioids is low when used to treat

26   chronic pain, and to deceive regulators and the public regarding Defendants’ compliance with

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 1   their obligations to identify and report suspicious orders of prescription opioids, while

 2   Defendants intentionally enabled millions of prescription opioids to be deposited into

 3   communities across the United States, including in the Reservation. Defendants’ scheme and

 4   common course of conduct was intended to increase or maintain high quotas for the manufacture

 5   and distribution of prescription opioids and their corresponding high profits for all Defendants.

 6           504.      Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

 7   wire facilities have been deliberately hidden, and cannot be alleged without access to

 8   Defendants’ books and records. However, Plaintiff has described the types of predicate acts of

 9   mail and/or wire fraud, including certain specific fraudulent statements and specific dates upon

10   which, through the mail and wires, Defendants engaged in fraudulent activity in furtherance of

11   the Schemes.

12           505.      The members of the Enterprises have not undertaken the practices described

13   herein in isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C.

14   § 1962(d), the members of the Enterprises conspired to violate 18 U.S.C. § 1962(c), as described

15   herein. Various other persons, firms, and corporations, including third-party entities and

16   individuals not named as defendants in this Complaint, have participated as co-conspirators with

17   Defendants and the members of the Enterprises in these offenses and have performed acts in

18   furtherance of the conspiracy to increase or maintain revenue, increase market share, and/or

19   minimize losses for Defendants and their named and unnamed co-conspirators throughout the

20   illegal scheme and common course of conduct.

21           506.      The members of the Enterprises aided and abetted others in the violations of the

22   above laws.

23           507.      To achieve their common goals, the members of the Enterprises hid from Plaintiff

24   and the public: (1) the fraudulent nature of the Manufacturing Defendants’ marketing scheme;

25   (2) the fraudulent nature of statements made by Defendants and on behalf of Defendants

26   regarding the efficacy of and risk of addiction associated with prescription opioids; (3) the

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 1   fraudulent nature of the Distributor Defendants’ representations regarding their compliance with

 2   requirements to maintain effective controls against diversion and report suspicious orders of

 3   opioids; and (4) the true nature of the relationship between the members of the Enterprises.

 4           508.      Defendants and each member of the Enterprises, with knowledge and intent,

 5   agreed to the overall objectives of the Schemes and participated in the common course of

 6   conduct. Indeed, for the conspiracy to succeed, each of the members of the Enterprises and their

 7   co-conspirators had to agree to conceal their fraudulent scheme.

 8           509.      The members of the Enterprises knew, and intended that, Plaintiff and the public

 9   would rely on the material misrepresentations and omissions made by them and suffer damages

10   as a result.

11           510.      As described herein, the members of the Enterprises engaged in a pattern of

12   related and continuous predicate acts for years. The predicate acts constituted a variety of

13   unlawful activities, each conducted with the common purpose of obtaining significant monies

14   and revenues from Plaintiff and the public based on their misrepresentations and omissions.

15           511.      The predicate acts also had the same or similar results, participants, victims, and

16   methods of commission.

17           512.      The predicate acts were related and not isolated events.

18           513.      The true purposes of Defendants’ Schemes were necessarily revealed to each

19   member of the Enterprises. Nevertheless, the members of the Enterprises continued to

20   disseminate misrepresentations regarding the nature of prescription opioids and the functioning

21   of the Schemes.

22           514.      Defendants’ fraudulent concealment was material to Plaintiff and the public. Had

23   the members of the Enterprises disclosed the true nature of prescription opioids and their

24   excessive distribution, the Lummi Nation would not have acted as it did or incurred the

25   substantial costs in responding to the crisis caused by Defendants’ conduct.

26

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 1           515.      The pattern of racketeering activity described above is currently ongoing and

 2   open-ended, and threatens to continue indefinitely unless this Court enjoins the racketeering

 3   activity.

 4   D.      The Lummi Nation Has Been Damaged by Defendants’ RICO Violations

 5           516.      By reason of, and as a result of the conduct of the Enterprises and, in particular,

 6   their patterns of racketeering activity, the Lummi Nation has been injured in its business and/or

 7   property in multiple ways, including but not limited to increased health care costs, increased

 8   human services costs, costs related to dealing with opioid-related crimes and emergencies, and

 9   other public safety costs, as fully described above.

10           517.      Defendants’ violations of 18 U.S.C. § 1962(c) and (d) have directly and

11   proximately caused injuries and damages to the Lummi Nation, its community, and the public,

12   and the Lummi Nation is entitled to bring this action for three times its actual damages, as well

13   as injunctive/equitable relief, costs, and reasonable attorney’s fees pursuant to 18 U.S.C.

14   § 1964(c).

15                     COUNT SEVEN — LANHAM ACT, 15 U.S.C. § 1125(A)(1)(B)
16                                Against the Manufacturing Defendants

17           518.      Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

18   fully set forth herein.

19           519.      The Lanham Act provides, in relevant part:

20           (1) Any person who, on or in connection with any goods or services, or any
             container for goods, uses in commerce any word, term, name, symbol, or device,
21           or any combination thereof, or any false designation of origin, false or misleading
             description of fact, or false or misleading representation of fact, which— ….
22
             (B) in commercial advertising or promotion, misrepresents the nature,
23           characteristics, qualities, or geographic origin of his or her or another person’s
24           goods, services, or commercial activities, shall be liable in a civil action by any
             person who believes that he or she is or is likely to be damaged by such act.
25

26

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 1             520.    The Manufacturing Defendants used false and misleading descriptions of fact and

 2   false and misleading representations in connection with prescription opioids. In commercial

 3   advertising and promotion of prescription opioids, the Manufacturing Defendants misrepresented

 4   the nature, characteristics, and qualities of prescription opioids, pursuant to a common practice of

 5   misleading the public regarding the purported benefits and risks of opioids.

 6             521.    The Manufacturing Defendants, at all times relevant to this Complaint, directly

 7   and/or through their control of third parties, violated the Lanham Act by making unfair and/or

 8   deceptive representations about the use of opioids to treat chronic and non-cancer pain, including

 9   to physicians and consumers on or near the Reservation.

10             522.    As a direct and proximate cause of each Manufacturing Defendant’s

11   misrepresentations, the Lummi Nation has sustained and will continue to sustain injuries and is

12   entitled to legal and equitable relief, including injunctive relief enjoining Defendants from future

13   misrepresentations, disgorgement of profits, and damages in an amount to be determined at trial.

14                                          PRAYER FOR RELIEF

15             WHEREFORE, the Lummi Nation respectfully requests the Court to order the following

16   relief:

17             A.      An Order that the conduct alleged herein violates the Washington CPA;

18             B.      An Order that Plaintiff is entitled to treble damages pursuant to the Washington

19    CPA;

20             C.      An Order that the conduct alleged herein constitutes a public nuisance, including

21    under RCW 7.48 et seq., and under Washington law;

22             D.      An Order that Defendants abate the public nuisance that they caused;

23             E.      An Order that Defendants are liable for civil and statutory penalties to the fullest

24    extent permissible under Washington law for the public nuisance they caused;

25             F.      An Order that Defendants are negligent under Washington law;

26             G.      An Order that Defendants are grossly negligent under Washington law;

     COMPLAINT                                                              KELLER ROHRBACK L.L.P.
     (2:18-cv-01065)   - 138                                                    1201 Third Avenue, Suite 3200
                                                                                   Seattle, W A 98101-3052
                                                                               TELEPHONE: (206) 623-1900
                                                                                FACSIMILE: (206) 623-3384
             Case 2:18-cv-01065-RAJ Document 1 Filed 07/19/18 Page 144 of 145



 1            H.       An Order that Defendants have been unjustly enriched at Plaintiff’s expense

 2    under Washington law;

 3            I.       An Order that Defendants’ conduct constitutes violations of RICO, 18 U.S.C.

 4    §1961, et seq.;

 5            J.       An Order that the Manufacturing Defendants’ conduct constitutes violations of

 6    the Lanham Act, 15 U.S.C. § 1125(a)(1)(B);

 7            K.       An Order that Plaintiff is entitled to recover all measure of damages permissible

 8    under the statutes identified herein and under common law;

 9            L.       An Order that Defendants are enjoined from the practices described herein;

10            M.       An Order that judgment be entered against Defendants in favor of Plaintiff;

11            N.       An Order that Plaintiff is entitled to attorneys’ fees and costs pursuant to any

12    applicable provision of law, including but not limited to under the Washington CPA; and

13            O.       An Order awarding any other and further relief deemed just and proper, including

14    pre-judgment and post-judgment interest on the above amounts.

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     COMPLAINT                                                              KELLER ROHRBACK L.L.P.
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                                                                                  Seattle, W A 98101-3052
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              Case 2:18-cv-01065-RAJ Document 1 Filed 07/19/18 Page 145 of 145



 1                                         JURY TRIAL DEMAND

 2            Plaintiff demands a trial by jury on all claims and of all issues so triable.

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               DATED this 19th day of July, 2018.
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      LUMMI TRIBE OF THE LUMMI                         KELLER ROHRBACK L.L.P.
 5
      RESERVATION
 6

 7    By /s/ Elizabeth J. Coronado                     By /s/ Lynn Lincoln Sarko
      By /s/ Mary M. Neil                              By /s/ Derek W. Loeser
 8    Elizabeth J. Coronado, WSBA #53236               By /s/ Gretchen Freeman Cappio
      Mary M. Neil, WSBA #34348                        By /s/ David J. Ko
 9    2665 Kwina Road
      Bellingham, WA 98226                             By /s/ Daniel P. Mensher
      Phone: (360) 312-2125                            By /s/ Alison S. Gaffney
10                                                     By /s/ Gabriel E. Verdugo
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11                                                     Lynn Lincoln Sarko, WSBA #16569
                                                       Derek W. Loeser, WSBA #24274
12                                                     Gretchen Freeman Cappio, WSBA #29576
                                                       David J. Ko, WSBA #38299
13                                                     Daniel P. Mensher, WSBA #47719
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                                                       Attorneys for Plaintiff
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     4811-8418-7240, v. 17
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     COMPLAINT                                                              KELLER ROHRBACK L.L.P.
     (2:18-cv-01065)   - 140                                                    1201 Third Avenue, Suite 3200
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